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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

_________________________________________________

UNITED STATES OF AMERICA
and
NEW MEXICO ENVIRONMENT DEPARTMENT,

Plaintiffs,

v.

                                                No.1:24-cv-00149
APACHE CORPORATION,

Defendant.
_________________________________________________




                              CONSENT DECREE
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       WHEREAS, the United States of America, on behalf of the United States Environmental

Protection Agency (“EPA”), and the New Mexico Environment Department (“NMED”), have

filed a Complaint concurrently with the lodging of this Consent Decree, pursuant to the Clean

Air Act, 42 U.S.C. § 7401 et seq. (“the Act”) and the New Mexico Air Quality Control Act,

NMSA 1978, § 74-2-1 et seq. (“AQCA”).

       WHEREAS, the Complaint alleges that Defendant, Apache Corporation (“Apache”),

violated requirements of (a) the Act, (b) the Standards of Performance for Crude Oil and Natural

Gas Production, Transmission and Distribution for which Construction, Modification, or

Reconstruction Commenced After August 23, 2011 and on or Before September 18, 2015, 40

C.F.R. Part 60, Subpart OOOO (“NSPS OOOO”), (c) the Standards of Performance for Crude

Oil and Natural Gas Facilities for which Construction, Modification or Reconstruction

Commenced After September 18, 2015, 40 C.F.R. Part 60 Subpart OOOOa (“NSPS OOOOa”),

and, with regard to the New Mexico facilities identified in the Complaint, (d) the New Mexico

Air Quality Control Act, NMSA 1978, §§ 74-2-1 et seq. (“AQCA”), and implementing

regulations issued thereunder by NMED and included in an EPA-approved State Implementation

Plan (“SIP”). The Complaint further alleges, as to Apache’s Texas facilities named in the

Complaint, that Apache violated requirements of the Texas Clean Air Act, Tex. Health and

Safety Code Ann. § 382.001 et seq. (“TCAA”) and implementing regulations issued thereunder

by the Texas Commission on Environmental Quality and included in an EPA-approved SIP.

       WHEREAS, these violations are alleged to have occurred at numerous Storage Vessels

that are part of Apache’s oil and natural gas production system located in Lea and Eddy Counties

in New Mexico and Reeves County in Texas. All of Apache’s oil and natural gas production

facilities referenced in the Complaint are located in the Permian Basin, one of the nation’s largest
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oil and gas producing regions.

       WHEREAS, Apache’s oil and natural gas production system separates produced oil and

produced water from natural gas at facilities defined herein as Battery Pads. After separation, the

produced oil and produced water, also known as “pressurized liquids,” are transferred into

Storage Vessels prior to being transported by pipelines or tanker trucks for sale, reuse, or

disposal. As pressurized liquids are transferred into Storage Vessels, the pressure of the fluids

decreases and vapors, which include volatile organic compounds (“VOC” or “VOCs”), are

released in a gaseous state.

       WHEREAS, VOCs are a precursor to ground-level ozone, commonly known as smog.

Ground-level ozone is one of six criteria pollutants for which EPA has promulgated a National

Ambient Air Quality Standard (“NAAQS”) due to its adverse effects on human health and the

environment.

       WHEREAS, the ground-level ozone formation is caused, in part, by chemical reactions

between VOCs and oxides of nitrogen that occur in the presence of heat and sunlight.

       WHEREAS, Apache has equipped certain Storage Vessels that are part of its oil and

natural gas production system with Vapor Control Systems that include covers and closed vents

required to route vapors from the Storage Vessels to a control device or through a Vapor

Recovery Unit.

       WHEREAS, NSPS OOOO, NSPS OOOOa, and NMED’s General Construction Permit

for Oil and Gas Facilities require owners and operators of certain oil and natural gas production

systems to comply with design and operating requirements associated with the Vapor Control

System so that it captures and routes all emissions from Storage Vessels back to the process

stream or to a control device.
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       WHEREAS, the Texas Oil and Gas Standard Permit (Non-Rule) requires owners and

operators of certain facilities that handle gases and liquids associated with the production,

conditioning, and processing of crude oil, natural gas, condensate and produced water to capture

and direct to an appropriate control device all continuous and periodic emissions on certain

process vessels, equipment, and tanks.

       WHEREAS, prior to the lodging of this Consent Decree, Apache made improvements to

the New Mexico and Texas facilities that are identified as the Advanced Action Battery Pads

listed in Appendix B. Apache conducted field inspections, optical gas imaging inspections,

performance analyses, repairs, and equipment upgrades at these facilities.

       WHEREAS, the Complaint alleges that on April 16-18, 2019, EPA and NMED inspected

12 of Apache’s New Mexico oil and natural gas production Battery Pads. At 11 of these Battery

Pads, the inspectors observed that Storage Vessels were emitting significant amounts of VOC

emissions to the atmosphere.

       WHEREAS, the Complaint alleges that, during flyover inspections conducted by EPA on

September 11, 2019, September 11-12, 2020, and July 26-27 and August 10-14, 2022, EPA

observed significant VOC emissions to the atmosphere at 13 of Apache’s Texas and New

Mexico Battery Pads and compressor stations.

       WHEREAS, the Complaint further alleges that many of the Storage Vessels at Apache’s

Battery Pads were equipped with Vapor Control Systems that failed to route all vapors from the

Storage Vessel to control devices or to a process, resulting in vapors being emitted directly to the

atmosphere.

       WHEREAS, this Consent Decree categorizes Apache’s Battery Pads into four groups and

the Battery Pads with higher relative oil production levels as of the Date of Lodging were
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 included in Groups 1 and 2.

            WHEREAS, Apache does not admit any liability to the United States or NMED arising

 out of the occurrences alleged in the Complaint.

            WHEREAS, the United States, NMED and Apache (the “Parties”) stipulate, and the

 Court by entering this Consent Decree finds, that this Consent Decree has been negotiated by the

 Parties in good faith and will avoid litigation among the Parties and that this Consent Decree is

 fair, reasonable, and in the public interest;

            NOW, THEREFORE, before the taking of any testimony, without the adjudication or

 admission of any issue of fact or law except as provided in Section I (Jurisdiction and Venue),

 and with the consent of the Parties, IT IS HEREBY ADJUDGED, ORDERED, AND DECREED

 as follows:

                               I.      JURISDICTION AND VENUE

        1.        This Court has jurisdiction over the subject matter of this action, pursuant to

28 U.S.C. §§ 1331, 1345, 1355, and 1367; and over the Parties, pursuant to CAA Section 113(b),

42 U.S.C. § 7413(b). Venue lies in this district pursuant to Section 113(b) of the Act, 42 U.S.C. §

7413(b), and 28 U.S.C §§ 1391(b) and 1395(a), because some of the violations alleged in the

Complaint are alleged to have occurred in, and Apache conducts business in, this judicial district.

For purposes of this Consent Decree, or any action to enforce this Consent Decree, Apache

consents to the following: (1) this Court’s jurisdiction over this Consent Decree and any such

enforcement action, (2) this Court’s jurisdiction over Defendant, and (3) venue in this judicial

district.




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       2.       For purposes of this Consent Decree, Apache agrees that the Complaint states

claims upon which relief may be granted pursuant to Section 113(b) of the Act, 42 U.S.C.

§ 7413(b).

                                     II.      APPLICABILITY

       3.       The obligations of this Consent Decree apply to and are binding upon the United

States, NMED, and upon Apache and any successors, assigns, or other entities or persons

otherwise bound by law, consistent with the provisions of Section XV (Sales or Transfers of

Operations). Unless otherwise noted, the obligations of this Consent Decree shall become

enforceable on the Effective Date as provided in Section XVI (Effective Date).

       4.       Apache shall provide a copy of this Consent Decree to all officers, employees,

and agents whose duties might reasonably include compliance with any provision of this Consent

Decree, as well as to any contractor retained to perform work required under this Consent Decree.

Apache shall condition any such contract upon performance of the work in conformity with the

terms of this Consent Decree.

       5.       In any action to enforce this Consent Decree, Apache shall not raise as a defense

the failure by any of its officers, directors, employees, agents, or contractors to take any actions

necessary to comply with the provisions of this Consent Decree.

                                       III.    DEFINITIONS

       6.       Terms used in this Consent Decree that are defined in the Act, 42 U.S.C. § 7401

et seq., the AQCA, the TCAA, or in the regulations promulgated pursuant to those statutes, shall

have the meanings assigned to them in the Act, the AQCA, the TCAA, or such regulations, unless

otherwise provided in this Consent Decree. Whenever the capitalized terms set forth below are

used in this Consent Decree, the following definitions shall apply.
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a.    “Action Plan” shall have the meaning described in paragraph 89.

b.    “AVO” shall mean audio, visual, and olfactory.

c.    “Battery Pad” shall mean a property with one or more Storage Vessels capable of

      receiving Produced Oil from Production Operations. For purposes of this Consent

      Decree, the term “Battery Pad” includes compressor stations with one or more

      storage vessels that receive Produced Oil.

d.    “Business Day” shall mean Monday through Friday, with the exception of federal

      holidays.

e.    “Calendar Day” shall mean any of the seven days of the week. In computing any

      period of time under this Consent Decree expressed in Days or Calendar Days,

      except for actions required to be completed in five days or less, where the last day

      would fall on a Saturday, Sunday or federal holiday, the period shall run until the

      end of the next Business Day.

f.    “Certification of Completion Report” shall have the meaning described in

      Paragraph 34.

g.    “Complaint” shall mean the Complaint filed by the United States and the New

      Mexico Environment Department in this action.

h.    “Completion Report” shall have the meaning described in Paragraph 91.

i.    “Compliance Verification Program” shall have the definition provided in

      Paragraph 71.

j.    “Compromised Equipment” shall mean equipment associated with a Vapor

      Control System that shows signs of wear beyond normal wear and tear (and

      cannot be addressed by routine maintenance such as tightening, cleaning, or
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      lubricating the equipment) such that the equipment creates a likelihood of VOC

      emissions in excess of the quantity, rate, opacity or concentration specified by an

      applicable air quality regulation, permit condition, PBR registration representation

      or NOI application. Examples include, but are not limited to, indications of

      inefficient connection of the thief hatch to the Storage Vessel such as cracks or

      grooves in gaskets, abnormally or heavily corroded equipment, and beveling of

      surfaces that interferes with effective sealing.

 k.   “Consent Decree” or “Decree” shall mean this Consent Decree and all appendices

      attached hereto.

 l.   “Date of Lodging” shall mean the date this Consent Decree is filed for lodging

      with the Clerk of the Court for the United States District Court for the District of

      New Mexico.

 m.   “Days” or “days” shall mean Calendar Days unless expressly stated to be a

      Business Day.

 n.   “Defendant” or “Apache” shall mean Apache Corporation.

 o.   “Design Analysis Methodology” shall mean the approved methodology prepared

      pursuant to Paragraph 24 of this Consent Decree that Apache shall use in

      performing the Engineering Evaluations required under Paragraph 25 of this

      Consent Decree.

 p.   “Dispute Resolution” refers to the provisions of Section X of this Consent Decree.

 q.   “DOJ” means the United States Department of Justice and any of its successor

      departments or agencies.

 r.   “Effective Date” shall have the definition provided in Section XVI (Effective
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      Date).

 s.   “Engineering Evaluation” shall mean the evaluations performed by Apache as

      required under Paragraph 25 and in accordance with the Design Analysis

      Methodology to determine whether the Vapor Control System is adequately

      designed and sized for PMIVFR, PPIVFR, and Peak Modeled Pressure.

 t.   “Environmental Mitigation Project” or “Project” shall mean the requirements

      specified in Subsection V.N. and Appendix G of this Consent Decree to remedy,

      reduce, or offset past alleged excess emissions resulting from Apache’s alleged

      violations of the Clean Air Act, the AQCA, and the TCAA in this matter.

 u.   “EPA” shall mean the United States Environmental Protection Agency and any of

      its successor departments or agencies.

 v.   “Facility” or “Subject Facility” shall mean a Battery Pad identified in Appendix A

      and any Battery Pad where a Storage Vessel System that is identified pursuant to

      Paragraph 60 is located.

 w.   “Field Survey” shall mean the survey performed by Apache as described in

      Paragraphs 12 through 18.

 x.   “Force Majeure” shall have the definition provided in Paragraph 115.

 y.   “Heater-Treater” shall mean a unit that heats the reservoir fluid to break oil/water

      emulsions and to reduce the oil viscosity. The water is then typically removed by

      using gravity to allow the water to separate from the oil.

 z.   “IR Camera Inspection” shall mean an inspection of a Vapor Control System

      using an optical gas imaging infrared camera designed for and capable of

      detecting hydrocarbon and VOC emissions, conducted by trained personnel who
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       maintain proficiency through regular use of the optical gas imaging infrared

       camera.

 aa.   “Leak Point” shall mean the pressure at which a PRD first opens to release

       vapors.

 bb.   “Malfunction” shall mean any sudden, infrequent, and not reasonably preventable

       failure of air pollution control equipment, process equipment, instrumentation,

       monitoring system, or a process to operate in a normal or usual manner. Failures

       that are caused in part by poor maintenance or careless operation are not

       Malfunctions.

 cc.   “Maximum Design Pressure” shall mean the pressure of each Subject Vapor

       Control System determined according to an Engineering Evaluation as the highest

       pressure of a Vapor Control System before over-pressurization occurs.

 dd.   “New Mexico Permit Programs” shall mean the air quality registration and

       permitting requirements under 20.2.70, 20.2.72, 20.2.73, and 20.2.74 NMAC.

 ee.   “New Mexico Subject Facilities” shall mean Apache’s Facilities located in New

       Mexico.

 ff.   “Newly Identified Storage Vessel System” shall have the definition provided in

       Paragraph 60.

 gg.   “NMAC” shall mean the New Mexico Administrative Code.

 hh.   “NMED” shall mean the New Mexico Environment Department and any of its

       successor departments or agencies.

 ii.   “NOI” shall mean Notice of Intent as set forth in 20.2.73 NMAC.

 jj.   “Normal Operations” shall mean all periods of Battery Pad operation, excluding
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       Malfunctions, periods of well maintenance, or periods of Shut-In. Normal

       Operations include, but are not limited to, receipt or transfer of liquids from a

       Separator or Heater-Treater.

 kk.   “NSPS OOOO” shall mean the Standards of Performance for Crude Oil and

       Natural Gas Production, Transmission and Distribution for which Construction,

       Modification or Reconstruction Commenced After August 23, 2011 and On or

       Before September 18, 2015, set forth at 40 C.F.R. Part 60 Subpart OOOO.

 ll.   “NSPS OOOOa” shall mean the Standards of Performance for Crude Oil and

       Natural Gas Facilities for which Construction, Modification or Reconstruction

       Commenced After September 18, 2015, set forth at 40 C.F.R. Part 60 Subpart

       OOOOa.

 mm.   “Operator” shall mean the operator of record under 19.15.2.7 NMAC, in New

       Mexico, or under 16 TAC § 5.102, in Texas.

 nn.   “Paragraph” shall mean a portion of this Consent Decree identified by an Arabic

       numeral.

 oo.   “Parties” shall mean the United States, NMED, and Apache.

 pp.   “PBR” shall mean Permit by Rule as set forth in 30 TAC, Ch. 106.

 qq.   “Peak Modeled Pressure” shall mean the highest pressure predicted by the model

       to be experienced by the Vapor Control System during Normal Operations, as

       determined according to an Engineering Evaluation.

 rr.   “Pilot Monitor” shall have the meaning described in Paragraph 47.

 ss.   “Plaintiffs” shall mean the United States and NMED.

 tt.   “Plugged and Abandoned” shall have the meaning described in Paragraph 57.
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 uu.    “Potential Minimum Instantaneous Vapor Flow Rate” or “PMIVFR” shall mean

        the minimum instantaneous rate of vapors routed to a Vapor Control System

        during Normal Operations, including flashing, working, breathing, and standing

        losses, as determined according to an Engineering Evaluation.

 vv.    “Potential Peak Instantaneous Vapor Flow Rate” or “PPIVFR” shall mean the

        maximum instantaneous rate of vapors routed to a Vapor Control System during

        Normal Operations, including flashing, working, breathing, and standing losses,

        as determined according to an Engineering Evaluation.

 ww.    “Pressure Control Valve” shall mean a valve that automatically controls the flow

        of vapor based on monitored pressures.

 xx.    “Pressure Relief Device” or “PRD” shall mean thief hatches and PRVs.

 yy.    “Pressurized Liquids” shall mean pressurized Produced Oil upstream of the

        Storage Vessel(s) that has not been exposed to the atmosphere or pressurized

        Produced Water upstream of the Storage Vessel(s) that has not been exposed to

        the atmosphere.

 zz.    “Produced Oil” shall mean oil that is separated from extracted reservoir fluids

        during Production Operations.

 aaa.   “Produced Water” shall mean water that is separated from extracted reservoir

        fluids during Production Operations.

 bbb.   “Production Operations” shall mean the extraction, separation using Separators

        and/or Heater-Treaters, and temporary storage of reservoir fluids from an oil or

        natural gas well at a Battery Pad.

 ccc.   “Project” or “Environmental Mitigation Project” shall mean the requirements
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        specified in Subsection V.N. and Appendix G of this Consent Decree to remedy,

        reduce, or offset alleged past excess emissions resulting from Apache’s alleged

        violations of the Clean Air Act, the AQCA, and the TCAA in this matter.

 ddd.   “PRV” shall mean pressure relief valve.

 eee.   “PSI” or “psi” shall mean pounds per square inch.

 fff.   “QA/QC” shall mean quality assurance and quality control.

 ggg.   “Reliable Information” shall mean any of the following information, observations

        or detections of emissions by employees or contractors of EPA, NMED, or the

        Texas Commission on Environmental Quality, Apache employees, trained

        Apache contractors, or the Verifier, from a Subject Vapor Control System: (i) any

        observance or detection of VOC emissions from a bypass device open to the

        atmosphere, an open thief hatch, an open PRV, or an open-ended line, while using

        an optical gas imaging camera, AVO techniques, or EPA Method 21 monitoring

        techniques; (ii) Visible Smoke Emissions from a combustion control device;

        (iii) any VOC emissions from an unlit flare; (iv) any instance in which a Pilot

        Monitor detects the absence of a pilot flame, unless the combustion control device

        is equipped with an auto-igniter and no waste gas is flowing to the device as

        described in Paragraph 48; (v) significant staining emanating from a PRD, where

        such staining was not identified during a Field Survey or previously identified as

        Reliable Information; (vi) recorded VRU Availability that is less than represented

        VRU Availability on a rolling 12-month basis, as described in Paragraph 46; (vii)

        deviations detected by a Storage Vessel Pressure Monitor under circumstances

        described in Paragraph 39; (viii) a bypass to atmosphere pursuant to Paragraph
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        45; or (ix) a measurement indicating that the Valve Position Monitor is open

        when the pressure at the VRU or control device is inconsistent with manufacturer

        specifications, as described in Paragraph 43. The following shall not be

        considered Reliable Information:

            (1)        Any observation or detection of VOC emissions made during

                       observations conducted by Apache or its contractors from aircraft,

                       drones, satellites, continuous monitoring systems, or other sensing

                       technology not otherwise required under Section V of the Consent

                       Decree or by law;

            (2)        Observations or detections of VOC emissions from a lit flare, so

                       long as the flare is operated and maintained in conformance with

                       the manufacturer’s specifications and the plume of VOC emissions

                       is insignificant and does not extend away from the flare tip or

                       combustion zone;

            (3)        Observations while PRVs and open-ended lines are open for active

                       maintenance, during well unloading, during tank truck load-out

                       conducted without emission controls, during gauging activities,

                       and during onsite active well maintenance (e.g., swabbing, liquids

                       unloading) at an associated production well; and

            (4)        Observations while conducting the pressure test required by

                       Paragraph 38.

 hhh.   “Root Cause Analysis” shall mean an assessment conducted through the process

        of investigation to determine the primary cause and contributing cause(s) of
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        Reliable Information, including but not limited to an analysis of relevant historical

        trends.

 iii.   “Routed to Process” or “Route to Process” shall have the meaning set forth in 40

        C.F.R. § 60.5430 or § 60.5430a (as applicable).

 jjj.   “SCADA” refers to Supervisory Control and Data Acquisition.

 kkk.   “Section” shall mean a portion of this Consent Decree identified by a Roman

        numeral.

 lll.   “Separator” shall mean a pressurized vessel designed to separate reservoir fluids

        into their constituent components of oil, natural gas, and water.

 mmm. “Set Point” shall mean the lowest pressure at which a PRD is designed to open

        completely.

 nnn.   “Shut-In” shall mean the flow of all liquids and vapor into the Storage Vessel

        System or piece of equipment has ceased and cannot be resumed without Apache

        personnel opening valves, activating equipment, or supplying a power source.

 ooo.   “Storage Vessel” shall have the meaning set forth in 40 C.F.R. § 60.5430a.

 ppp.   “Storage Vessel Pressure Monitor” shall have the meaning described in Paragraph

        37.

 qqq.   “Storage Vessel System” shall mean one or more Storage Vessels, with at least

        one Produced Oil Storage Vessel, that share a common Vapor Control System.

 rrr.   “Subject Facility” or “Facility” shall mean a Battery Pad identified in Appendix A

        and any Battery Pad where a Newly Identified Storage Vessel System is located.

 sss.   “Subject Vapor Control Systems” shall mean the Vapor Control Systems

        identified pursuant to Paragraph 23 of this Consent Decree and any Newly
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        Identified Storage Vessel Systems;

 ttt.   “Subsection” shall mean a portion of this Consent Decree within a Section that is

        identified with a capitalized alphabetical letter.

 uuu.   “TAC shall mean “Texas Administrative Code.”

 vvv.   “TCEQ” shall mean the Texas Commission on Environmental Quality.

 www. “Texas Construction Permit Facility” means a Facility subject to the requirements

        of 30 TAC, Ch. 116.

 xxx.   “Texas Permit Programs” shall mean the air quality registration and permitting

        requirements under 30 TAC, Ch. 106, 30 TAC, Ch. 116, and 30 TAC, Ch. 122,

        and the non-rule Air Quality Standard Permit for Oil and Gas Handling and

        Production Facilities authorized by Texas Health and Safety Code § 382.05195.

 yyy.   “Texas Subject Facilities” shall mean Apache’s Facilities located in Texas.

 zzz.   “TPY” or “tpy” shall mean tons per year.

 aaaa. “Trigger Point” shall mean a pressure, selected in accordance with Paragraph 38,

        that is less than the lowest Leak Point of any of the Subject Vapor Control

        System’s PRDs and at least 12.5 percent below the lowest Set Point of any of the

        Subject Vapor Control System’s PRDs.

 bbbb. “United States” shall mean the United States of America, acting on behalf of

        EPA.

 cccc. “Valve Position Monitor” shall mean a device that records data pertaining to

        whether the associated Pressure Control Valve is open or closed.

 dddd. “Vapor Control System” or “VCS” shall mean the system used to contain,

        convey, or control vapors from one or more Storage Vessel(s) (including flashing,
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         working, breathing, and standing losses as well as any vapors routed to the

         Storage Vessel(s) or the Vapor Control System(s)). The Vapor Control System

         includes the Storage Vessel System, vapor control piping, fittings, connectors,

         liquid knockout vessels, openings on Storage Vessels (such as thief hatches and

         any other PRD), Vapor Recovery Units and emission control devices.

 eeee. “Vapor Recovery Unit” or “VRU” shall mean a device that captures and

         compresses vapors from a source and routes such vapors for recovery to a sales

         line (i.e., “Routes to Process”).

 ffff.   “Verifier” shall have the definition provided in Paragraph 71.

 gggg. “Visible Smoke Emissions” shall mean smoke observed pursuant to EPA Method

         22 during Normal Operations or Malfunctions for more than one minute during

         any 15-minute period.

 hhhh. “VOC” shall mean volatile organic compounds as defined in 40 C.F.R. § 60.2.

 iiii.   "VRU Availability" shall mean all times that a VRU at a Subject Vapor Control

         System is connected, functioning, available for use, and either operating or

         available to operate, regardless of whether vapors are being recovered, excluding

         any period of VRU Unavailability.

 jjjj.   “VRU Exception” shall mean the provisions under 40 C.F.R. § 60.5365(e) or §

         60.5365a(e) (as applicable) that provide for the exclusion of vapor from a Storage

         Vessel that is recovered and routed to a process through a VRU from the potential

         for VOC emissions determination for purposes of determining storage vessel

         affected facility status.

 kkkk. "VRU Unavailability" shall mean any time when the VRU is shut down for
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                planned or unplanned maintenance, shut down due to a Malfunction or any other

                equipment failure, or fails to recover vapors when the Storage Vessel Pressure

                Monitor indicates that the pressures are between the VRU set points.


                                    IV.     CIVIL PENALTY


       7.       Within 30 Days after the Effective Date, Apache shall pay the sum of $4,000,000

as a civil penalty, together with interest accruing from the date on which the Consent Decree is

lodged with the Court, at the rate specified in 28 U.S.C. § 1961 as of the Date of Lodging.

       8.       Apache shall pay $2,000,000 of the civil penalty due by FedWire Electronic

Funds Transfer (“EFT”) to the DOJ account, in accordance with instructions provided to Apache

by the Financial Litigation Unit (“FLU”) of the United States Attorney’s Office for the District of

New Mexico after the Effective Date. The payment instructions provided by the FLU will include

a Consolidated Debt Collection System (“CDCS”) number, which Apache shall use to identify all

payments required to be made in accordance with this Consent Decree. The FLU will provide the

payment instructions to: Jessica Jackson; Vice President—Environment, Health & Safety; 2000

Post Oak Blvd., Ste. 100, Houston, TX 77056; (713) 296-6000; jessica.jackson@apachecorp.com;

on behalf of Apache. Apache may change the individual to receive payment instructions on its

behalf by providing written notice of such change to DOJ and EPA in accordance with

Section XIV (Notices).

       9.       Apache shall pay $2,000,000 of the civil penalty due to the State of New Mexico

General Fund, NMED-Air Quality Bureau, 525 Camino de los Marquez, Suite 1, Santa Fe, New

Mexico, 87505 by wire transfer (ACH deposit) or by certified or corporate check. On the date that


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delivery of funds is initiated, Apache shall notify the Air Quality Bureau by email at ENV-

AQB.Settlement.Notifications@state.nm.us.

                a.      Wire transfers must be made to Wells Fargo Bank as follows:

                Wells Fargo Bank, N.A.
                100 W. Washington Street, Floor 20
                Phoenix, AZ 85003
                Routing Transit Number: 121000248
                Deposit Account Number: 4123107799
                Descriptor: NMED-AQB-C&E

                b.      Certified or corporate checks must be sent to the following address:

                New Mexico Environment Department
                Air Quality Bureau
                c/o Compliance and Enforcement Manager
                525 Camino de los Marquez, Suite 1
                Santa Fe, New Mexico 87505

       10.      At the time of payment, Apache shall send notice that payment has been made: (i)

to EPA via email at cinwd_acctsreceivable@epa.gov or via regular mail at EPA Cincinnati

Finance Office, 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268; (ii) to DOJ via email

or regular mail in accordance with Section XIV; (iii) to EPA in accordance with Section XIV; and

(iv) to NMED via email or regular mail in accordance with Section XIV. Such notice shall state

that the payment is for the civil penalty owed pursuant to the Consent Decree in United States and

NMED v. Apache Corporation and shall reference the civil action number, CDCS Number and

DOJ case number 90-5-2-1-12523.

       11.      Apache shall not deduct any penalties paid under this Consent Decree pursuant to

this Section or Section VIII (Stipulated Penalties) in calculating its federal, state or local income

tax.


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                            V.     COMPLIANCE REQUIREMENTS

         A.      FIELD SURVEYS

        12.      Battery Pad Field Survey. Apache shall conduct a Field Survey at all Battery Pads

listed in Appendix A. For purposes of the deadlines for completing Field Surveys and other

actions required by this Section V, the Battery Pads in Appendix A are subdivided into four

groups. Group 1 is comprised of the 101 Battery Pads listed in Appendices D and E. Group 2 is

comprised of 111 Battery Pads. Groups 3 and 4 are collectively comprised of 210 Battery Pads.

Apache may redesignate as many as 21 of the Battery Pads from Group 3 to Group 4 by written

notice to EPA and NMED when it submits the list of Subject Vapor Control Systems pursuant to

Paragraph 23, so long as it simultaneously redesignates the same number of Battery Pads from

Group 4 to Group 3. Apache shall complete Field Surveys for the Battery Pads no later than the

dates below:

          Battery Pads as designated in Appendix A           Days after the Effective Date

                           Group 1                                        120

                           Group 2                                        210

                           Group 3                                        330

                           Group 4                                        420



        13.      During the Field Survey, Apache shall, unless such information is not reasonably

available in the field:

                 a.   Document information pertaining to the equipment and operations at the

                      Battery Pad, including:


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               i.   an equipment inventory of all emissions units that constitute the

                    stationary source (as defined under the New Mexico Permit

                    Programs or the Texas Permit Programs, as applicable, and 40

                    C.F.R. § 60.2), including Storage Vessels and the Vapor Control

                    System (documenting piping configurations, including the elevation

                    changes from the top of the piping to a control device and the low

                    spots where liquids can accumulate);

             ii.    a list of all PRVs, thief hatches, VRUs, control devices, and flow-

                    regulating valves associated with a VRU or control device, including

                    the manufacturer and model numbers if available or other identifying

                    information; and

             iii.   a record of whether all components of the Vapor Control System are

                    operating or capable of operating;

      b.   Document that all signage at each Battery Pad (1) is of durable construction

           with lettering legible and large enough to be read under normal conditions at

           a distance of 50 feet; and (2) meets applicable requirements for the content of

           information set forth in 19.15.16.8(F) NMAC or 16 TAC 3.3(2), as

           applicable;

      c.   Document information needed for emissions determinations pursuant to

           Paragraphs 20 through 22, including equipment and process data necessary to

           calculate emissions for each emissions unit;

      d.   Document information needed for the Engineering Evaluation pursuant to

           Paragraph 25, including:
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              i.   the pressure set points of PRVs and thief hatches; the set point of any

                   Pressure Control Valves at the inlet of any VRU or control device,

                   unless the VRU or control device is equipped with a pressure gauge

                   that records the set point of the Pressure Control Valve; and the

                   manufacturer designed maximum and minimum inlet pressure or

                   vapor volumetric flow rate and temperature range for each control

                   device and VRU associated with each Vapor Control System or, if

                   such information is not available, Apache shall determine the

                   minimum and maximum flow rates or pressures necessary to achieve

                   the expected destruction efficiency of the control device as part of

                   the Engineering Evaluation conducted pursuant to Paragraph 25;

      e.   Document information appropriate to assess the need for corrective action,

           including:

              i.   the condition of all PRVs, thief hatches (including thief hatch

                   mountings and thief hatch gaskets), VRUs, control devices, flow-

                   regulating valves associated with a VRU or control device, and

                   monitoring systems associated with the Vapor Control System;

             ii.   whether every thief hatch is either welded to the Storage Vessel or

                   bolt-mounted with a suitable gasket to the Storage Vessel, in

                   accordance with good engineering practices and applicable

                   manufacturer specifications;

            iii.   whether every open-ended line in the Vapor Control System is

                   capped;
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                       iv.    the condition of the PRVs, thief hatches (including, mountings and

                              gaskets), VRUs, control devices, monitoring systems and equipment

                              upstream of the Vapor Control System that is associated with the

                              Vapor Control System to identify Compromised Equipment;

                              evidence of significant staining emanating from PRVs; or any

                              observation or detection of VOC emissions from a bypass device

                              open to the atmosphere, an open thief hatch, an open PRV, or an

                              open-ended line;

                        v.    whether all bypass devices comply with the requirements in 40

                              C.F.R. §60.5411(c)(3) and §60.5411a(c)(3), if applicable, and are

                              consistent with any applicable permit representations; and

                       vi.    equipment needed to be repaired, replaced, or upgraded to reduce the

                              likelihood of VOC emissions in excess of the quantity, rate, opacity,

                              or concentration specified by an applicable air quality regulation,

                              permit condition, PBR registration representation, or NOI

                              application.

       14.      Apache shall ensure that, at the time of the Field Survey, every thief hatch is

either welded to or mounted on the Storage Vessel with a suitable gasket, in accordance with

good engineering practices and, if applicable, manufacturer specifications.

       15.      Apache shall confirm, at the time of the Field Survey, using field testing or

Supervisory Control and Data Acquisition (“SCADA”) data review (where such data includes

inlet pressure and valve position or flow) the set point of any Pressure Control Valves at the inlet


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of any control device or VRU, unless the Storage Vessel System is equipped with a pressure

gauge that records the set point of the Pressure Control Valve.

       16.      If, while conducting a Field Survey, Apache observes Compromised Equipment

or evidence of significant staining emanating from PRVs, Apache shall as quickly as practicable

take appropriate corrective action. Where Compromised Equipment is the cause of observed or

detected emissions in excess of the quantity, rate, opacity or concentration specified by an

applicable air quality regulation, permit condition, PBR registration representation, or NOI

application, Apache shall take appropriate corrective action within five Days or Shut-In all

Production Operations associated with that Vapor Control System. Appropriate corrective action

may include the repair, replacement, addition, or upgrade of equipment or the temporary removal

from service of as much equipment at the Battery Pad (including one or more wells or separators)

as is necessary to stop excess VOC emissions until other corrective actions are completed.

       17.      Nothing herein shall require Apache to repair, replace, or upgrade such equipment

at a Storage Vessel System that is Shut-In pursuant to Paragraph 16, except that Apache must

repair, replace, or upgrade such equipment prior to resuming Normal Operations. In the event that

all Production Operations are temporarily Shut-In pursuant to Paragraph 16, Apache may resume

Production Operations for up to five Calendar Days for the sole purpose of taking corrective

actions pursuant to Paragraph 16.

       18.      Apache shall maintain records of the following information collected during the

Field Survey:

                a.   The date each Battery Pad underwent the Field Survey;

                b.   The full name of the employee or contractor who performed the Field

                     Survey;
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                c.   The documentation required by Paragraph 13;

                d.   Whether Compromised Equipment, Reliable Information, or significant

                     staining around potential venting points were observed; and

                e.   What, if any, repair, replacement, upgrade, or other corrective action was

                     performed, including a description of the equipment that was repaired,

                     replaced or upgraded and with what equipment it was replaced or upgraded.

        B.      SAMPLING

       19.      Pressurized Liquid Sampling. By no later than 90 Days after the Effective Date,

Apache shall collect and analyze Pressurized Liquids in accordance with the Sampling and

Analysis Plan (“SAP”) attached as Appendix C, provided that Apache may collect and analyze

additional Pressurized Liquids samples in accordance with the SAP prior to the applicable

deadlines in Paragraph 23, if necessary. Apache shall provide at least 10 Business Days’ written

notice to EPA and NMED (as to the New Mexico Subject Facilities) of the date when field

sampling events are planned to occur.

        C.      EMISSIONS DETERMINATIONS

       20.      For each Storage Vessel located at a Battery Pad that is identified in Appendix A,

except those Storage Vessels located at a Battery Pad that is identified in Appendix D, Apache

shall (a) determine the potential for VOC emissions in accordance with 40 C.F.R. § 60.5365(e) or

§ 60.5365a(e), as applicable; or (b) demonstrate that, the actual uncontrolled VOC emissions from

each storage vessel are less than 4 tpy at the time of the emissions calculation, and have been

maintained at less than 4 tpy for a period of at least twelve consecutive months dating back to the

Date of Lodging or before, as set forth in 40 C.F.R. § 60.5395(d)(2) or § 60.5395a(a)(3), as

applicable.
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       21.       For each Battery Pad located in New Mexico and listed in Appendix A except

those located in New Mexico and identified in Appendix E, Apache shall determine (a) the

potential emission rate of any regulated air contaminant for which there is a National or New

Mexico Ambient Air Quality Standard in accordance with 20.2.72 NMAC (construction permits);

(b) the potential emission rate of any regulated air contaminant in accordance with 20.2.73

NMAC (notices of intent); and (c) the potential to emit any regulated air pollutant in accordance

with 20.2.70 NMAC (operating permits). Apache may use emission rates from approved

registrations or applications under the New Mexico Permit Programs if Apache provides

documentation to EPA and NMED demonstrating that (a) the equipment identified during the

Field Survey matches the equipment in the registration or application, and (b) the sampling data

used in determining emission rates in the registration or application were collected and analyzed

in a manner that is consistent with the Sampling and Analysis Plan.

       22.       For each Battery Pad located in Texas and listed in Appendix A, except those

located in Texas and identified in Appendix E, Apache shall determine (a) emissions of air

contaminants in accordance with 30 TAC, Ch. 106 (PBR) and 30 TAC, Ch. 116 (construction

permits), and (b) the potential to emit any air pollutant in accordance with 30 TAC, Ch. 122

(operating permits). Apache may use emission rates from approved registrations or applications

under the Texas Permit Programs if Apache provides documentation to EPA demonstrating that

(a) the equipment identified during the Field Survey matches the equipment in the registration or

application, and (b) the sampling data used in determining emission rates in the registration or

application were collected and analyzed in a manner that is consistent with the Sampling and

Analysis Plan.


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       23.      No later than 240 Days after the Effective Date for Group 2 Facilities, no later

than 360 Days after the Effective Date for Group 3 Facilities, and no later than 450 Days after the

Effective Date for Group 4 Facilities, as designated in Appendix A, and based on the emissions

determinations required by Paragraphs 20, 21, and 22, and other relevant information, Apache

shall submit to EPA, for review and approval after consultation with NMED (as to New Mexico

Subject Facilities), a list of Apache’s Battery Pads that include one or more Storage Vessels that

are operated pursuant to the VRU Exception or are subject to a control device or VRU

requirement pursuant NSPS OOOO, NSPS OOOOa, any of the New Mexico Permit Programs or

any of the Texas Permit Programs, as applicable. Such list shall include the Group 1 Battery Pads

identified on Appendices D and E. The Vapor Control Systems located at the Battery Pads

identified on the lists required by this Paragraph shall be referred to herein as the “Subject Vapor

Control Systems.” For each such Subject Vapor Control System, Apache shall identify Storage

Vessels that are operated pursuant to the VRU Exception or are subject to a VRU or control

device requirement pursuant to NSPS OOOO, NSPS OOOOa, any of the New Mexico Permit

Programs, or any of the Texas Permit Programs. If, at any time, EPA identifies a Storage Vessel

at a Battery Pad listed on Appendix A that is operated pursuant to the VRU Exception or is

subject to a control device or VRU requirement and such Storage Vessel is located at a Battery

Pad that was not included in Apache’s lists of Subject Vapor Control Systems, Apache shall

comply with the requirements set forth in Paragraphs 12 through 56 at such Battery Pad, to the

extent not already completed, in accordance with a schedule approved by EPA after consultation

with NMED (as to New Mexico Subject Facilities), as appropriate.




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        D.      COMPLIANCE ASSESSMENT FOR SUBJECT VAPOR CONTROL
                SYSTEMS

       24.      Design Analysis Methodology. Prior to the Effective Date, Apache submitted, and

EPA reviewed and approved, after consultation with NMED (as to New Mexico Subject

Facilities), a written Design Analysis Methodology for all Subject Vapor Control Systems. The

Design Analysis Methodology sets forth the methodology for analyzing whether the Subject

Vapor Control System is adequately designed and sized for PMIVFR, PPIVFR, and Peak

Modeled Pressure. Any modification to the Design Analysis Methodology must be approved by

EPA, after consultation with NMED (as to New Mexico Subject Facilities), prior to Apache’s

implementation of the modification.

       25.      Engineering Evaluation. Apache shall prepare an Engineering Evaluation for each

Subject Vapor Control System that is based on the approved Design Analysis Methodology no

later than the dates below:




        Battery Pads as designated in Appendix A        Days after the Effective Date

                         Group 1                                     180

                         Group 2                                     270

                         Group 3                                     390

                         Group 4                                     480




       26.      Each Engineering Evaluation shall incorporate relevant information obtained

during the Field Survey performed pursuant to Paragraph 12, the results of the pressurized liquid


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sampling performed pursuant to Paragraph 19 (Pressurized Liquid Sampling), and an assessment

of the minimum and maximum flow rates or pressures necessary to achieve the expected

destruction efficiency of the control device if such information was not available during the Field

Survey. Each Engineering Evaluation shall include a determination as to whether the Subject

Vapor Control System achieves the following objective: the Subject Vapor Control System is

adequately designed and sized for PMIVFR, PPIVFR, and Peak Modeled Pressure, as determined

in accordance with the approved Design Analysis Methodology. With respect to the Subject

Vapor Control System at the Dixieland Lee Compressor Station, the Engineering Evaluation shall

also include a determination as to whether the Subject Vapor Control System achieves the

following additional objective: the Subject Vapor Control System is adequately designed to Route

to Process all gases, vapors, and fumes that are emitted from the material in the Storage Vessels.

Where a Subject Vapor Control System is identified by EPA pursuant to Paragraph 23 or is a

Newly Identified Subject Vapor Control System, Apache shall complete the Engineering

Evaluation in accordance with the schedule approved pursuant to those Paragraphs. For each

Subject Vapor Control System that is not adequately designed and sized for the PMIVFR,

PPIVFR, and the Peak Modeled Pressure, as determined in accordance with the Design Analysis

Methodology, Apache shall determine what design, equipment, operational, or other

modifications are necessary to achieve this objective and prepare a revised Engineering

Evaluation showing that the Vapor Control System as modified will be adequately designed and

sized for PMIVFR, PPIVFR, and Peak Modeled Pressure.

       27.      Modifications. With respect to each Subject Vapor Control System for which

Apache has determined, pursuant to Paragraph 26, that modifications are necessary to achieve the


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specified objective in that Paragraph, Apache shall implement the modifications referenced in the

revised Engineering Evaluation no later than the dates below:

               Battery Pads as designated in Appendix A             Days after the Effective Date

                               Group 1                                          270

                               Group 2                                          360

                               Group 3                                          480

                               Group 4                                          570



       28.       Production Operations Shut-In. If Apache has not prepared the Engineering

Evaluation required by Paragraph 25 by the applicable date therein or implemented the

modifications required by Paragraph 27, if any, by the applicable date therein, Apache shall

immediately Shut-In and cease all Production Operations associated with that Subject Vapor

Control System until the requirements of Paragraphs 25 and 26 are met.

       29.       In the event that all Production Operations are temporarily Shut-In pursuant to

Paragraph 28, Apache may resume Production Operations for up to a total of five Calendar Days

for the purpose of (i) collecting data and information needed to complete and Engineering

Evaluation, (ii) implementing a necessary modification pursuant to paragraph 27 or (iii)

conducting an IR Camera Inspection pursuant to Paragraph 30.

       30.       Verification by IR Camera Inspection. Apache shall verify that each Subject

Vapor Control System is adequately designed to achieve the objectives specified in Paragraph 26

by conducting an IR Camera Inspection of each Subject Vapor Control System no later than the

dates below:


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                    Battery Pads, as designated in            Days after the Effective Date
                             Appendix A
                              Group 1                                         300

                               Group 2                                        390

                               Group 3                                        510

                               Group 4                                        600



       31.       Where a Subject Vapor Control System has been Shut-In pursuant to Paragraph

28, the IR Camera Inspection shall be conducted within thirty (30) days after completion of the

Engineering Evaluation conducted pursuant to Paragraph 25 or, if applicable, after completion of

modifications conducted pursuant to Paragraph 27.

       32.      All IR Camera Inspections must be conducted in accordance with Appendix F

(DI/PM Program Requirements) and the approved IR Camera Inspection Standard Operating

Procedure (“SOP”). Apache shall maintain, and make available to EPA and NMED (as to the

New Mexico Subject Facilities) upon request, a video record for each source of emissions

detected during an IR Camera Inspection, or a short video of at least one IR Camera Inspection

per Facility if no fugitive emissions were detected.

       33.      If Apache observes Reliable Information during an IR Camera Inspection, Apache

shall comply with the requirements of Paragraphs 49 through 53, as applicable.

       34.      Certification of Completion Report. Apache shall submit to the EPA and NMED,

for a New Mexico Subject Facility, or EPA for a Texas Subject Facility, a Certification of

Completion Report, in spreadsheet or database format, that contains the following information for

each Subject Vapor Control System:


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      a.   The results of the Engineering Evaluation (including any revised Engineering

           Evaluation);

      b.   The PMIVFR, PPIVFR, Vapor Control System Capacity, Peak Modeled

           Pressure and the Maximum Design Pressure, as determined in accordance

           with the Design Analysis Methodology;

      c.   A description of each modification made to equipment or to operations as a

           result of the Engineering Evaluation;

      d.   A description of the site-specific or system-wide operational parameters or

           practices relied upon in the Engineering Evaluation (including, for the final

           stage of separation, both the maximum operating pressure and whether the

           dump valve is set to “throttling” or “on/off”);

      e.   The minimum Storage Vessel System thief hatch and PRV settings; and

      f.   The date an IR Camera Inspection was completed pursuant to Paragraph 30

           (Verification by IR Camera Inspection) and the results of such inspection,

           along with all corrective actions performed to address Reliable Information if

           observed during the IR Camera Inspection, the date and time of each

           corrective action, and the date and method of verification used to determine

           that the corrective action was successful.

      The Certification of Completion Report shall be submitted no later than the dates

      specified below, provided that for a Subject Vapor Control System that has been

      Shut-In pursuant to Paragraph 28, the Certification of Completion Report shall be

      submitted within thirty (30) days after completion of the IR Camera Inspection

      pursuant to Paragraph 30.
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                              Battery Pads                     Days after the Effective Date
                      as designated in Appendix A
                                Group 1                                        330

                                Group 2                                        420

                                Group 3                                        540

                                Group 4                                        630



       35.     Operational or Equipment Changes after the Certification of Completion Report.

After Apache has submitted a Certification of Completion Report for a Subject Vapor Control

System in compliance with Paragraph 34, if an operational or equipment change is made such

that: (1) the PPIVFR is increased beyond what was evaluated in the Engineering Evaluation or (2)

the Subject Vapor Control System capacity decreases, Apache shall:

               a.   revise the Engineering Evaluation in the manner set forth in Paragraph 25

                    within thirty (30) Days of completing the operational or equipment change;

               b.   implement all modifications necessary to ensure that the Subject Vapor

                    Control System achieves the objectives specified in Paragraph 26 within

                    sixty (60) Days of completing the operational or equipment change;

               c.   if Apache fails to implement the modifications required by subparagraph b,

                    Apache shall immediately Shut-In and cease all Production Operations

                    associated with that Subject Vapor Control System until the modifications

                    are completed;




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                d.   verify that each Subject Vapor Control System achieves the objectives

                     specified in Paragraph 26 by conducting an IR Camera Inspection in

                     accordance with Paragraph 30; and

                e.   submit an updated Certification of Completion Report together with the next

                     Semi-Annual Report required pursuant to Paragraph 93.

        E.      DIRECTED INSPECTION / PREVENTATIVE MAINTENANCE FOR
                SUBJECT VAPOR CONTROL SYSTEMS

       36.      Directed Inspection/Preventive Maintenance Requirements. No later than the

Effective Date, Apache shall submit the SOPs as required by Appendix F (DI/PM Program

Requirements). For all Facilities listed in Appendices D and E, except those Facilities listed on

Appendix B, Apache shall commence implementation of the DI/PM requirements set forth in

Appendix F no later than 60 Days after the Effective Date and commence implementation of the

SOPs upon approval. For any other Facilities at which a Subject Vapor Control System is located,

except those also listed on Appendix B, Apache shall commence implementation of the DI/PM

requirements set forth in Appendix F, including SOPs as approved, no later than 60 Days after the

Subject Vapor Control System was identified in a list of Subject Vapor Control Systems

submitted by Apache pursuant to Paragraph 23. For all Facilities that are listed on Appendix B,

Apache shall commence implementation of the DI/PM requirements set forth in Appendix F,

including SOPs as approved, no later than 180 Days after the Effective Date.

        F.      STORAGE VESSEL PRESSURE MONITORING FOR SUBJECT VAPOR
                CONTROL SYSTEMS

       37.      No later than 90 Days after the Effective Date for each Subject Vapor Control

System located at a Facility listed on Appendix D or Appendix E, and for all other Subject Vapor

Control Systems, no later than 60 Days after the identification of such Subject Vapor Control
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System on a list submitted pursuant to Paragraph 23, Apache shall, in accordance with

manufacturer’s recommendations, install, calibrate, maintain, and operate one electronic pressure

monitor for each Subject Vapor Control System (collectively, “Storage Vessel Pressure

Monitors”). Apache shall ensure the Storage Vessel Pressure Monitors measure pressure data at

least once every minute and shall record and transmit one measurement every five minutes to a

SCADA system. Apache shall continuously operate the Storage Vessel Pressure Monitors, except

during periods of planned or unplanned maintenance or Malfunction of the Storage Vessel

Pressure Monitors. If a Storage Vessel Pressure Monitor is identified as Malfunctioning, Apache

shall complete corrective action within five Days. Apache shall record all dates, durations, and

purpose or suspected cause(s) of Storage Vessel Pressure Monitor maintenance, Malfunctions,

and any failures, and report this information as required by Section VI (Periodic Reporting). In

the case of a telecommunications failure beyond Apache’s control, it shall not be a violation of

the data transmission requirement in this Paragraph if data recorded during such failure is

transmitted to a SCADA system within a reasonable time after the recommencement of

telecommunications services.

       38.      No later than 90 Days after the Storage Vessel Pressure Monitors are installed

pursuant to Paragraph 37, Apache shall select the Trigger Point for each Subject Vapor Control

System. Apache shall confirm that the Trigger Point is below the Leak Point by using

representative Vapor Control System field testing (verified with an IR Camera), or by using

representative PRD bench testing. PRD bench testing will be considered representative if such

testing is based on a sample of PRDs of sufficient size to generate statistically significant results

and all PRDs in the sample have the same make, model and Set Point as the PRD for which a

Trigger Point is being confirmed. VCS field testing will be considered representative if such
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testing is based on a sample of Vapor Control Systems of sufficient size to generate statistically

significant results and each VCS in the sample is equipped with a set of PRDs that have the same

make, model and Set Point as the PRDs in the VCS for which a Trigger Point is being confirmed.

For any single Subject Vapor Control System, Apache may select a revised higher Trigger Point

by demonstrating that the revised Trigger Point is below the Leak Point using Vapor Control

System field testing at that Subject Vapor Control System (verified with an IR Camera).

       39.      At any time after 90 Days after a Storage Vessel Pressure Monitor is installed at a

Storage Vessel System pursuant to Paragraph 37, if a Storage Vessel Pressure Monitor (a)

measures pressure that exceeds the Trigger Point or (b) indicates that the pressure at the inlet of

the VRU or control device is inconsistent with manufacturer specifications, Apache shall ensure

that Apache representatives are automatically and immediately notified so that Apache can take

prompt corrective action. If a Storage Vessel Pressure Monitor records measurements that exceed

the Trigger Point two or more times in a 48-hour period, such record shall constitute Reliable

Information and Apache shall comply with the requirements of Paragraphs 49 through 53, as

applicable. Additional measurements exceeding the Trigger Point that occur after the occurrence

of such a record that constitutes Reliable Information but prior to the completion of the corrective

action required by Paragraph 49 must be included in the investigation required by that Paragraph,

but will not qualify as separate Reliable Information events for purposes of Paragraphs 49 through

53, as applicable.

        G.      PRESSURE CONTROL VALVE INSTALLATION AND MONITORING
                AT SUBJECT VAPOR CONTROL SYSTEMS

       40.      If an Engineering Evaluation conducted pursuant to Paragraph 25 indicates a

Pressure Control Valve is necessary to prevent the flow of vapors to the VRU or control device

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when the flow or pressure is inconsistent with manufacturer specifications, Apache shall, no later

than 30 Days after completion of the Engineering Evaluation, install, calibrate, maintain and

operate (consistent with manufacturer’s specifications) a Pressure Control Valve equipped with a

Valve Position Monitor.

       41.      Apache shall ensure that such Valve Position Monitor records the position of the

Pressure Control Valve and demonstrates that the Pressure Control Valve is closed at all times

when the Storage Vessel Pressure Monitor indicates that the pressure at the VRU or control

device is not consistent with the manufacturer specifications or with Apache-prepared operating

specifications (when manufacturer specifications are unavailable).

       42.      Apache shall ensure that each Valve Position Monitor measures position data at

least once every minute. Apache shall record and transmit one measurement every hour to a

SCADA system. Apache shall continuously operate each Valve Position Monitor, except during

periods of planned or unplanned maintenance or Malfunction of the Valve Position Monitor. If a

Valve Position Monitor Malfunction is identified, Apache shall complete corrective action within

five Days. Apache shall record all dates, durations, and purpose or suspected cause(s) of Valve

Position Monitor maintenance, Malfunctions, and any failures, and report this information as

required by Section VI (Periodic Reporting). In the case of a telecommunications failure beyond

Apache’s control, it shall not be a violation of the data transmission requirement in this Paragraph

if data recorded during such failure is transmitted to a SCADA system within a reasonable time

after the recommencement of telecommunications services.

       43.      At any time after 30 Days after the Valve Position Monitors are installed at a

Storage Vessel System pursuant to Paragraph 40, if the Valve Position Monitor measurements

indicate that the valve is open when the Storage Vessel Pressure Monitor indicates that the
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pressure at the VRU or control device is inconsistent with the manufacturer specifications (or

Apache-prepared operating specifications when manufacturer specifications are unavailable),

Apache shall ensure that Apache representatives are automatically and immediately notified so

that Apache can take prompt corrective action. Such measurements shall constitute Reliable

Information and Apache shall comply with the requirements of Paragraphs 49 through 53, as

applicable.

        H.      BYPASS, VRU AVAILABILITY, AND CONTROL DEVICE
                MONITORING AT SUBJECT VAPOR CONTROL SYSTEMS

       44.      No later than 90 Days after the Effective Date for each Subject Vapor Control

System located at a Facility listed on Appendix D or Appendix E, and for all other Subject Vapor

Control Systems, no later than 60 Days after the identification of such Subject Vapor Control

System on a list submitted pursuant to paragraph 23, at each Subject Vapor Control System with

a VRU or control device equipped with a bypass device that can divert vapor flow to the

atmosphere, Apache shall:

                a.     secure the bypass device valve installed at the inlet to the bypass device in

                       the non-diverting position using a car-seal or a lock-and-key type

                       configuration, except when a bypass to the atmosphere is necessary to

                       conduct active maintenance on a VRU or control device;

                b.     visually inspect the seal or closure mechanism at least once every month

                       to verify that the valve is maintained in the non-diverting position and the

                       vent stream is not diverted through the bypass device; and

                c.     maintain records of each inspection and of each time the key is checked

                       out.

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       45.      Whenever a bypass to the atmosphere occurs at a Subject Vapor Control System,

except when such bypass is necessary to conduct active maintenance on a VRU or control device,

the bypass shall constitute Reliable Information and Apache shall comply with the requirements

set forth in Paragraphs 49 through 53, as applicable.

       46.      VRU Availability Monitoring. No later than 90 Days after the Effective Date for

each Subject Vapor Control System located at a Facility listed on Appendix D or Appendix E, and

for all other Subject Vapor Control Systems, no later than 60 Days after the identification of such

Subject Vapor Control System on a list submitted pursuant to Paragraph 23, Apache shall monitor

VRU Availability at Subject Vapor Control Systems for which Apache has made a written

representation to a state permitting authority related to VRU availability (except when Apache’s

permit representation or registration includes an operating scenario of 100 percent VRU

downtime). Whenever recorded VRU Availability is less than represented VRU Availability on a

rolling 12-month basis, such information shall constitute Reliable Information and Apache shall

comply with the requirements set forth in Paragraphs 49 through 53, as applicable. After a

Certification of Completion Report is submitted for a Subject Vapor Control System, Apache may

remove a VRU from the Facility in accordance with applicable legal requirements if Apache

complies with Paragraph 35 (Operational or Equipment Changes after the Certification of

Completion Report).

       47.      Combustion Control Device Pilot Monitoring. No later than 150 Days after the

Effective Date for each combustion control device used at a Subject Vapor Control System at a

Battery Pad listed in Appendix D or Appendix E, and no later than 60 Days after a Subject Vapor

Control System using a combustion control device is included on a list of Subject Vapor Control

Systems submitted pursuant to Paragraph 23, Apache shall, in accordance with manufacturer’s
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recommendations, install, calibrate, maintain, and operate, for each combustion control device at

a Subject Vapor Control System, one or more thermocouples or equivalent device(s) to detect the

presence of a pilot flame for each combustion control device (collectively, “the Pilot Monitor”).

Apache shall ensure that the Pilot Monitor associated with each combustion control device

collects data pertaining to the presence of a pilot flame at least once every minute and Apache

shall record and transmit one data point pertaining to the presence of a pilot flame every hour to a

SCADA system. Apache shall ensure that the Pilot Monitor operates continuously for each

combustion control device, except during instances of planned or unplanned maintenance or

Malfunction of the Pilot Monitor. If the Pilot Monitor is identified as Malfunctioning, Apache

shall complete corrective action within five Days. Apache shall record all dates, durations, and

purpose or suspected cause(s) of Pilot Monitor maintenance, Malfunctions, and any failures and

report this information as required by Section VI (Periodic Reporting). In the case of a

telecommunications failure beyond Apache’s control, it shall not be a violation of the data

transmission requirement in this Paragraph if data recorded during such failure is transmitted to a

SCADA system within a reasonable time after the recommencement of telecommunications

services.

       48.      No later than 150 Days after the Effective Date for a combustion device used at a

Subject Vapor Control System at a Battery Pad listed in Appendix D or Appendix E, or no later

than 60 Days after a Subject Vapor Control System that uses a combustion device is included in a

list of Subject Vapor Control Systems submitted pursuant to Paragraph 23, if the Pilot Monitor

detects the absence of a pilot flame, Apache shall ensure that Apache representatives are

automatically and immediately notified so that Apache can take prompt and appropriate corrective

action. Any instance in which the Pilot Monitor detects the absence of a pilot flame, unless the
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combustion control device is equipped with an auto-igniter and no waste gas is flowing to the

device, shall constitute Reliable Information and Apache shall comply with the requirements of

Paragraphs 49 through 53, as applicable.

        I.      RELIABLE INFORMATION, ROOT CAUSE ANALYSIS AND
                CORRECTIVE ACTION FOR SUBJECT VAPOR CONTROL SYSTEMS

       49.      If at any time Apache observes Reliable Information, Apache shall, within five

Calendar Days after such observation, either (a) identify the suspected cause of the Reliable

Information and complete all necessary corrective actions to address the Reliable Information or

(b) Shut-In the Vapor Control System at which Reliable Information was obtained until such time

as all corrective actions necessary to address the Reliable Information have been completed. Such

requirements apply upon the Effective Date at all Battery Pads listed on Appendices D and E and

for other Subject Vapor Control Systems upon their inclusion in the list submitted pursuant to

Paragraph 23. Where the cause of Reliable Information is planned maintenance (other than the

types of maintenance excluded from the definition of Reliable Information in Paragraph 6(ggg)),

Apache shall also record the purpose and duration of such maintenance and report this

information as required by Section VI (Periodic Reporting).

       50.      If at any time Apache observes any improperly open bypass device, thief hatch, or

any open-ended line, Apache shall address such observation with corrective action (including by

manually closing such device or equipment, if appropriate) as quickly as practicable and no later

than 8 hours after the observation. If at any time after the Effective Date Apache observes an

improperly open PRV, Apache shall address such observation with corrective action as quickly as

practicable and make a first attempt to complete corrective action no later than 8 hours after the

observation. Such first attempt may be the identification of (a) one or more replacement parts that

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must be purchased or procured to complete the corrective action, or (b) the need for a manlift to

complete the corrective action.

       51.      If Apache becomes aware of: (a) three or more instances of Reliable Information

related to any single Subject Vapor Control System in any rolling six-month period that derive

from observations or detections from any source of Reliable Information other than the Reliable

Information associated with Pilot Monitoring pursuant to Paragraph 48, or (b) three or more

instances of Reliable Information related to any single Subject Vapor Control System in any

rolling six-month period that derive from observations or detections from the Pilot Monitoring

pursuant to Paragraph 48, then Apache shall complete, within 30 Days of the third such instance,

a Root Cause Analysis. Apache shall identify the corrective actions to be taken to address any

operation, maintenance, or design cause(s) identified and implement such corrective actions no

later than 30 Days after the completion of the Root Cause Analysis. Additional instances of

Reliable Information at a Subject Vapor Control System at which Apache is performing a Root

Cause Analysis at that time shall be added as additional information in that Root Cause Analysis,

but such additional instances shall not trigger additional Root Cause Analyses.

       52.      In the event that a Subject Vapor Control System is temporarily Shut-In pursuant

to Paragraph 49, Apache shall proceed as follows:

                a.   If the Storage Vessel System has already undergone an Engineering

                     Evaluation pursuant to Paragraph 25, Apache shall: temporarily remove from

                     service as much equipment at the Battery Pad as is necessary to stop VOC

                     emissions or Visible Smoke Emissions that are Reliable Information that

                     have not been addressed by timely repair; and comply with the requirements


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                    of Paragraph 30 (Verification by IR Camera Inspection) within 30 Days of

                    resuming operation of Shut-In equipment.

               b.   If the Storage Vessel System has not yet undergone an Engineering

                    Evaluation pursuant to Paragraph 25, all Production Operations shall remain

                    Shut-In until the Engineering Evaluation and all necessary modifications,

                    pursuant to Paragraph 27, have been completed. Apache shall comply with

                    the requirements of Paragraph 30 (Verification by IR Camera Inspection) at

                    such Storage Vessel System within 30 Days of resuming any Production

                    Operations associated with that Storage Vessel System.

       53.     If the Root Cause Analysis indicates that the Subject Vapor Control System is not

adequately designed and sized for PMIVFR, PPIVFR, and Peak Modeled Pressure, as determined

in accordance with the Design Analysis Methodology, Apache shall:

               a.   revise the Engineering Evaluation and implement any necessary

                    modifications no later than 90 Days after the completion of the Root Cause

                    Analysis to ensure that the Subject Vapor Control System is adequately

                    designed and sized;

               b.   immediately Shut-In and cease all Production Operations associated with that

                    Subject Vapor Control System if Apache fails to implement the

                    modifications required by subparagraph (a) of this Paragraph 53 within 90

                    Days after the completion of the Root Cause Analysis;

               c.   submit an updated Certification of Completion Report together with the next

                    Semi-Annual Report required pursuant to Paragraph 93, or with the Semi-


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                     Annual Report due at least 30 Days following completion of all requirements

                     in this Paragraph 53; and

                d.   comply with the requirements of Paragraph 30 (Verification by IR Camera

                     Inspection) at such Storage Vessel System within 30 Days of resuming any

                     Production Operations associated with that Storage Vessel System.

       54.      In the event that Production Operations are temporarily Shut-In pursuant to

Paragraph 53(b), Apache may resume Production Operations for up to a total of five Days for the

purpose of (a) collecting data and information needed to complete an Engineering Evaluation, (b)

implementing a necessary modification pursuant to paragraph 27, or (c) conducting an IR Camera

Inspection pursuant to Paragraph 30.

        J.      PERFORMANCE STANDARDS

       55.      As of the date that Apache submits the Certification of Completion Report for a

Subject Vapor Control System required by Paragraph 34, above, Apache shall comply with (a)

requirements applicable to Storage Vessels at the Subject Vapor Control System as set forth in

NSPS 40 C.F.R. Part 60, Subpart OOOO and OOOOa, as applicable, (b) permitting requirements

applicable to the Facility with the Subject Vapor Control System under the New Mexico Permit

Programs, as specified by Paragraph 56 and (c) permitting requirements applicable to the Facility

with the Subject Vapor Control System under the Texas Permit Programs, as specified by

Paragraph 56. After such date, Apache shall not operate the Storage Vessel(s) at the Subject

Vapor Control System pursuant to 40 C.F.R. §§ 60.5365(e)(3) or 60.5365a(e)(5).

       56.      No later than the date that Apache submits the Certification of Completion Report

for a Subject Vapor Control System required by Paragraph 34, above, Apache shall submit a

registration or application as necessary for the Facility with the Subject Vapor Control System to
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comply with requirements applicable under the New Mexico Permit Programs or Texas Permit

Programs, as applicable. As to the Dixieland Lee Compressor Station, such registration shall

include a representation that the Vapor Control System is adequately designed to Route to Process

all gases, vapors, and fumes that are emitted from the material in the storage vessels.

        K.      PLUGGING & ABANDONMENT AND CONVERSION TO TANKLESS

       57.      Plugging & Abandonment. The permanent plugging and abandonment of a well in

compliance with 19.15.25.10 NMAC (as to New Mexico Facilities) and 16 TAC § 3.14(d) (as to

Texas Facilities) (hereinafter, “Plugged and Abandoned”), shall be deemed to satisfy all

requirements of this Consent Decree applicable to the well (as long as the well no longer emits or

has the potential to emit hydrocarbons) and to a related Storage Vessel System at a Battery Pad

listed in Appendix A or newly identified in accordance with Paragraph 60 (as long as all wells

associated with the Storage Vessel System have been Plugged and Abandoned). Apache shall

maintain copies of all documentation required by 19.15.25.11 NMAC (for New Mexico Facilities)

and 16 TAC § 3.14(b)(1) (for Texas Facilities) for inspection and review by EPA and NMED (as

applicable) upon request.

       58.      In each Semi-Annual Report submitted pursuant to Paragraph 93, Apache shall

report a list of any Storage Vessel Systems (at Battery Pads listed on Appendix A or newly

identified in accordance with Paragraph 60) for which all associated wells have been Plugged and

Abandoned and the date thereof. Nothing herein shall preclude Apache from reusing any

equipment from a Plugged and Abandoned well.

       59.      Conversion to Tankless. As to any Battery Pad on Appendix A, if all Storage

Vessel Systems have been drained, degassed and permanently removed, such that the Produced

Oil and Produced Water from all associated wells have been redirected to another Facility
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(“Tankless Conversion”), such Tankless Conversion shall be deemed to satisfy all requirements of

this Consent Decree applicable to the Storage Vessel System.

        L.      NEWLY IDENTIFIED STORAGE VESSEL SYSTEMS

       60.      If, at any time, Apache redirects Produced Oil from a Storage Vessel System at a

Battery Pad identified in Appendix A to any Storage Vessel System not identified in Appendix A

(i.e., a “Newly Identified Storage Vessel System”), Apache shall:

                a.    notify EPA and NMED (as to any Storage Vessel System located in New

                      Mexico) within 30 Days of sending Produced Oil to the Newly Identified

                      Storage Vessel System;

                b.    comply with Paragraphs 12 through 56 for such Newly Identified Storage

                      Vessel System within 60 Days of sending Produced Oil to the Newly

                      Identified Storage Vessel System; and

                c.    for each Newly Identified Storage Vessel System that is determined, pursuant

                      to Paragraph 23, to include a Subject Vapor Control System, Apache shall

                      submit an updated list of Subject Vapor Control Systems to EPA as part of

                      the next Semi-Annual Report, as required by Paragraph 93.

        M.      EMISSION CREDIT GENERATION

       61.      Apache shall not use any emission reductions that result from actions required by

this Consent Decree for the purposes of obtaining project decreases, netting reductions or

emission offset credits, including applying for, obtaining, trading, or selling any emission

reductions credits.




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        N.      ENVIRONMENTAL MITIGATION PROJECTS

       62.      Apache shall implement the Environmental Mitigation Project (“Project”)

described in Appendix G in compliance with the approved plan and schedule for the Project and

other terms of this Consent Decree.

       63.      Apache shall maintain and, within 30 Days of a request from EPA or NMED,

provide copies of all documents to identify and substantiate the costs expended to implement the

Project described in Appendix G.

       64.      All plans and reports prepared by Apache pursuant to the requirements of this

Section V.N. (Environmental Mitigation Projects) are required to be submitted to EPA and

NMED as provided in Appendix G and Apache shall make any such plan or report available to

the public upon request and without charge.

       65.      Project Certification. As part of each plan submitted to EPA and NMED for the

Project, Apache shall certify that:

                a.   Apache is not required to perform the Project by any federal, state, or local

                     law or regulation or by any agreement (other than this Consent Decree),

                     grant, or as injunctive relief awarded in any other action in any forum;

                b.   The Project is not a project that Apache was planning or intending to

                     construct, perform, or implement other than in settlement of the claims

                     resolved in this Consent Decree; and

                c.   Apache has not received and will not receive credit for the Project in any

                     other enforcement action.




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       66.      Apache shall use its best efforts to secure as much environmental benefit as

possible for the Project, consistent with the applicable requirements and limits of this Consent

Decree.

       67.      Apache shall comply with the reporting requirements described in Appendix G.

       68.      In connection with any communication to the public or shareholders regarding

Apache’s actions or expenditures relating in any way to the Project in this Consent Decree,

Apache shall include prominently in the communication the information that the actions and

expenditures were required as a part of this Consent Decree.

       69.      Project Completion Notice. No later than 30 Days following the completion of the

Project required under this Consent Decree (including any applicable periods of demonstration or

testing), Apache shall submit to EPA and NMED a report that documents the date the Project was

completed, the results achieved by implementing the Project, including a general discussion of the

environmental benefits and, where feasible, the estimated emissions reductions.

       70.      Where any compliance obligation under this Section requires Apache to obtain a

federal, state, or local permit or approval, Apache shall submit timely and complete applications

and take all other actions necessary to obtain all such permits or approvals. Apache may seek

relief under the provisions of Section IX (Force Majeure) for any delay in the performance of any

such obligation resulting from a failure to obtain, or a delay in obtaining, any permit or approval

required to fulfill such obligation, if Apache has submitted timely and complete applications and

has taken all other actions necessary to obtain all such permits or approvals.

          O.    THIRD-PARTY VERIFICATION PROGRAM

       71.      Apache shall hire an independent third-party verifier (“Verifier”) to conduct a

compliance verification program (“Compliance Verification Program”) at each Subject Vapor
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Control System, along with any Storage Vessel Systems newly identified pursuant to Paragraph

60, to (a) evaluate Apache’s compliance with Consent Decree requirements in Section V,

paragraphs 12 through 48, with the exception of Paragraph 35 (Operational or Equipment

Changes after the Certification of Completion Report) and Paragraph 36 (Directed

Inspection/Preventative Maintenance Requirements); and (b) complete a Compliance Verification

Program Report as detailed in Paragraph 87 of this Section.

       72.      Apache shall bear the cost of retaining the Verifier, and shall direct the Verifier to

conduct the Compliance Verification Program in accordance with the requirements of this

Section.

       73.      Hiring. Within 30 Days of the Effective Date, Apache shall submit to EPA and

NMED the names and qualifications of three proposed Verifiers that meet the following

requirements:

                a.   The proposed Verifier has expertise and competence in Vapor Control

                     Systems, NSPS OOOO, NSPS OOOOa, the New Mexico Permit Programs,

                     and the Texas Permit Programs (except that Apache may propose two

                     Verifiers that, collectively, have such expertise and competence across the

                     New Mexico and Texas regulatory requirements) and;

                b.   The proposed Verifier (including any principals and employees who might be

                     assigned to participate in the Compliance Verification Program) has not been

                     employed by Apache, has not conducted research and/or development for

                     Apache, and has not provided advisory services of any kind (including but

                     not limited to design, construction, financial, engineering, hazardous waste

                     management, legal, or consulting services) to Apache, within three years of
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                      the Effective Date, except that, if Apache is unable to identify an entity

                      satisfying these criteria, Apache may propose a Verifier that has been

                      employed by Apache within three years of the Effective Date and provide

                      details of prior work for Apache and qualifications to EPA for consideration;

                 c.   The proposed Verifier has not been retained by Apache to satisfy any of the

                      requirements of Section V (Compliance Requirements) of this Consent

                      Decree; and

                 d.   The proposed Verifier has executed the certification attached to this Consent

                      Decree as Appendix H. A copy of the certification for each proposed Verifier

                      shall be submitted to the United States along with the list of proposed

                      Verifiers.

        74.      Verifier Approval Procedure. EPA, after consulting with NMED, shall inform

Apache in writing which of the proposed Verifiers, if any, it has approved. Within 30 Days of the

United States’ written approval, Apache shall retain the approved candidate to serve as the

Verifier and to perform the activities set forth in this Section. If EPA has not responded within 90

Days of receiving Apache’s submission, Apache’s proposed Verifier shall be deemed approved,

and Apache shall retain the approved candidate(s) to serve as the Verifier and to perform the

activities set forth in this Section.

        75.      If EPA disapproves of all proposed Verifiers, Apache shall, within 21 Days of

receipt of EPA’s written notification, submit to EPA for approval the names and qualifications of

an additional two proposed Verifiers that meet the qualifications set forth in Paragraph 73 of this

Section. EPA, after consulting with NMED, shall again provide written approval or disapproval

of the proposed Verifiers, per Paragraph 74 of this Subsection.
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       76.      Apache shall not employ the Verifier or any of its personnel who managed,

conducted, or otherwise participated in this Compliance Verification Program to provide any

other commercial, business, or voluntary services to Apache for a period of at least one year

following the Verifier’s submission of its final Compliance Verification Program Report, except

that if Apache is unable to identify an entity satisfying the criteria set forth in Paragraph 73.b and,

after consultation with EPA, EPA permits Apache to hire a Verifier that does not meet such

criteria, then the Verifier shall be permitted to perform work for Apache, except as specified in

Paragraph 73.c, during and after the term of this Consent Decree.

       77.      Verifier Replacement Procedure. If Apache or EPA determines that the Verifier

approved by EPA cannot satisfactorily perform the required Compliance Verification Program,

Apache, EPA and NMED shall informally confer. If they agree that a new Verifier should be

selected, Apache shall submit to EPA for approval the name and qualifications of two proposed

replacement Verifiers that meet the qualifications set forth in Paragraph 73. If Apache and EPA

do not agree on the need to select a replacement Verifier, EPA’s position shall control, subject to

Apache’s right to invoke the Dispute Resolution procedures in Section X of this Consent Decree.

       78.      Nothing in Paragraph 77 precludes EPA from assessing stipulated penalties for

missed Compliance Verification Program deadlines associated with the need to replace a Verifier,

unless Apache successfully asserts that the inability of the Verifier to perform the required

Compliance Verification Program was due to a Force Majeure event in accordance with Section

IX (Force Majeure) of this Consent Decree.

       79.      Conducting the Compliance Verification Program. Apache shall give the Verifier

a copy of this Consent Decree and all appendices, the approved Design Analysis Methodology,

the Engineering Evaluations, the Certification of Completion Reports developed pursuant to
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Paragraph 34, and all other information and access necessary to complete the Compliance

Verification Program, subject to the Verifier’s compliance with reasonable safety requirements.

       80.      Apache shall cooperate fully with any reasonable requests of the Verifier, and

provide the Verifier with access, upon reasonable notice and taking into account operational

impacts and reasonable safety requirements, to all records, employees, contractors, and properties

under Apache’s ownership or control that the Verifier reasonably deems appropriate to effectively

perform the duties described in this Section.

       81.      Apache shall direct the Verifier to evaluate Apache’s compliance with the

Consent Decree requirements in Section V, paragraphs 12 through 48, with the exception of

Paragraph 35 (Operational or Equipment Changes after the Certification of Completion Report)

and Paragraph 36 (Directed Inspection/Preventative Maintenance Requirements) at each Facility

with a Subject Vapor Control System (as well as any Storage Vessel System newly identified in

accordance with Paragraph 60), as of the date of the initiation of the Compliance Verification

Program for that Subject Vapor Control System.

       82.      The Compliance Verification Program shall include a site visit by the Verifier to

no fewer than 20 percent of total number of Facilities with a Subject Vapor Control System. The

Verifier shall inspect each such Facility in sufficient detail to permit the Verifier to validate the

results of the determinations made pursuant to Paragraph 81. Apache shall instruct the Verifier to

notify Apache within 24 hours of any observation of Reliable Information during the site visit.

       83.      One or more representatives of Apache with a reasonable understanding of this

Consent Decree shall accompany the Verifier during the on-site portion of the Compliance

Verification Program. The representatives of Apache shall not interfere with the independent

judgment of the Verifier.
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       84.      Apache shall permit representatives of EPA and NMED (as to New Mexico

Subject Facilities) to participate in the on-site portion of the Compliance Verification Program as

observers. Apache shall use best efforts to notify EPA and NMED (as to New Mexico Subject

Facilities) at least five (5) Business Days before each on-site visit by the Verifier is scheduled to

allow EPA and NMED time to make arrangements for observers to be present.

       85.      As to each Subject Vapor Control System, Apache shall submit the Certification

of Completion Report to the Verifier concurrently with its submission to EPA and shall direct the

Verifier to commence the Compliance Verification Program at that time.

       86.      For each Subject Vapor Control System, Apache shall direct the Verifier to begin

the Compliance Verification Program no less than 60 Days after the later of (a) the date that

Apache submits the Certification of Completion report pursuant to Paragraph 34, and (b) the date

that Apache has installed, calibrated, and commenced operation of each monitoring device

required for that Subject Vapor Control System under Paragraphs 37 through 48. Apache shall

ensure that the Verifier completes the Compliance Verification Program for each Subject Vapor

Control System no later than 60 Days after the Compliance Verification Program is commenced.

       87.      Apache shall direct the Verifier to prepare a Compliance Verification Program

Report for each Subject Vapor Control System no later than 30 Days after the Verifier completes

the Compliance Verification Program for the Facility. Apache shall direct the Verifier to submit

the Compliance Verification Program Reports simultaneously to Apache, EPA and, for any

Subject Vapor Control System in New Mexico, to NMED. The Verifier shall not share draft

reports with Apache prior to submission of the Compliance Verification Program Report to EPA.

       88.      The Compliance Verification Program Report shall present the Compliance

Verification Program findings and shall, at a minimum, contain the following information:
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      a.   An identification of the Battery Pad(s) evaluated and the period of time for

           which site-specific records were reviewed;

      b.   If an on-site inspection of the Battery Pad was conducted, the date(s) that the

           on-site portion of the Verification Program was conducted;

      c.   Identification of Verifier’s team members;

      d.   Identification of representatives of Apache and regulatory agency personnel

           observing the on-site visit, if applicable;

      e.   A summary of the Compliance Verification Program process, including any

           obstacles encountered;

      f.   Detailed Compliance Verification Program findings in accordance with

           Paragraph 81;

      g.   Copies of any photos or videos obtained during the Compliance Verification

           Program and the names of any Apache representatives or personnel

           interviewed;

      h.   Recommendations by the Verifier, based on the findings and areas of

           concern, for corrective actions and any proposed schedule for

           implementation or the date of implementation;

      i.   Detailed description of any Reliable Information observed by the Verifier,

           including the date the Reliable Information was observed; a description of

           the Reliable Information and basis for observation; the operation,

           maintenance or design cause(s) identified through Apache’s Root Cause

           Analysis or otherwise; a description of the corrective actions recommended

           by the Verifier or implemented by Apache, the date corrective actions were
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                    implemented (or proposed schedule for implementation of such corrective

                    actions), the date the corrective action was verified by an IR Camera

                    Inspection, if known, and a summary of the results of that inspection; and

               j.   A certification by the Verifier, in the form set forth in Appendix H, that the

                    Compliance Verification Program was conducted in accordance with the

                    provisions of this Consent Decree.

       89.     Upon the Verifier’s submission of the Compliance Verification Program Report to

Apache, EPA and NMED, Apache shall investigate and report to the Verifier, EPA and NMED

on any recommendations, areas of concern, or recommended corrective actions identified in the

Compliance Verification Program Report, as follows:

               a.   Within 60 Days after the Verifier’s submission of the Compliance

                    Verification Program Report to Apache, EPA, and NMED, Apache shall

                    submit for the Verifier’s review and comment an Action Plan that responds

                    to all recommendations and fully addresses all areas of concern and

                    recommended corrective actions contained in the Compliance Verification

                    Program Report. The Action Plan shall provide specific deliverables,

                    responsibility assignments, and an implementation schedule to address all

                    areas of concern, and recommended corrective actions. Apache shall provide

                    EPA and NMED (as to any New Mexico Subject Facilities) with a copy of

                    the Action Plan on the same Day it is submitted to the Verifier;

               b.   Apache shall direct the Verifier to review and comment on the Action Plan.

                    No later than 30 Days after receiving the Action Plan, the Verifier shall


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                     simultaneously send a copy of its comments on the Action Plan to Apache,

                     EPA and NMED (as to New Mexico Subject Facilities); and

                c.   Within 30 Days of receiving the Verifier’s comments, EPA and NMED (as to

                     any New Mexico Subject Facilities) may provide additional comments, if

                     any, to Apache.

       90.      Within 30 Days after receiving comments from the Verifier on the Action Plan,

Apache shall (i) revise the Action Plan to address comments from the Verifier and comments

from EPA and NMED (as to any New Mexico Subject Facilities), if any; (ii) provide a revised

Action Plan to EPA and NMED (as to any New Mexico Subject Facilities); and (iii) implement

the Action Plan in accordance with the requirements and schedules set forth therein unless

otherwise notified in writing by EPA within 30 Days of receiving the revised Action Plan.

       91.      Within 30 Days after implementation of the Action Plan is complete, Apache

shall submit to EPA and NMED (as to any New Mexico Subject Facilities) a Completion Report

explaining how each item in the Action Plan was addressed, and certifying that implementation of

the Action Plan is complete. The Completion Report shall contain a certification in the form

specified in Paragraph 96 of the Consent Decree.

       92.      Confidential Business Information. Apache may assert that any information

required to be provided under this Section is protected as Confidential Business Information

(“CBI”) under 40 C.F.R. Part 2 or 20.2.1.115 NMAC by following the procedures set forth in

those regulatory provisions.




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                                VI.     PERIODIC REPORTING


       93.      Following entry of this Consent Decree, Apache shall submit to the United States

and NMED in accordance with the requirements of Section XIV (Notices), a Semi-Annual Report

on or before June 30 for the reporting period of October through March and on or before

December 31 for the reporting period of April through September. Each Semi-Annual Report

shall contain the following information for the reporting period:

                a.   All records required to be maintained pursuant to Paragraph 13 regarding the

                     Field Surveys performed pursuant to Paragraph 12;

                b.   All records of pressurized liquid sampling performed pursuant to Paragraph

                     19, including but not limited to QA/QC assessments and analytical results;

                c.   All written emissions determinations performed pursuant to Paragraphs 20,

                     21, and 22, along with calculations and supporting documentation (including

                     pressurized liquid sampling and analyses). Such determinations shall include,

                     (1) as to the New Mexico Subject Facilities: the potential emission rate of

                     any regulated air contaminant for which there is a National or New Mexico

                     Ambient Air Quality Standard in accordance with 20.2.72 NMAC

                     (construction permits); the potential emission rate of any regulated air

                     contaminant in accordance with 20.2.73 NMAC (notices of intent); and the

                     potential to emit any regulated air pollutant in accordance with 20.2.70

                     NMAC (operating permits), including the CO, NOx, and VOC emission

                     factors utilized in the calculations; (2) as to the Texas Subject Facilities: the

                     determination of emissions of air contaminants in accordance with 30 TAC,

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           Ch. 106 (PBR) and Ch. 116 (construction permits); and the potential to emit

           any air pollutant in accordance with 30 TAC, Ch. 122 (operating permits);

           (3) the determination of applicability of NSPS OOOO and NSPS OOOOa,

           including the maximum average daily throughput (as defined at 40 C.F.R. §

           60.5430 or § 60.5430a, as applicable) determined for a 30-day period of

           production prior to the applicable emission determination deadline specified

           in 40 C.F.R. § 60.5365(e) or § 60.5365a(e), or the determination that actual

           uncontrolled VOC emissions from a Storage Vessel are less than 4 tpy at the

           time of the emissions calculation and have been maintained at less than 4 tpy

           for a period of at least twelve consecutive months dating back to the Date of

           Lodging or before, as set forth in 40 C.F.R. § 60.5395(d)(2) or

           § 60.5395a(a)(3), as applicable. If any emissions determination took into

           account a legally and practicably enforceable limit in an operating permit or

           other requirement, it shall identify the applicable permit identification

           number and/or regulatory provision setting forth such limit, and the potential

           mass of VOC accounted for in the emissions determination as limited by the

           legally and practicably enforceable limit.

      d.   Any approved modifications to the Design Analysis Methodology;

      e.   All Certification of Completion reports prepared pursuant to Paragraph 34,

           including any updates or modifications to such reports;

      f.   Where any Facility was required to be Shut-In pursuant to Paragraphs 16, 28,

           35, 49 or 53, identify the Facility, the date such operations were required to


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           be Shut-In, the cause of the Shut-In, and the date Production Operations

           resumed;

      g.   Identify all Storage Vessel Systems newly identified pursuant to Paragraph

           60, including the dates by which Apache must comply with Paragraphs 12

           through 56 at such systems.

      h.   The DI/PM Plan prepared pursuant to Paragraph 36 and Appendix F,

           including any updates or modifications to such plan; and

           (1) the date that the annual review of the DI/PM Program was completed; (2)

           a discussion of whether Apache identified any recurring or systemic issues;

           (3) a description of and timing of all modifications, corrective actions, or

           other actions planned to address recurring or systemic issues and (4) a

           summary of any non-material updates or changes to the DI/PM Program or

           any associated SOPs;

      i.   the dates of all IR Camera Inspections undertaken pursuant to this Consent

           Decree and the reasons therefor; and (2) the dates of all AVO inspections

           undertaken pursuant to this Consent Decree;

      j.   Whenever Apache obtains Reliable Information: (1) the date Reliable

           Information was obtained; (2) a description of the Reliable Information; (3)

           identification of the Subject Vapor Control System at issue; (4) the suspected

           cause of the Reliable Information; (5) a description of the corrective actions

           implemented (including identification of any equipment temporarily removed

           from service), (6) the date and time corrective actions were implemented (or

           schedule for implementation of such corrective actions), (7) the date of Shut-
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           in of equipment or Production Operations, if applicable; (8) the date the

           corrective action was verified by an IR Camera Inspection; and (9) a

           summary of the results of that inspection.

      k.   The list of Subject Vapor Control Systems prepared pursuant to Paragraph

           23, including whether each is subject to NSPS OOOO, NSPS OOOOa, the

           New Mexico Permit Programs or the Texas Permit Programs;

      l.   All dates, durations and purpose or suspected cause(s) of Storage Vessel

           Pressure Monitor maintenance, Malfunctions, and any failures;

      m. All dates, durations, and purpose or suspected cause(s) of Valve Position

           Monitor maintenance, Malfunctions, and any failures, pursuant to Paragraph

           42;

      n.   all dates, durations and purpose or suspected cause(s) of Pilot Monitor

           maintenance, Malfunctions, and any failures of the Pilot Monitor, pursuant to

           Paragraph 47;

      o.   All dates, purpose(s) and duration of planned maintenance, pursuant to

           Paragraph 49;

      p.   Whenever Apache completes a Root Cause Analysis: (1) the operation,

           maintenance, or design cause(s) identified in the Root Cause Analysis; and

           (2) a description of the corrective actions implemented, and the date and time

           corrective actions were implemented (or schedule for implementation of such

           corrective actions);

      q.   The Compliance Verification Program Report(s), Action Plan(s) and

           Completion Report(s) prepared pursuant to Paragraphs 86 through 91;
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                r.   A summary of activities undertaken pursuant to Subsection V.N

                     (Environmental Mitigation Projects), the status of Environmental Mitigation

                     Project milestones set forth in Appendix G, and a summary of costs incurred

                     in the implementation of Subsection V.N since the previous Semi-Annual

                     Report; and

                s.   A list of any Storage Vessel Systems for which all associated wells have

                     been Plugged and Abandoned, as set forth in Paragraph 57, together with an

                     identification of the associated wells that have been Plugged and Abandoned

                     and the date thereof.

       94.      The Semi-Annual Report shall also include a description of any non-compliance

with the requirements of this Consent Decree and an explanation of the violation’s likely cause

and of the remedial steps taken, or to be taken, to prevent or minimize such violation. If Apache

violates, or has reason to believe that it may violate, any requirement of this Consent Decree with

an associated stipulated penalty, Apache shall notify the United States, EPA, and NMED (as to

New Mexico Subject Facilities) in accordance with the requirements of Section XIV (Notices) of

such violation and its likely duration, in writing, within 10 Days of the Day Apache first becomes

aware of the violation or potential violation, with an explanation of the violation’s likely cause

and of the remedial steps taken, or to be taken, to prevent or minimize such violation. If the cause

of a violation cannot be fully explained at the time the report is due, Apache shall so state in the

report. Apache shall investigate the cause of the violation and shall then submit an amendment to

the report, including a full explanation of the cause of the violation, within 30 Days of the day

Apache becomes aware of the cause of the violation. Nothing in this Paragraph or the following

Paragraph relieves Apache of its obligation to provide the notice required by Section IX (Force
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Majeure). If EPA or NMED become aware of any violation of any requirement of this Consent

Decree, they will use best efforts to promptly notify Apache of such violation.

        95.      Whenever any violation of this Consent Decree or of any applicable permits or

any other event affecting Apache’s performance under this Consent Decree may pose an

immediate threat to the public health or welfare or the environment, Apache shall comply with

any applicable federal and state or local laws and, in addition, shall notify EPA and NMED (as to

any New Mexico Subject Facilities) as per Section XIV (Notices) orally or by electronic or

facsimile transmission as soon as possible, but no later than 24 hours after Apache first knew of

the violation or event. This notice requirement is in addition to the requirement to provide notice

of a violation of this Consent Decree set forth in the preceding Paragraph.

        96.      Certification Statement. Each report submitted by Apache under this Section, and

each Certification of Completion Report submitted pursuant to the requirements of Paragraphs 34,

35, 53, or 91, shall be signed by an official of the submitting party and include the following

certification:

        I certify under penalty of law that this document and all attachments were prepared under
        my direction or supervision in accordance with a system designed to assure that qualified
        personnel properly gather and evaluate the information submitted. Based on my inquiry of
        the person or persons who manage the system, or those persons directly responsible for
        gathering the information, the information submitted is, to the best of my knowledge and
        belief, true, accurate, and complete. I am aware that there are significant penalties for
        submitting false information, including the possibility of fine and imprisonment for
        knowing violations.

        97.      This certification requirement does not apply to emergency notifications where

compliance would be impractical.




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       98.      The reporting requirements of this Consent Decree do not relieve Apache of any

reporting obligations required by the Act, or implementing regulations, or by any other federal,

state, or local law, regulation, permit, or other requirement.

       99.      Any information provided pursuant to this Consent Decree may be used by the

United States or NMED in any proceeding to enforce the provisions of this Decree and as

otherwise permitted by law.


                            VII.    APPROVAL OF DELIVERABLES


       100.     After review of any plan, report, or other item that is required to be submitted for

EPA’s approval pursuant to this Consent Decree, EPA will, after consultation with NMED (as to

any New Mexico Subject Facilities), in writing: (a) approve the submission; (b) approve the

submission upon specified conditions; (c) approve part of the submission and disapprove the

remainder; or (d) disapprove the submission.

       101.     If the submission is approved pursuant to Paragraph 100(a), Apache shall take all

actions required by the plan, report, or other document, in accordance with the schedules and

requirements of the plan, report, or other document, as approved. If the submission is

conditionally approved or approved only in part pursuant to Paragraph 100(b) or (c), Apache

shall, upon written direction from the EPA (after consulting with NMED), take all actions

required by the approved plan, report, or other item that EPA determines are technically severable

from any disapproved portions, subject to Apache’s right to dispute only the specified conditions

or the disapproved portions, under Section X (Dispute Resolution).

       102.     If the submission is disapproved in whole or in part pursuant to Paragraph 100(c)

or (d), Apache shall, within 45 Days or such other time as the Parties agree to in writing, correct
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all deficiencies and resubmit the plan, report, or other item, or disapproved portion thereof, for

approval, in accordance with the preceding Paragraphs. If the resubmission is approved in whole

or in part, Apache shall proceed in accordance with the preceding Paragraph.

       103.     If a resubmitted plan, report, or other item, or portion thereof, is disapproved in

whole or in part, EPA after consulting with NMED (as to any New Mexico Subject Facilities)

may again require Apache to correct any deficiencies, in accordance with the preceding

Paragraphs, subject to Apache’s right to invoke Dispute Resolution and the right of EPA or

NMED (as to any New Mexico Subject Facilities) to seek stipulated penalties as provided in

Section VIII (Stipulated Penalties).

       104.     If Apache elects to invoke Dispute Resolution as set forth in Paragraphs 101 or

103, Apache shall do so by sending a Notice of Dispute in accordance with Paragraph 121 within

30 Days (or such other time as the Parties agree to in writing) after receipt of the applicable

decision.

       105.     Any stipulated penalties applicable to the original submission, as provided in

Section VIII (Stipulated Penalties), accrue during the 45 Day period or other specified period, but

shall not be payable unless the resubmission is untimely or is disapproved in whole or in part;

provided that, if the original submission was so deficient as to constitute a material breach of

Apache’s obligations under this Consent Decree, the stipulated penalties applicable to the original

submission shall be due and payable notwithstanding any subsequent resubmission.


                               VIII. STIPULATED PENALTIES


       106.     Apache shall be liable for stipulated penalties to the United States for violations

of this Consent Decree, and to the United States and NMED for violations of this Consent Decree
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with respect to the New Mexico Subject Facilities, as specified below, unless excused under

Section IX (Force Majeure), or reduced or waived by the United States or NMED (if applicable)

pursuant to Paragraph 110 of the Consent Decree. A violation includes failing to perform any

obligation required by the terms of this Consent Decree, including any work plan approved under

this Consent Decree, according to all applicable requirements of this Consent Decree and within

the specified time schedules established by or approved under this Consent Decree.




                        Violation                                   Penalty per Facility
                                                                   unless otherwise noted

  (a) Failure to perform any of the requirements of the       $550 per Day for the first 30 Days
  Battery Pad Field Survey as specified in Paragraphs 12      and $2,750 per Day thereafter
  through 15.



  (b) Following any observation by Apache, during the         $1,000 per Day for the first 30 Days
  Field Survey required by Paragraph 12, of Compromised       and $5,000 per Day thereafter
  Equipment, evidence of significant staining emanating
  from pressure relief valves, or any equipment in need of
  repair or replacement, the failure to take corrective
  action or, within 5 Days of such observation, Shut-In all
  Production Operations, as specified in Paragraph 16.

  (c) Failure to collect and analyze Pressurized Liquids      $550 per Day for the first 30 Days
  samples, as specified in Paragraph 19.                      and $2,750 per Day thereafter




  (d) Failure to prepare an Engineering Evaluation for        $1,000 per Day for the first 30 Days
  each Subject Vapor Control System, as specified in          and $5,000 per Day thereafter
  Paragraph 25.



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(e) Failure to Shut-In Production Operations as required   $1,500 per Day for the first 30 Days
in Paragraph 28.                                           and $7,500 per Day thereafter




(f) Resuming operations for greater than five Calendar     $1,000 per Day for the first 30 Days
Days in violation of Paragraph 29 or 54.                   and $5,000 per Day thereafter




(g) Failure to verify that each Subject Vapor Control      $550 per Day for the first 30 Days
System is adequately designed by conducting an IR          and $3,300 per Day thereafter
Camera Inspection, as specified in Paragraph 30.



(h) Failure to submit to EPA and NMED a Certification      $550 per Day for the first 30 Days
of Completion Report as specified in Paragraph 34.         and $3,300 per Day thereafter




(i) Failure to revise an Engineering Evaluation,           $550 per Day for the first 30 Days
implement the necessary modifications, verify              and $3,300 per Day thereafter
effectiveness with an IR Camera Inspection, or submit
an updated Certification of Completion Report, as
required by Paragraph 35.

(j) Failure to submit a SOP as required under the DI/PM    $550 per Day for the first 30 Days
Program Requirements, Appendix F.                          and $2,750 per Day thereafter




(k) Failure to comply with any of the requirements of      $550 per Day for the first 30 Days
the DI/PM Program Requirements, as required by             and $2,750 per Day thereafter
Paragraph 36.



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 (l) Failure to comply with any of the requirements           $550 per Day for the first 30 Days
  pertaining to Storage Vessel Pressure Monitoring set        and $2,750 per Day thereafter
  forth in Paragraphs 37 through 39.



 (m) Failure to comply with any of the requirements           $550 per Day for the first 30 Days
 pertaining to Pressure Control Valve Installation and        and $2,750 per Day thereafter
 Monitoring set forth in Paragraphs 40 through 43.



 (n) Failure to comply with any of the requirements           $550 per Day for the first 30 Days
 pertaining to VRU Availability, Bypass and Control           and $2,750 per Day thereafter
 Device Monitoring set forth in Paragraphs 44 through 48



. (o) Failure to complete all necessary corrective actions    $1,500 per Day for the first 30 Days
  or temporarily Shut-In the Vapor Control System within      and $7,500 per Day thereafter
  five Days after obtaining Reliable Information, as
  required in Paragraph 49.


 (p) Failure to record and report the cause and duration of   $2,750 per Storage Vessel System
 maintenance where the cause of Reliable Information is       per failure
 planned maintenance as required in Paragraph 49.



 (q) Failure to take corrective action following any          $1,500 per Day for the first 30 Days
 observation of an improperly open bypass device, thief       and $7,500 per Day thereafter
 hatch, PRV or open-ended line as required by Paragraph
 50.


 (r) Failure to conduct a Root Cause Analysis as required     $1,500 per Day for the first 30 Days
 by Paragraph 51.                                             and $7,500 per Day thereafter




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(s) Failure to comply with any of the requirements           $1,500 per Day for the first 30 Days
applicable to a Subject Vapor Control System, as             and $7,500 per Day thereafter
required in Paragraphs 52 and 53.



(t) Failure to comply with the requirements applicable to    $1,500 per Day for the first 30 Days
a Storage Vessel, as required by Paragraph 55.               and $7,500 per Day thereafter




(u) Failure to submit a registration or permit application   $550 per Day for the first 30 Days
for a Facility, as required by Paragraph 55 or 56.           and $3,300 per Day thereafter




(v) Failure to comply with any of the requirements for a     $550 per Day for the first 30 Days
Newly Identified Storage Vessel System as required in        and $2,750 per Day thereafter
Paragraph 60.



(w) Failure to implement Environmental Mitigation            $550 per Day for the first 30 Days
Project(s) as required by Paragraph 62 and Appendix G.       and $3,300 per Day thereafter




(x) Failure to comply with any of the reporting              $550 per Day for the first 30 Days
requirements as set forth in Paragraphs 93 through 96.       and $2,750 per Day thereafter




(y) Failure by Apache to comply with any of the              $550 per Day for the first 30 Days
requirements pertaining to the Third-Party Verification      and $3,300 per Day thereafter
Program set forth in Paragraphs 71 through 91.




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  (z) Violation of any other requirement of this Consent        $1,000 per Day per violation
  Decree.




       107.     Late Payment of Civil Penalty. If Apache fails to pay the civil penalty required to

be paid under Section IV (Civil Penalty) when due, Apache shall pay a stipulated penalty of

$2,000 per Day for each Day that the payment is late to the United States or NMED.

       108.     Stipulated penalties under this Section shall begin to accrue on the day after

performance is due or on the Day a violation occurs, whichever is applicable, and shall continue

to accrue until performance is satisfactorily completed or until the violation ceases. Stipulated

penalties shall accrue simultaneously for separate violations of this Consent Decree. The United

States or NMED, or both of the foregoing, after consultation with the other Plaintiff, may seek

stipulated penalties under this Section with respect to violations involving the New Mexico

Subject Facilities. The United States alone may seek stipulated penalties with respect to violations

involving the Texas Subject Facilities. The Plaintiff making a demand for payment of a stipulated

penalty shall simultaneously send a copy of the demand to the other Plaintiff.

       109.     Apache shall pay stipulated penalties to the United States or NMED within 30

Days of a written demand by the United States or NMED. Where both the United States and

NMED seek stipulated penalties for the same violation of this Consent Decree, Apache shall pay

50 percent to the United States and 50 percent to NMED.

       110.     The United States or NMED may, in the unreviewable exercise of their discretion,

reduce or waive stipulated penalties otherwise due them under this Consent Decree.


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       111.      Stipulated penalties shall continue to accrue as provided in Paragraph 106, during

any Dispute Resolution, but need not be paid until the following:

                a.   If the dispute is resolved by agreement or by a decision of EPA or NMED

                     that is not appealed to the Court, Apache shall pay accrued penalties

                     determined to be owing, together with interest, to the United States or NMED

                     within 30 Days of the effective date of the agreement or the receipt of the

                     EPA’s or NMED’s decision or order;

                b.   If the dispute is appealed to the Court and the United States or NMED

                     prevails in whole or in part, Apache shall pay all accrued penalties

                     determined by the Court to be owing, together with interest, within 60 Days

                     of receiving the Court’s decision or order, except as provided in

                     Subparagraph c, below;

                c.   If any Party appeals the district court’s decision, Apache shall pay all accrued

                     penalties determined to be owing, together with interest, within 15 Days of

                     receiving the final appellate court decision.

       112.     If Apache fails to pay stipulated penalties according to the terms of this Consent

Decree, Apache shall be liable for interest on such penalties, as provided for in 28 U.S.C. § 1961,

accruing as of the date payment became due. Nothing in this Paragraph shall be construed to limit

the United States or NMED from seeking any remedy otherwise provided by law for Apache’s

failure to pay any stipulated penalties.

       113.     Apache shall pay stipulated penalties owing to the United States and NMED in

the manner set forth in and with the confirmation notices required by Section IV (Civil Penalty)


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except that the transmittal letter shall state that the payment is for stipulated penalties and shall

state for which violation(s) the penalties are being paid.

        114.     Stipulated penalties are not the United States’ or NMED’s exclusive remedy for

violations of this Consent Decree. Subject to the provisions of Section XII (Effect of

Settlement/Reservation of Rights), the United States and NMED expressly reserve the right to

seek any other relief they deem appropriate for Apache’s violation of this Consent Decree or

applicable law, including but not limited to an action against Apache for statutory penalties,

additional injunctive relief, mitigation or offset measures, and/or contempt. However, the amount

of any statutory penalty assessed for a violation of this Consent Decree shall be reduced by an

amount equal to the amount of any stipulated penalty assessed and paid pursuant to this Consent

Decree.


                                     IX.     FORCE MAJEURE


        115.     “Force Majeure,” for purposes of this Consent Decree, is defined as any event

arising from causes beyond the control of Apache, of any entity controlled by Apache, or of

Apache’s contractors, that delays or prevents the performance of any obligation under this

Consent Decree despite Apache’s best efforts to fulfill the obligation. The requirement that

Apache exercise “best efforts to fulfill the obligation” includes using best efforts to anticipate any

potential Force Majeure event and best efforts to address the effects of any potential Force

Majeure event (a) as it is occurring and (b) following the potential Force Majeure, such that the

delay and any adverse effects of the delay are minimized. “Force Majeure” does not include

Apache’s financial inability to perform any obligation under this Consent Decree.


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       116.     If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, whether or not caused by a Force Majeure event, Apache

shall provide notice to EPA, by email to Williams.Christopher@epa.gov, and to NMED (for any

events at New Mexico Subject Facilities) pursuant to Section XIV (Notices), within 72 hours of

when Apache first knew that the event might cause a delay. Within 7 Business Days after the

initial notice, Apache shall provide in writing to EPA and NMED (for any events at New Mexico

Subject Facilities) an explanation and description of the reasons for the delay; the anticipated

duration of the delay; all actions taken or to be taken to prevent or minimize the delay; a schedule

for implementation of any measures to be taken to prevent or mitigate the delay or the effect of

the delay; Apache’s rationale for attributing such delay to a Force Majeure event if it intends to

assert such a claim; and a statement as to whether, in the opinion of Apache, such event may

cause or contribute to an endangerment to public health, welfare or the environment. Apache shall

include with any notice all available documentation supporting the claim that the delay was

attributable to a Force Majeure. Failure to comply with the above requirements shall preclude

Apache from asserting any claim of Force Majeure for that event for the period of time of such

failure to comply, and for any additional delay caused by such failure. Apache shall be deemed to

know of any circumstance of which Apache, any entity controlled by Apache, or Apache’s

contractors knew or should have known.

       117.     If EPA, after a reasonable opportunity for review and comment by NMED (for

any events at New Mexico Subject Facilities), agrees that the delay or anticipated delay is

attributable to a Force Majeure event, the time for performance of the obligations under this

Consent Decree that are affected by the Force Majeure event will be extended by EPA, after a

reasonable opportunity for review and comment by NMED (for any events at New Mexico
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Subject Facilities), for such time as is necessary to complete those obligations. An extension of

the time for performance of the obligations affected by the Force Majeure event shall not, of

itself, extend the time for performance of any other obligation. EPA will notify Apache in writing

of the length of the extension, if any, for performance of the obligations affected by the Force

Majeure event.

       118.      If EPA, after a reasonable opportunity for review and comment by NMED (for

any events at New Mexico Subject Facilities), does not agree that the delay or anticipated delay

has been or will be caused by a Force Majeure event, EPA will notify Apache in writing of its

decision.

       119.      If Apache elects to invoke the Dispute Resolution procedures set forth in

Section X relative to a claim of Force Majeure, it shall do so no later than 30 Days after receipt of

EPA’s notice pursuant to the preceding Paragraph. In any such proceeding, Apache shall have the

burden of demonstrating by a preponderance of the evidence that the delay or anticipated delay

has been or will be caused by a Force Majeure event, that the duration of the delay or the

extension sought was or will be warranted under the circumstances, that best efforts were

exercised to avoid and mitigate the effects of the delay, and that Apache complied with the

requirements of Paragraphs 115 and 116. If Apache carries this burden, the delay at issue shall be

deemed not to be a violation by Apache of the affected obligation of this Consent Decree

identified to EPA and NMED (for any events at a New Mexico Subject Facility) and the Court.




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                                 X.     DISPUTE RESOLUTION


       120.     Unless otherwise expressly provided for in this Consent Decree, the Dispute

Resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

under or with respect to this Consent Decree.

       121.     Informal Dispute Resolution. Any dispute subject to Dispute Resolution under

this Consent Decree shall first be the subject of informal negotiations. The dispute shall be

considered to have arisen when Apache sends DOJ, EPA and NMED (for disputes concerning

New Mexico Subject Facilities) a written Notice of Dispute. Such Notice of Dispute shall state

clearly the matter in dispute. The period of informal negotiations shall not exceed 30 Days from

the date the dispute arises, unless that period is modified by written agreement. If the Parties

cannot resolve a dispute by informal negotiations, then the position advanced by the United States

(after consultation with NMED for any disputes concerning New Mexico Subject Facilities) shall

be considered binding unless, within 30 Days after the conclusion of the informal negotiation

period, Apache invokes formal Dispute Resolution procedures as set forth below.

       122.     Formal Dispute Resolution. Apache shall invoke formal Dispute Resolution

procedures, within the time period provided in the preceding Paragraph, by sending DOJ, EPA

and NMED (for any disputes concerning New Mexico Subject Facilities) a written Statement of

Position regarding the matter in dispute. The Statement of Position shall include, but need not be

limited to, any factual data, analysis, or opinion supporting Apache’s position and any supporting

documentation relied upon by Apache.

       123.     The United States, after consultation with NMED (for any disputes concerning

New Mexico Subject Facilities), will send Apache its Statement of Position within 45 Days of

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receipt of Apache’s Statement of Position. The United States’ Statement of Position shall include,

but need not be limited to, any factual data, analysis, or opinion supporting that position and any

supporting documentation relied upon by the United States. The United States’ Statement of

Position is binding on Apache, unless Apache files a motion for judicial review of the dispute in

accordance with the following Paragraph.

       124.     Judicial Dispute Resolution. Apache may seek judicial review of the dispute by

filing with the Court and serving on the United States and NMED (for any disputes concerning

New Mexico Subject Facilities) a motion requesting judicial resolution of the dispute. The motion

must be filed within 14 Days of receipt of the United States’ Statement of Position pursuant to the

preceding Paragraph. The motion shall contain a written statement of Apache’s position on the

matter in dispute, including any supporting factual data, analysis, opinion, or documentation, and

shall set forth the relief requested and any schedule within which the dispute must be resolved for

orderly implementation of this Consent Decree.

       125.     The United States shall, after consultation with NMED (for any disputes

concerning New Mexico Subject Facilities), respond to Apache’s motion within the time period

allowed by the Local Rules of this Court. Apache may file a reply memorandum, to the extent

permitted by the Local Rules.

       126.     Disputes Concerning Matters Accorded Record Review. Except as otherwise

provided in this Consent Decree, in any dispute brought under Paragraph 122 pertaining to the

adequacy or appropriateness of plans, procedures to implement plans, schedules or any other

items requiring approval by EPA under this Consent Decree; the adequacy of the performance of

work undertaken pursuant to this Consent Decree; and all other disputes that are accorded review

on the administrative record under applicable principles of administrative law, Apache shall have
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the burden of demonstrating, based on the administrative record, that the position of the United

States is arbitrary and capricious or otherwise not in accordance with law. For purposes of

judicial review under this Paragraph the administrative record shall include all documents

exchanged by the Parties during the Dispute Resolution process under Paragraphs 121 through

123, including but not limited to all Statements of Position and supporting factual data, analysis,

opinion and other documentation.

        127.       Other Disputes. Except as otherwise provided in this Consent Decree, in any other

dispute brought under Paragraph 122, Apache shall bear the burden of demonstrating that its

position complies with this Consent Decree and better furthers the objectives of the Consent

Decree.

        128.       The invocation of Dispute Resolution procedures under this Section shall not, by

itself, extend, postpone, or affect in any way any obligation of Apache under this Consent Decree,

unless and until final resolution of the dispute so provides. Stipulated penalties with respect to the

disputed matter shall continue to accrue from the first Day of noncompliance, but payment shall

be stayed pending resolution of the dispute as provided in Paragraph 111. If Apache does not

prevail on the disputed issue, stipulated penalties shall be assessed and paid as provided in

Section VIII (Stipulated Penalties).


                    XI.    INFORMATION COLLECTION AND RETENTION


        129.       The United States, NMED (as to New Mexico Subject Facilities), and their

representatives, including attorneys, contractors, and consultants, shall have the right of entry into

any Facility covered by this Consent Decree, at all reasonable times, upon presentation of

credentials, to:
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                a.   monitor the progress of activities required under this Consent Decree;

                b.   verify any data or information submitted to the United States or NMED in

                     accordance with the terms of this Consent Decree;

                c.   obtain samples and, upon request, splits of any samples taken by Apache or

                     its representatives, contractors, or consultants;

                d.   obtain documentary evidence, including photographs and similar data; and

                e.   assess Apache’s compliance with this Consent Decree.

       130.     Upon request made prior to or during the sampling event, Apache shall provide

EPA and NMED (as to any New Mexico Subject Facilities) or their authorized representatives

splits of any samples taken by Apache. Upon request made prior to or during the sampling event,

EPA and NMED shall provide Apache splits of any samples taken by EPA or NMED.

       131.     Until five years after the termination of this Consent Decree, Apache shall retain,

and shall instruct its contractors and agents to preserve, all non-identical copies of all documents,

records, or other information (including documents, records, or other information in electronic

form, but excluding raw monitoring data) in its or its contractors’ or agents’ possession or control,

or that come into its or its contractors’ or agents’ possession or control, and that relate in any

manner to Apache’s performance of its obligations under this Consent Decree. This information-

retention requirement shall apply regardless of any contrary corporate or institutional policies or

procedures. At any time during this information-retention period, upon request by the United

States or NMED (as to any New Mexico Subject Facilities), Apache shall provide copies of any

documents, records, or other information required to be maintained under this Paragraph.

       132.     At the conclusion of the information-retention period provided in the preceding

Paragraph, Apache shall notify the United States and NMED (as to any New Mexico Subject
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Facilities) at least 90 Days prior to the destruction of any documents, records, or other

information subject to the requirements of the preceding Paragraph and, upon request by the

United States or NMED (as to any New Mexico Subject Facilities), Apache shall deliver any such

documents, records, or other information to EPA or NMED. Apache may assert that certain

documents, records, or other information is privileged under the attorney-client privilege or any

other privilege recognized by federal law. If Apache asserts such a privilege, it shall provide the

following: (a) the title of the document, record, or information; (b) the date of the document,

record, or information; (c) the name and title of each author of the document, record, or

information; (d) the name and title of each addressee and recipient; (e) a description of the subject

of the document, record, or information; and (f) the privilege asserted by Apache. However, no

documents, records, or other information created or generated pursuant to the requirements of this

Consent Decree shall be withheld on grounds of privilege.

       133.     Apache may also assert that information required to be provided under this

Section is protected as Confidential Business Information (“CBI”) under 40 C.F.R. Part 2 and, if

applicable, 20.2.1.115 NMAC. As to any information that Apache seeks to protect as CBI,

Apache shall follow the procedures set forth in 40 C.F.R. Part 2 or 20.2.1.115 NMAC.

       134.     This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States or NMED pursuant to applicable

federal or state laws, regulations, or permits, nor does it limit or affect any duty or obligation of

Apache to maintain documents, records, or other information imposed by applicable federal or

state laws, regulations, or permits.




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              XII.   EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS


       135.     This Consent Decree resolves the civil claims of the United States and NMED for

alleged violations of the following provisions of federal and state law through the Date of

Lodging at the Facilities listed in Appendix A:

                a.   42 U.S.C. § 7661a;

                b.   40 C.F.R. §§ 60.5365 and 60.5365a;

                c.   40 C.F.R. §§ 60.5370 and 60.5370a;

                d.   40 C.F.R. §§ 60.5395 and 60.5395a;

                e.   40 C.F.R. §§ 60.5410 and 60.5410a;

                f.   40 C.F.R. §§ 60.5411 and 60.5411a;

                g.   40 C.F.R. §§ 60.5412 and 60.5412a;

                h.   40 C.F.R. §§ 60.5415 and 60.5415a;

                i.   40 C.F.R. §§ 60.5416 and 60.5416a;

                j.   40 C.F.R. §§ 60.5417 and 60.5417a;

                k.   40 C.F.R. §§ 60.5420 and 60.5420a;

                l.   40 C.F.R. § 60.18;

                m. 20.2.7.14, 20.2.7.15, 20.2.7.109, 20.2.7.110, 20.2.7.114, and 20.2.7.116

                     NMAC;

                n.   20.2.38.112 NMAC;

                o.   20.2.61.109 NMAC;

                p.   20.2.70.200, 20.2.70.201, and 20.2.70.300 NMAC;

                q.   20.2.71.110 and 20.2.71.13 NMAC;

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                r.   20.2.72.200, 20.2.72.213 and 20.2.72.119 NMAC;

                s.   20.2.73.200 and 20.2.73.300 NMAC;

                t.   20.2.74.200 NMAC;

                u.   20.2.75.10 and 20.2.75.11 NMAC;

                v.   20.2.77.9 NMAC (as to adoption of the provisions of 40 C.F.R. part 60 that

                     are referenced in Paragraph 135 (b) through (l));

                w. 30 TAC § 106.4;

                x.   30 TAC § 106.6;

                y.   30 TAC § 106.352;

                z.   30 TAC § 106.492;

                aa. 30 TAC § 116.110;

                bb. 30 TAC § 116.111;

                cc. 30 TAC § 116.160; and

                dd. 30 TAC § 121.121.

       136.     The United States and NMED reserve all legal and equitable remedies available to

enforce the provisions of this Consent Decree. This Consent Decree shall not be construed to limit

the rights of the United States or NMED to obtain penalties or injunctive relief under the Act or

implementing regulations, or under other federal or state laws, regulations, or permit conditions,

except as expressly specified in Paragraph 135. The United States and NMED further reserve all

legal and equitable remedies to address any imminent and substantial endangerment to the public

health or welfare or the environment arising at, or posed by, any of Apache’s facilities, whether

related to the violations addressed in this Consent Decree or otherwise.


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        137.     In any subsequent administrative or judicial proceeding initiated by the United

States or NMED for injunctive relief, civil penalties, other appropriate relief relating to any of

Apache’s Facilities listed in Appendix A, Apache shall not assert, and may not maintain, any

defense or claim based upon the principles of waiver, res judicata, collateral estoppel, issue

preclusion, claim preclusion, claim-splitting, or other defenses based upon any contention that the

claims raised by the United States or NMED in the subsequent proceeding were or should have

been brought in the instant case, except with respect to claims that have been specifically resolved

pursuant to Paragraph 135.

        138.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, State, or local laws or regulations. Apache is responsible for achieving and maintaining

complete compliance with all applicable federal, State, and local laws, regulations, and permits;

and Apache’s compliance with this Consent Decree shall be no defense to any action commenced

pursuant to any such laws, regulations, or permits, except as set forth herein. The United States

and NMED do not, by their consent to the entry of this Consent Decree, warrant or aver in any

manner that Apache’s compliance with any aspect of this Consent Decree will result in

compliance with provisions of the Act, 42 U.S.C. § 7401 et seq., or with any other provisions of

federal, State, or local laws, regulations, or permits.

        139.     This Consent Decree does not limit or affect the rights of any of the Parties

against any third parties, not party to this Consent Decree, nor does it limit the rights of third

parties, not party to this Consent Decree, against Apache, except as otherwise provided by law.

        140.     This Consent Decree shall not be construed to create rights in, or grant any cause

of action to, any third party not party to this Consent Decree.


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                                           XIII. COSTS


       141.     The Parties shall bear their own costs of this action, including attorneys’ fees,

except that the United States and NMED shall be entitled to collect the costs (including attorneys’

fees) incurred in any action necessary to collect any portion of the civil penalty or any stipulated

penalties due but not paid by Apache.


                                         XIV. NOTICES


       142.     Unless otherwise specified in this Consent Decree, materials shall be

accompanied by a cover letter identifying the number of files or attachments (to enable the

recipient to confirm the completeness of the submittal) and submitted electronically as described

below, unless such notices are unable to be uploaded to the CDX electronic system (in the case of

EPA) or transmitted by email (in the case of all Parties). For all notices to EPA, Apache shall

register for the CDX electronic system and upload the notice at https://cdx.epa.gov/epa_home.asp.

Any notice that cannot be uploaded to CDX or transmitted via email shall be submitted via

overnight mail (and if any attachment is voluminous, it shall be provided on a disk, hard drive, or

other equivalent successor technology) to the addresses below. As to the United States: submit

materials to DOJ at the email or, if necessary, the mail address below. As to EPA: submit

materials via CDX, email or, if necessary, the mail address below if CDX or email is not

possible).

As to DOJ by email (preferred):                eescdcopy.enrd@usdoj.gov
                                               Re: DJ # 90-5-2-1-12523

As to DOJ by mail:                             EES Case Management Unit
                                               Environment and Natural Resources Division
                                               U.S. Department of Justice
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                                              P.O. Box 7611
                                              Washington, D.C. 20044-7611
                                              Re: DJ # 90-5-2-1-12523

As to DOJ by overnight mail:                  4 Constitution Square
                                              150 M Street, N. E.
                                              Suite 2.900
                                              Washington, D.C. 20002
                                              Re: DJ # 90-5-2-1-12523

As to EPA by email (preferred):               AED_Oil_Gas_CD@epa.gov

As to EPA by mail:                            Director, Air Enforcement Division
                                              1200 Pennsylvania Avenue NW
                                              William J Clinton South Building
                                              MC 2242A
                                              Washington, D.C. 20460

As to EPA by telephone:                       202-564-7889

As to NMED by email (preferred):              ENV-AQB.Settlement.Notifications@state.nm.us

As to NMED by mail:                           Air Quality Bureau
                                              Attn: Compliance & Enforcement Section Chief
                                              525 Camino de los Marquez, Suite 1
                                              Santa Fe, NM 87505

As to Apache:                                 Apache Corporation
                                              ATTN: Vice President—Environment, Health &
                                              Safety


                                              Before April 15, 2024:
                                              2000 Post Oak Blvd., Ste. 100
                                              Houston, TX 77056


                                              After April 15, 2024:
                                              2000 W. Sam Houston Pkwy S.
                                              Houston, TX 77042


       143.     Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided above.
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       144.     Notices submitted pursuant to this Section shall be deemed submitted upon

mailing or transmission by email, unless otherwise provided in this Consent Decree or by mutual

agreement of the Parties in writing.


                      XV.     SALES OR TRANSFERS OF OPERATIONS


        145.    Apache may sell its ownership interest in, or transfer operation of, a well

associated with a Facility to a third party (“transferee”) without the consent of Plaintiffs,

provided that Apache shall notify EPA and, as to such a well in New Mexico, NMED, in writing

within 30 Days of the sale or transfer of operation of a well.

       146.     Apache may sell or transfer operation of any Facility to a third party without the

consent of the Plaintiffs, provided that Apache shall first, at least 30 Days prior to the sale or

transfer: (a) notify the United States and, as to Facilities in New Mexico, NMED, of the proposed

sale or transfer and of the specific Consent Decree provisions that Apache proposes the transferee

assume; (b) submit a statement to the United States and, as to Facilities in New Mexico, to

NMED, certifying that the transferee is contractually bound to assume the obligations and

liabilities of this Consent Decree as to the Facility proposed to be sold or transferred; and

(c) submit a statement with a certification, substantially in the form as shown in paragraph 96,

from the transferee describing how the transferee has both the financial and technical ability to

assume the obligations and liabilities of this Consent Decree.

       147.     Notwithstanding any other provision of this Consent Decree, no sale of a Facility

or transfer of the operation of a Facility to a third party shall relieve Apache of its obligations to

ensure that the terms of this Consent Decree are implemented at that Facility unless and until the

Court has approved a modification pursuant to Section XVIII (Modification) of this Consent
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Decree, substituting the third party as a party to this Consent Decree with respect to the Facility.

The modification shall make the third party a party to this Consent Decree and shall establish, as

between Apache and the third party, their respective responsibilities for compliance with

requirements of this Consent Decree that may be applicable to the Facility.

       148.     No earlier than 30 Days after giving notice of a proposed sale of a Facility or

transfer of operatorship of a Facility pursuant to Paragraph 146, Apache may file a motion with

the Court to modify this Consent Decree in accordance with Section XVIII (Modification) to

make the terms and conditions of this Consent Decree specifically relating to the sold or

transferred Facility applicable to the transferee. Upon the effective date of such modification of

the Consent Decree, Apache shall be released from the specific obligations and liabilities of this

Consent Decree relating to the sold or transferred Facility unless the United States opposes the

motion and the Court finds that the transferee does not have the financial and technical ability to

assume the obligations and liabilities under this Consent Decree.

       149.     Notwithstanding any other provision of this Consent Decree, Apache may not be

released from any obligation under this Consent Decree that is not specific to the sold or

transferred Facility that is subject to a Consent Decree modification as described in paragraph

148, including the obligations set forth in Subsection V.N and Appendix G (Environmental

Mitigation Project) and Section IV (Civil Penalty).


                                    XVI. EFFECTIVE DATE


       150.     The Effective Date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court or a motion to enter the Consent Decree is granted,

whichever occurs first, as recorded on the Court’s docket.
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                           XVII. RETENTION OF JURISDICTION


       151.     The Court shall retain jurisdiction over this case until termination of this Consent

Decree, for the purpose of resolving disputes arising under this Consent Decree or entering orders

modifying this Consent Decree, pursuant to Sections X (Dispute Resolution) and XVIII

(Modification), or effectuating or enforcing compliance with the terms of this Consent Decree.


                                    XVIII. MODIFICATION


       152.     The terms of this Consent Decree, including any attached appendices, may be

modified only by a subsequent written agreement signed by all the Parties. Where the

modification constitutes a material change to this Consent Decree, it shall be effective only upon

approval by the Court. Non-material modifications to this Consent Decree shall be effective when

signed in writing by the Parties.

       153.     Any disputes concerning modification of this Consent Decree shall be resolved

pursuant to Section X (Dispute Resolution), provided, however, that, instead of the burden of

proof provided by Paragraphs 126 or 127, the Party seeking the modification bears the burden of

demonstrating that it is entitled to the requested modification in accordance with Federal Rule of

Civil Procedure 60(b).


                                     XIX. TERMINATION


       154.     After Apache has (a) completed the requirements of Paragraphs 12 through 35 for

each of the Battery Pads listed in Appendix A, (b) has thereafter maintained continuous

satisfactory compliance with this Consent Decree for a period of three years at all Subject Vapor


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Control Systems (except that such three-year requirement shall not apply at those Newly

Identified Storage Vessel Systems pursuant to Paragraph 60), (c) has complied with all other

requirements of this Consent Decree, and (d) has paid the civil penalty and any accrued stipulated

penalties as required by this Consent Decree, Apache may serve upon the Plaintiffs a request for

termination, stating that Apache has satisfied those requirements, together with all necessary

supporting documentation.

       155.     Partial Termination. Apache may seek consent to terminate the requirements of

this Consent Decree with respect to Facilities listed in Appendix A that are to be transferred to an

unrelated entity and entirely from Apache’ operational control and for which Apache has

completed the requirements of Section V (Compliance Requirements) (except ongoing

requirements such as the requirements to continuously operate Storage Vessel Pressure Monitors,

Valve Position Monitors and Pilot Monitors, pursuant to Paragraphs 37, 42, and 47, respectively,

and to continue implementation of the DI/PM Program required under Paragraph 36) by

submitting requests for partial termination in accordance with this Paragraph.

                a.   Such request for partial termination shall be provided to the United States

                     and NMED (as to New Mexico Subject Facilities) in writing and identify the

                     Facility (or Facilities) to be subject to the partial termination, and for Subject

                     Vapor Control System(s), state the date that a Certification of Completion

                     Report pursuant to Paragraph 34 was submitted for the Subject Vapor

                     Control System(s).

                b.   The United States and NMED (as to New Mexico Subject Facilities) may

                     request additional information regarding the Facility (or Facilities) to verify


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                     that Apache has substantially complied with other requirements of this

                     Consent Decree as to the Facility (or Facilities).

                c.   Until such time as the United States and NMED (as to New Mexico Subject

                     Facilities) consent to Apache’s request for partial termination, Apache’s

                     obligations under this Consent Decree shall remain in effect as to such

                     Facility (or Facilities). Such consent shall not be unreasonably withheld or

                     delayed.

       156.     Apache shall not submit more than three individual requests for partial

termination and may not seek partial termination of greater than 15 percent of the Subject Vapor

Control Systems identified pursuant to Paragraph 23 and greater than 15 percent of the Facilities

associated with Battery Pads listed on Appendix A that are not Subject Vapor Control Systems.

       157.     Following receipt by the United States and NMED of Apache’s request for

termination or partial termination, the Parties shall confer informally concerning the request and

any disagreement that the Parties may have as to whether Apache has satisfactorily complied with

the requirements for termination or partial termination of this Consent Decree. If the United

States, after consultation with NMED, agrees that the Consent Decree may be terminated or

partially terminated, the Parties shall submit, for the Court’s approval, a joint stipulation

terminating or partially terminating the Consent Decree.

       158.     If the United States, after consultation with the NMED, does not agree that the

Consent Decree may be terminated or partially terminated, Apache may invoke Dispute

Resolution under Section X (Dispute Resolution). However, Apache shall not seek Dispute

Resolution of any dispute regarding termination until 90 Days after service of its request for

termination or partial termination.
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                                XX.     PUBLIC PARTICIPATION


       159.     This Consent Decree shall be lodged with the Court for a period of not less than

30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

and NMED reserve the right to withdraw or withhold their consent if the comments regarding this

Consent Decree disclose facts or considerations indicating that the Consent Decree is

inappropriate, improper, or inadequate. Apache consents to entry of this Consent Decree without

further notice and agrees not to withdraw from or oppose entry of this Consent Decree by the

Court or to challenge any provision of this Consent Decree, unless the United States or NMED

has notified Apache in writing that it no longer supports entry of this Consent Decree.


                                 XXI. SIGNATORIES/SERVICE


       160.     Each undersigned representative of Apache and NMED, and the Assistant

Attorney General for the Environment and Natural Resources Division of the Department of

Justice certifies that he or she is fully authorized to enter into the terms and conditions of this

Consent Decree and to execute and legally bind the Party he or she represents to this document.

       161.     This Consent Decree may be signed in counterparts, and its validity shall not be

challenged on that basis. Apache agrees to accept service of process by mail with respect to all

matters arising under or relating to this Consent Decree and to waive the formal service

requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure and any applicable

Local Rules of this Court including, but not limited to, service of a summons. Apache need not

file an answer to the complaint in this action unless or until the Court expressly declines to enter

this Consent Decree.

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                                     XXII. INTEGRATION


       162.     This Consent Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in the Consent Decree

and supersedes all prior agreements and understandings, whether oral or written, concerning the

settlement embodied herein. The Parties acknowledge that there are no representations,

agreements, or understandings relating to the settlement other than those expressly contained in

this Consent Decree.


                                  XXIII. FINAL JUDGMENT


       163.     Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the United States, NMED, and Apache.


               XXIV. 26 U.S.C. SECTION 162(f)(2)(A)(ii) IDENTIFICATION


       164.     For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), performance of the requirements set out in:

(a) Paragraphs 4 (of Section II (Applicability)), 12 through 92 (of Section V (Compliance

Requirements)), 93 through 96 (of Section VI (Periodic Reporting)), and 129 through 132 (of

Section XI (Information Collection and Retention)); and (b) Appendices C, F, G and H is

restitution or required to come into compliance with law.


                                      XXV. APPENDICES


       165.     The following Appendices are attached to and part of this Consent Decree:

Appendix A: Battery Pads in New Mexico and Texas
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Appendix B: Advanced Action Battery Pads in New Mexico and Texas

Appendix C: Sampling and Analysis Plan

Appendix D: Battery Pads with Storage Vessel Systems Subject to 40 C.F.R. § 60.5395(d)(1) or
            40 C.F.R. § 60.5395a(a)(2)

Appendix E: Battery Pads with Storage Vessels Subject to a VRU or Control Device
            Requirement under New Mexico Permit Programs or Texas Permit Programs

Appendix F: DI/PM Program Requirements

Appendix G: Mitigation Project

Appendix H: Verifier Certification



Dated and entered this 10th day of April, 2024




              __________________________________
              UNITED STATES DISTRICT JUDGE




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                                  FOR THE UNITED STATES OF AMERICA:




                                  TODD KIM
                                  Assistant Attorney General
                                  Environment and Natural Resources Division
                                  U.S. Department of Justice
                                                      Digitally signed by NICOLE
                                   NICOLE             VEILLEUX
                                                      Date: 2024.02.12 17:56:52
Date: _________                    VEILLEUX
                                  _______________________________
                                                      -05'00'
                                  NICOLE VEILLEUX
                                  Senior Counsel
                                  Environmental Enforcement Section
                                  Environment and Natural Resources Division
                                  U.S. Department of Justice
                                  Washington, DC 20044-7611




                                            91

Signature Page for United States and NMED v. Apache Corporation
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                                APPENDIX A
                     Battery Pads in New Mexico and Texas


 #   Facility                County         State Latitude     Longitude

GROUP 1

 1   A STATE 40              EDDY           NM     32.80564    -104.14209
 2   BLACK & TAN 27 FED
     COM                     LEA            NM     32.53768    -103.54848
 3   COFFEE FEDERAL          EDDY           NM     32.83753    -103.90978
 4   CROW FED BTY            EDDY           NM     32.85418    -103.87027
 5   EBDU CTB                LEA            NM     32.48986    -103.12979
 6   GHOST RIDER 22-15 FED
     CTB                     LEA            NM     32.2066     -103.66053
 7   HUMMINGBIRD FED COM
     12                      EDDY           NM     32.86713    -103.83112
 8   LEE FED BTY             EDDY           NM     32.82247    -103.89726
 9   LUSK 34 FED             LEA            NM     32.62253    -103.76183
10   NE DRINKARD UNIT
     CTB/SAT 3               LEA            NM     32.48713    -103.14418
11   NFE FED                 EDDY           NM     32.84257    -103.88661
12   NMGSAU CTB              LEA            NM     32.634167   -103.291667
13   OUTLAW STATE            EDDY           NM     32.8007     -104.1922
14   PALMILLO 0310           EDDY           NM     32.68331    -104.16117
15   PALMILLO 14             EDDY           NM     32.65932    -104.15521
16   PALMILLO 14-15          EDDY           NM     32.66277    -104.15522
17   PALMILLO 21             EDDY           NM     32.64968    -104.18857
18   PALMILLO 26             EDDY           NM     32.63359    -104.13953
19   RAVEN FEDERAL           EDDY           NM     32.84503    -103.91039
20   SALT FORK 3-4 FED COM   EDDY           NM     32.68735    -103.96086
21   THUNDERBIRD A           EDDY           NM     32.8756     -103.96989
22   TONY FEDERAL            EDDY           NM     32.8308     -103.9121
23   WARREN UNIT No. 1 BTY   LEA            NM     32.53022    -103.14688
24   WASHINGTON 33 ST #56
     CTB                     EDDY           NM     32.78787    -104.1821
25   WBDU SAT 4 / WBDU CTB   LEA            NM     32.48483    -103.17281
26   ALDWELL 0544            REAGAN         TX     31.468551   -101.634893
27   ALDWELL 0611            REAGAN         TX     31.43145    -101.673392
28   ASAU CTB                GAINES         TX     32.958166   -102.291931
29   BENNIE 4342             IRION          TX     31.178664   -101.174832
                                      A-1
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#    Facility                 County       State Latitude     Longitude
30   BLACK DOG 4231           UPTON        TX    31.555456    -101.894084
31   BLACKFOOT ST
     UN/CHEROKEE/MOHICAN      REEVES       TX    31.214808    -103.899851
32   BRAGG CTB                REEVES       TX    31.662322    -103.834543
33   BULL RUN                 REEVES       TX    31.661128    -103.8799
34   BURNSIDE                 REEVES       TX    31.668425    -103.882624
35   CAGE CTB                 GLASSCOCK    TX    31.745048    -101.760654
36   CAMPBELL, SETH N         WINKLER      TX    31.880081    -103.064524
37   CAMPBELL, SETH S         WINKLER      TX    31.876       -103.061403
38   CARMICHAEL CTB           ANDREWS      TX    32.211897    -102.798103
39   CC 36-37HZ               UPTON        TX    31.547       -102.01932
40   CC 42/43                 UPTON        TX    31.531457    -101.997497
41   CECIL                    GLASSCOCK    TX    32.071362    -101.626794
42   CHAPARRAL 89 CTB         LOVING       TX    31.749108    -103.653926
43   CLEVELAND 5              GLASSCOCK    TX    31.746889    -101.52106
44   CLINCH 4238              IRION        TX    31.147274    -101.254949
45   CONNELL 38/47/48
     CTB/CGC                  UPTON        TX    31.551956    -101.932153
46   COOK 21                  GLASSCOCK    TX    31.8175      -101.5207
47   CYPRESS STATE            REEVES       TX    31.290367    -103.985549
48   DIXIELAND GRANT CS       REEVES       TX    31.668428    -103.851169
49   DIXIELAND LEE CS         REEVES       TX    31.659712    -103.872385
50   DRIVER-SCHROCK 1423      MIDLAND      TX    31.77205     -101.79008
51   EAGLE / WOODPECKER 36    GLASSCOCK    TX    31.805994    -101.456946
52   EAST TIPPETT             MIDLAND      TX    31.6921      -102.135897
53   FALCON 2 CTB             LOVING       TX    31.752518    -103.635541
54   FALCON CENTRAL TANK
     BATTERY                  LOVING       TX    31.753252    -103.642701
55   FALCON CS                LOVING       TX    31.751644    -103.638912
56   FALCON PARKS-COYOTE
     1506                     MIDLAND      TX    31.772722    -102.163456
57   GOODSPEED                GLASSCOCK    TX    31.725844    -101.727148
58   GOODSPEED X-CAL          GLASSCOCK    TX    31.725703    -101.726736
59   GRANT CTB                REEVES       TX    31.668497    -103.845571
60   HARLEY CTB               WINKLER      TX    31.751967    -102.925758
61   HARTGROVE 0401/0304      REAGAN       TX    31.413949    -101.677092
62   JACKSON                  REEVES       TX    31.661811    -103.847479
63   JUNE TIPPETT 1213        MIDLAND      TX    31.708299    -102.175933
64   KETCHUM MTN 27           IRION        TX    31.258068    -101.066449
65   LATZEL 34                UPTON        TX    31.571086    -101.959492
66   LATZEL 3946              UPTON        TX    31.564249    -101.953724
                                    A-2
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 #    Facility                  County      State   Latitude    Longitude
67    LEE CTB                   REEVES      TX      31.659738   -103.872395
68    LUMBERJACK 32             GLASSCOCK   TX      31.700038   -101.396568
69    LYNCH A CTB               MIDLAND     TX      31.718769   -102.165804
70    MAGPIE CARDINAL CTB       LOVING      TX      31.7585     -103.6031
71    MCELROY RANCH             UPTON       TX      31.422002   -102.168005
72    MILLER 37 / 3748 /
      KASHMIR                   UPTON       TX      31.568969   -101.916425
73    MOCKINGBIRD 9-2 CTB       LOVING      TX      31.753751   -103.619367
74    MONT
      BLANC/BLACKFOOT
      ST/WINTOON CTB            REEVES      TX      31.214223   -103.901727
75    NAVAJO                    REEVES      TX      31.23344    -103.72318
76    NIGHT FLIGHT 4738         UPTON       TX      31.517109   -102.023677
77    NIX 16                    GLASSCOCK   TX      31.836756   -101.523031
78    OSPREY STATE UN           LOVING      TX      31.754757   -103.62214
79    ROBIN CS & CTB (S PECOS
      BEND CS)                  REEVES      TX      31.6991     -103.6615
80    SCHROCK 34 CTB            MIDLAND     TX      31.7204     -101.7881
81    SCHROCK, WM 2326          MIDLAND     TX      31.753153   -101.782586
82    SCOTT SUGG 5051E 5051W
      4948                      IRION       TX      31.25582    -101.109053
83    SCOTT SUGG NE UN          IRION       TX      31.2556     -101.0321
84    SCOTT-SUGG SE UN          IRION       TX      31.255612   -101.032109
85    SEAGULL-PELICAN CTB       LOVING      TX      31.727455   -103.631883
86    SHACKELTON 31             GLASSCOCK   TX      32.341887   -102.613117
87    SRH 12                    REAGAN      TX      31.461385   -101.444716
88    SRH 13                    REAGAN      TX      31.470225   -101.45928
89    SRH CENTRAL (SEC. 16)
      HORIZ                     REAGAN      TX      31.470821   -101.46499
90    SRH EASTERN (SEC 13)
      HORIZ                     REAGAN      TX      31.470603   -101.447099
 91   SRH NORTH 14/15           REAGAN      TX      31.482243   -101.485958
 92   SRH WESTERN (SEC. 11)     REAGAN      TX      31.471535   -101.4976
 93   SSH UNIT CTB              IRION       TX      31.207581   -101.085208
 94   STONE                     UPTON       TX      31.18194    -101.897679
 95   SUGG 0807                 IRION       TX      31.211625   -101.04459
 96   TOMAHAWK-POLARIS          UPTON       TX      31.366806   -101.811107
 97   TORPEDO 1048              UPTON       TX      31.3586     -101.824306
 98   UNIV 2303/2404            REAGAN      TX      31.3152     -101.6163
 99   UNIV 2505 / 25W           REAGAN      TX      31.308614   -101.587431
100   WARHEAD 0405              UPTON       TX      31.315481   -101.818261
                                     A-3
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 #    Facility                 County         State Latitude    Longitude
101   WEATHERBY 1231/1232
      CTB                      REAGAN         TX    31.33025    -101.623917

Group 2

102   BIRDIE FEDERAL           EDDY           NM    32.83212    -103.9977
103   CEDAR LAKE PAD 27W       EDDY           NM    32.85159    -103.88276
104   CEDAR LAKE PAD 30W       EDDY           NM    32.84692    -103.88289
105   CURRY, MAE F             LEA            NM    32.49863    -103.2001
106   EBDU SAT 1               LEA            NM    32.49743    -103.13793
107   EBDU SAT 2               LEA            NM    32.49729    -103.12113
108   EBDU SAT 3               LEA            NM    32.48439    -103.1213
109   GHOST RIDER 22-15
                                              NM
      SOUTH SAT                LEA                  32.196842   -103.659133
110   GRIZZELL BATTERY         LEA            NM    32.42273    -103.20059
111   HAWK /B-03/              LEA            NM    32.50738    -103.14435
112   L&M                      LEA            NM    32.59667    -103.1231
113   LAUGHLIN, W H            LEA            NM    32.58852    -103.26178
114   LOCKHART B-12            LEA            NM    32.49973    -103.1101
115   LOCO FEDERAL             EDDY           NM    32.82467    -103.97622
116   LYNCH, WALTER            LEA            NM    32.42409    -103.12089
117   M & M #1,2,3,4,5,6,7     LEA            NM    32.56012    -103.142
118   MCDONALD STATE AC 2      LEA            NM    32.3964     -103.22195
119   NE DRINKARD UNIT SAT
                                              NM
      1                        LEA                  32.50516    -103.13583
120   NE DRINKARD UNIT SAT
                                              NM
      3A                       LEA                  32.4828     -103.1452
121   NE DRINKARD UNIT SAT
                                              NM
      4                        LEA                  32.48065    -103.17918
122   NE DRINKARD UNIT SAT
                                              NM
      4A                       LEA                  32.46136    -103.15541
123   NE DRINKARD UNIT SAT
                                              NM
      5                        LEA                  32.46187    -103.13137
124   NE DRINKARD UNIT SAT
                                              NM
      5A                       LEA                  32.46527    -103.14041
125   NMGSAU BTY 89            LEA            NM    32.606749   -103.261255
126   NMGSAU BTY 98            LEA            NM    32.589657   -103.260631
127   OWEN, MARK 1-5,8,28,29   LEA            NM    32.43182    -103.13816
128   OWEN, MARK 7,9,10,15-
                                              NM
      18,20                    LEA                  32.433166   -103.14015
129   PINOT/WHITE OWL          LEA            NM    32.60704    -103.12104

                                        A-4
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 #    Facility                 County       State   Latitude    Longitude
130   RINEWALT                 LEA          NM      32.42442    -103.16995
131   STATE D A                LEA          NM      32.47678    -103.17254
132   WASHINGTON 33 STATE      EDDY         NM      32.79134    -104.18136
133   ALTA                     REEVES       TX      31.038533   -103.765071
134   ANDERSON 26              GLASSCOCK    TX      31.929816   -101.516762
135   ARROW HEMDALE CTB        REEVES       TX      31.686585   -103.988741
136   ASH CTB                  REEVES       TX      31.274396   -103.81426
137   ASPEN STATE              REEVES       TX      31.263731   -104.024917
138   BETTY JO                 GLASSCOCK    TX      31.891006   -101.515875
139   BIRCH UNIT               REEVES       TX      31.273565   -103.831122
140   BLACK HAWK STATE         REEVES       TX      31.1372     -103.7925
141   BLACKLINE /BROWN
                                            TX
      BOMBER                   WINKLER              31.682839   -102.84495
142   BONSAI ST UN             REEVES       TX      31.31549    -103.921808
143   BRAHANEY UNIT CTB        YOAKUM       TX      33.1567     -102.8874
144   BRAHANEY UNIT SAT 1      YOAKUM       TX      33.172895   -102.894558
145   BRENNAN DALE CTB         LOVING       TX      31.85121    -103.64335
146   CATALINA CTB             WARD         TX      31.639835   -103.32866
147   CHALK, OTIS              HOWARD       TX      32.106341   -101.290687
148   CHEYENNE                 REEVES       TX      31.0534     -103.7488
149   CHINOOK                  REEVES       TX      31.169457   -103.790856
150   CLARKE, FRANK NCT-1      ANDREWS      TX      32.1476     -102.5756
151   CONDOR                   LOVING       TX      31.7416     -103.6226
152   CONOCO POWELL DEEP
                                            TX
      #1,2,3                   CROCKETT             31.01995    -101.5999
153   CREE ST UN               REEVES       TX      31.122182   -103.759279
154   DEADWOOD NORTH
                                            TX
      GATHERING                GLASSCOCK            31.945144   -101.48541
155   DEADWOOD SOUTH
      GATHERING/ DEADWOOD                   TX
      GATHERING                GLASSCOCK            31.864366   -101.491372
156   DORADO 18                GLASSCOCK    TX      31.83095    101.54995
157   DRAGON CTB               REEVES       TX      31.67796    -103.980998
158   DXL 20                   GLASSCOCK    TX      31.731625   -101.410454
159   E D B 10                 GLASSCOCK    TX      31.848599   -101.5145
160   E W COWDEN               WINKLER      TX      31.787971   -103.095467
161   ED BOOKS 1               GLASSCOCK    TX      31.873869   -101.490054
162   ED BOOKS 17              GLASSCOCK    TX      31.826703   -101.540981
163   ED BOOKS 35              GLASSCOCK    TX      31.8054     -101.4776
164   FOX CTB                  REEVES       TX      31.114265   -103.76263
165   FURY                     REEVES       TX      30.972209   -103.612154
                                    A-5
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 #    Facility                    County      State   Latitude    Longitude
166   HORNET SATELLITE            MIDLAND     TX      31.700258   -102.191978
167   HUCKLEBERRY                 REEVES      TX      31.299426   -103.917961
168   HUFF DOBACK CTB             LOVING      TX      31.85484    -103.655336
169   HYPERION                    REEVES      TX      30.929533   -103.626301
170   IROQUOIS ST UN              REEVES      TX      31.193704   -103.879065
171   JUNIPER CTB                 REEVES      TX      31.279394   -104.07605
172   KICKAPOO                    REEVES      TX      31.185531   -103.797701
173   KING FLICKA                 PECOS       TX      30.776903   -103.487944
174   LONGS PEAK ST UN            REEVES      TX      31.037411   -103.772634
175   LYNCH A NORTH
                                              TX
      SATELLITE                   MIDLAND             31.730088   -102.165963
176   LYNCH TIPPETT 4801 SAT      MIDLAND     TX      31.73056    -102.183586
177   MAUI 5                      GLASSCOCK   TX      31.752609   -101.508317
178   MOHICAN UNIT                REEVES      TX      31.210965   -103.925987
179   MONT BLANC #2H & #3H        REEVES      TX      31.214131   -103.895395
180   NIGHTHAWK CTB               REEVES      TX      31.684959   -103.988218
181   PALM UNIT                   REEVES      TX      31.27817    -103.828833
182   PHANTOM SATELLITE
                                              TX
      (LYNCH A SOUTH SAT)         MIDLAND             31.706666   -102.161388
183   PINE STATE                  REEVES      TX      31.278998   -104.022745
184   PRESTIGE WORLDWIDE          REEVES      TX      31.739518   -103.868307
185   REDWOOD                     REEVES      TX      31.311374   -104.089871
186   RETAMA ST UN                REEVES      TX      31.328987   -103.936181
187   SANDERS TR A                MIDLAND     TX      31.6674     -102.2214
188   SAU MARINER 12-1/3/4        REAGAN      TX      31.454246   -101.669942
189   SAU MARINER 17-1            REAGAN      TX      31.439517   -101.647931
190   SAU MARINER 18-1/3          REAGAN      TX      31.430652   -101.647131
191   SAU MARINER 18-2/4          REAGAN      TX      31.421267   -101.648831
192   SAU MARINER 2-1/TR39        REAGAN      TX      31.429004   -101.654207
193   SAU MARINER 28-1/2/3/4      REAGAN      TX      31.532195   -101.645599
194   SAU MARINER 32-1/2/3, 32-
                                              TX
      2A                          REAGAN              31.519695   -101.654402
195   SAU MARINER 40              REAGAN      TX      31.503965   -101.634263
196   SAU MARINER 4-1/1B          REAGAN      TX      31.478486   -101.625995
197   SAU MARINER 44-
                                              TX
      2/3/4/TR15-4                REAGAN              31.488736   -101.644833
198   SAU MARINER 8-1/8-3         REAGAN      TX      31.464698   -101.639793
199   SAU MARINER 9-1/3           REAGAN      TX      31.464176   -101.626219
200   SCHWARTZ 2                  GLASSCOCK   TX      31.864381   -101.507437
201   SCOTT 34                    IRION       TX      31.26048    -101.085288

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 #    Facility                 County       State Latitude     Longitude
202   SEALY SMITH A&B          WINKLER      TX    31.725396    -102.932338
203   SPORTSTER 10-18-1H       WINKLER      TX    31.762139    -102.946011
204   STATE DESERT GOLD
                                            TX
      UNIT                     REEVES             30.911359    -103.625896
205   STORM CAT UNIT           REEVES       TX    31.071524    -103.642766
206   SUNDOWN SEALY SMITH      WINKLER      TX    31.708928    -102.957867
207   THREE BAR CENTRAL        ANDREWS      TX    32.1546      -102.8087
208   WAHOO 20                 GLASSCOCK    TX    31.8148      -101.5376
209   WEAVER 23                GLASSCOCK    TX    31.8193      -101.4864
210   WEISSMIES                REEVES       TX    31.021998    -103.742601
211   WEST TIPPETT             MIDLAND      TX    31.6979      -102.17345
212   WILLOW ST UN             REEVES       TX    31.310161    -103.905244

GROUP 3

213   A STATE 42               EDDY         NM    32.8069      -104.14213
214   AAO FED SOUTH            EDDY         NM    32.77681     -104.23153
215   AAO FEDERAL 1 & 22       EDDY         NM    32.78217     -104.2336
216   AB STATE 647             EDDY         NM    32.78672     -104.20049
217   APACHE STATE Q           LEA          NM    32.57116     -103.25058
218   BARNSDALL FEDERAL        EDDY         NM    32.8118      -104.05828
219   BUTLER, EDITH B          LEA          NM    32.39021     -103.11227
220   CHESHER/COLL/PLUMLEE
                                            NM
      BTTY                     LEA                32.49132     -103.11997
221   D STATE                  EDDY         NM    32.79986     -104.14387
222   D STATE 49               EDDY         NM    32.7948      -104.1371
223   D STATE 74               EDDY         NM    32.78448     -104.15542
224   ELLIOTT EM 20 FED        LEA          NM    32.37968     -103.19225
225   EMPIRE ABO UNIT D40
                                            NM
      CTB                      EDDY               32.79973     -104.13948
226   HARE, J G                LEA          NM    32.43098     -103.17264
227   HAWK /A/                 LEA          NM    32.49984     -103.18035
228   HAWK FED B-1 69 & 70     LEA          NM    32.49179     -103.16741
229   HIGH PLAINS ST           LEA          NM    33.09662     -103.48896
230   HUMMINGBIRD SOUTH
                                            NM
      FED COM                  EDDY               32.86089     -103.83158
231   LAUGHLIN, V              LEA          NM    32.59307     -103.26043
232   LUSK S 28 FED            LEA          NM    32.62608     -103.77736
233   MJ STATE                 EDDY         NM    32.78097     -104.25488
234   MONUMENT ABO             LEA          NM    32.61168     -103.33244
235   MUNCY, J L               LEA          NM    32.37346     -103.11241
                                      A-7
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 #    Facility                 County        State   Latitude    Longitude
236   N B TWEEN STATE          EDDY          NM      32.80789    -104.12469
237   TOBY, G W WN             LEA           NM      32.22288    -103.21574
238   TURNER BATTERY           LEA           NM      31.3405     -101.7113
239   TURNER, WM               LEA           NM      32.44815    -103.18302
240   WALDEN, E W              LEA           NM      32.38878    -103.15572
241   WARD, L W (SHENCK)       LEA           NM      33.20057    -103.06493
242   WARN STATE AC 1          LEA           NM      32.79199    -103.49967
243   WARN STATE AC 2          LEA           NM      32.77049    -103.49917
244   WARREN MCKEE BTY         LEA           NM      32.54195    -103.1716
245   WARREN UNIT No. 5 BTY    LEA           NM      32.54414    -103.14276
246   WARREN UNIT No. 6 BTY    LEA           NM      32.55267    -103.16436
247   WARREN UNIT No. 7 BTY    LEA           NM      32.5449     -103.1551
248   WEIR, W A 'B'            LEA           NM      32.63575    -103.32851
249   WERTA FEDERAL            LEA           NM      32.61004    -103.11798
250   WOOD, EUGENE             LEA           NM      32.38034    -103.14796
251   WORTHAN, LOU             LEA           NM      32.41002    -103.62252
252   ANDREWS UN               ANDREWS       TX      32.338648   -102.593004
253   ANDREWS UN E SAT         ANDREWS       TX      32.341042   -102.577824
254   ASAU CS                  TERRY         TX      32.963889   -102.301554
255   AWU BATT                 TERRY         TX      32.97105    -102.310601
256   BAKKE CENTRAL            ANDREWS       TX      32.2788     -102.5197
257   BAKKE SATELLITE 4        ANDREWS       TX      32.2685     -102.5333
258   BICE, SARAH              GAINES        TX      32.936932   -102.2668
259   BROWN BOMBER A 27        WINKLER       TX      31.705872   -102.874512
260   BUSBY 10                 IRION         TX      31.312725   -101.018529
261   CC 36                    UPTON         TX      31.554451   -102.021081
262   CC 37                    UPTON         TX      31.540866   -102.014853
263   FLANAGAN                 GAINES        TX      32.55167    -102.707358
264   GMK CTB                  GAINES        TX      32.810647   -102.524785
265   GMK WEST UN              GAINES        TX      32.820687   -102.547417
266   GRIERSON B               REAGAN        TX      31.130428   -101.657094
267   GRIERSON SPRINGS CS
                                             TX
      (UNIV 6-7)               REAGAN                31.104954   -101.674016
268   HART, C W                ANDREWS       TX      32.2884     -102.5316
269   HENDRICK, IDA T-88-N     WINKLER       TX      31.846201   -103.1596
270   HOGG G D                 WINKLER       TX      31.743328   -102.95091
271   HOLLEY/TURNER 1208UN     REAGAN        TX      31.328664   -101.640077
272   KETCHUM MTN CLFK
                                             TX
      BTY                      IRION                 31.251771   -101.10442
273   KETCHUM MTN EAST         IRION         TX      31.260452   -101.059477

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 #    Facility                 County         State Latitude    Longitude
      BAT 12
274   KETCHUM MTN EAST
                                              TX
      BAT 14                   IRION                31.288724   -101.059334
275   KETCHUM MTN EAST
                                              TX
      BAT 2                    IRION                31.300968   -101.031639
276   KMEU 28                  IRION          TX    31.25023    -101.072726
277   KMEU CENTRAL (KMEU
                                              TX
      14 NORTH)                IRION                31.295631   -101.058072
278   LINK, LC                 ANDREWS        TX    32.3515     -102.5989
279   MCCLINTIC TRUST          MIDLAND        TX    31.960759   -101.820573
280   MCFARLAND CENTRAL        ANDREWS        TX    32.467874   -102.50825
281   MILLER 36                UPTON          TX    31.578125   -101.920291
282   NEAL 38                  UPTON          TX    31.529979   -102.033125
283   PARKER, JE H             ANDREWS        TX    32.3288     -102.589
284   PARKER, JE J             ANDREWS        TX    32.3084     -102.5629
285   PARKER, OLA STATE 6      ANDREWS        TX    32.220478   -102.81479
286   PETRO GRANDE A 30        WINKLER        TX    31.73641    -102.899759
287   POGUE /M/                GAINES         TX    32.6011     -102.6905
288   SAU MARINER 20-1/2/3/4   REAGAN         TX    31.545049   -101.662337
289   SAU MARINER 21-1/2/3/4   REAGAN         TX    31.552643   -101.64951
290   SAU MARINER 31-1         REAGAN         TX    31.509682   -101.675498
291   SAU MARINER 42-4         REAGAN         TX    31.504699   -101.659106
292   SAU MARINER 45-1/2/4     REAGAN         TX    31.496609   -101.631901
293   SCOTT SUGG W UN          IRION          TX    31.255833   -101.108625
294   SCOTT-SUGG 1110          IRION          TX    31.256012   -101.045168
295   SCOTT-SUGG 1213          IRION          TX    31.260007   -101.052828
296   SCOTT-SUGG 3332          IRION          TX    31.257925   -101.084549
297   SCOTT-SUGG 5554          IRION          TX    31.255102   -101.121638
298   SHAFTER LAKE UNIT        ANDREWS        TX    32.341887   -102.613117
299   SOFTAIL 10-17 #2H        WINKLER        TX    31.759981   -102.953542
300   SPIKE S UNIT             IRION          TX    31.296748   -101.128351
301   SPRINGER 10-23           WINKLER        TX    31.739743   -102.927993
302   SRH 11 & 14              REAGAN         TX    31.472664   -101.483055
303   SRH 16-1                 REAGAN         TX    31.459      -101.461538
304   SRH 16-2                 REAGAN         TX    31.445829   -101.477314
305   SRH 17/18                REAGAN         TX    31.440723   -101.459177
306   SUGG 2829                IRION          TX    31.256534   -101.060006
307   T.J. GOOD BATTERY        BORDEN         TX    32.601027   -101.60718
308   THREE BAR SATELLITE
                                              TX
      WEST(SHALLOW)            ANDREWS              32.143702   -102.810169

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 #    Facility                 County       State   Latitude    Longitude
309   UNIV 2536                REAGAN       TX      31.186596   -101.677162
310   UNIVERSITY 184           REAGAN       TX      31.237049   -101.679809
311   UNIVERSITY 185           REAGAN       TX      31.237017   -101.679811
312   UNIVERSITY 25-C          REAGAN       TX      31.242151   -101.671053
313   UNIVERSITY BAR 36        ANDREWS      TX      32.204814   -102.824958
314   UNIVERSITY F             REAGAN       TX      31.119178   -101.647819
315   WEBER 47                 UPTON        TX      31.524656   -102.034945
316   WESTBROOK OIL CORP
                                            TX
      BLOCK 4                  ANDREWS              32.511119   -102.544731
317   WESTBROOK OIL CORP
                                            TX
      BLOCK 9                  ANDREWS              32.5004     -102.5447

GROUP 4

318   ADAMS 26                 GLASSCOCK    TX      31.8132     -101.4857
319   ALFORD, DL A             UPTON        TX      31.351639   -101.789861
320   AMBERJACK 39             GLASSCOCK    TX      32.031093   -101.463099
321   BALLENGER                GLASSCOCK    TX      31.92228    -101.478491
322   BALLENGER 32             GLASSCOCK    TX      31.915837   -101.468393
323   BALLENGER 41             GLASSCOCK    TX      31.905702   -101.455906
324   BALLENGER 42             GLASSCOCK    TX      31.9083     -101.4789
325   BARBA-NEAL 21            GLASSCOCK    TX      31.955103   -101.453641
326   BARRACUDA 45             GLASSCOCK    TX      31.895993   -101.440399
327   BELL 22                  GLASSCOCK    TX      31.8236     -101.4973
328   BURNS 27                 GLASSCOCK    TX      31.816147   -101.498826
329   CHANEY 43                UPTON        TX      31.732963   -103.662994
330   CLAY 166                 GLASSCOCK    TX      32.0622     -101.3186
331   CONNELL COWDEN 48        UPTON        TX      31.530926   -102.01073
332   COONS, W A UNIT          HOCKLEY      TX      33.394453   -102.453848
333   COPELAND 27              GLASSCOCK    TX      31.9208     -101.5412
334   DEAN, C S /A/ UN         COCHRAN      TX      33.507788   -102.739766
335   DOLPHIN 12               GLASSCOCK    TX      31.852      -101.483
336   DORA ROBERTS             HOWARD       TX      32.104413   -101.331924
337   DUFF 7                   GLASSCOCK    TX      31.979874   -101.50716
338   EAST MALLET UNIT         HOCKLEY      TX      33.471817   -102.540909
339   ED BOOKS 11              GLASSCOCK    TX      31.852916   -101.50009
340   ED BOOKS 13              GLASSCOCK    TX      31.8483     -101.4721
341   ED BOOKS 2-2             GLASSCOCK    TX      31.871      -101.4994
342   ED BOOKS 2A              GLASSCOCK    TX      31.866797   -101.499832
343   EDWARDS 3                GLASSCOCK    TX      31.999474   -101.450961

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 #    Facility                 County       State   Latitude    Longitude
344   ELLWOOD A & B (SAT 1)    HOCKLEY      TX      33.654612   -102.185595
345   ELLWOOD SAT 4            HOCKLEY      TX      33.640035   -102.186468
346   ELLWOOD SAT 5            HOCKLEY      TX      33.627924   -102.189094
347   ELLWOOD SAT 6            HOCKLEY      TX      33.611076   -102.178282
348   ELLWOOD SAT 7            HOCKLEY      TX      33.656169   -102.148874
349   EMERALD BATT             YOAKUM       TX      32.96077    -102.75168
350   FOXTROT 31               GLASSCOCK    TX      31.6896     -101.4105
351   FREEWILLY 41             GLASSCOCK    TX      31.8972     -101.5525
352   GIBSON 7B & 7C           GLASSCOCK    TX      31.8568     -101.4685
353   GLASS 15                 GLASSCOCK    TX      31.842271   -101.507121
354   GLASS 3-1                GLASSCOCK    TX      31.871382   -101.51893
355   GOODNER 22               GLASSCOCK    TX      31.8254     -101.5052
356   GRAY 24-1                GLASSCOCK    TX      31.830177   -101.471327
357   GREATWHITE 44            GLASSCOCK    TX      31.900133   -101.461845
358   HALL COWDEN 42 STOP      UPTON        TX      31.569551   -101.903117
359   HAMMERHEAD 33            GLASSCOCK    TX      31.925246   -101.444869
360   HARDY 18-1               GLASSCOCK    TX      31.846899   -101.451203
361   HARTLEY 38               GLASSCOCK    TX      31.898525   -101.602321
362   HEIDI 37                 GLASSCOCK    TX      31.7963     -101.4596
363   HIS BLESSING 34          GLASSCOCK    TX      31.904281   -101.533224
364   HIS BLESSING 35          GLASSCOCK    TX      31.912143   -101.513661
365   HOWARD GLASSCOCK
                                         TX
      CENTRAL (STOCKTON B)     HOWARD               32.159267   -101.241691
366   HUITT 25                 GLASSCOCK TX         31.929513   -101.495227
367   KEATHLEY 46              GLASSCOCK TX         31.878713   -101.522559
368   KESTREL 38               GLASSCOCK TX         31.790114   -101.472061
369   KLOH BATTERY (EAST,
                                            TX
      MARATHON)                HOWARD               32.09933    -101.433271
370   KLOH OIL AND GAS
                                            TX
      PRODUCTION FACILITY      HOWARD               32.09961    -101.433244
371   LEE 59 4H                GLASSCOCK    TX      31.563609   -101.270286
372   LYNDA-NEAL 28            GLASSCOCK    TX      31.939763   -101.450398
373   MACK 6 CARTER 43         GLASSCOCK    TX      31.989707   -101.508998
374   MACK 8-2                 GLASSCOCK    TX      31.9742     -101.4855
375   MALLET NORTH TEST NO
                                            TX
      3                        COCHRAN              33.476342   -102.607588
376   MAPLE WILSON CTB 1       HOCKLEY      TX      33.523118   -102.468885
377   MARLIN 47H               GLASSCOCK    TX      32.01977    -101.443632
378   N MALLET                 HOCKLEY      TX      33.473008   -102.586036
379   NANNIE MAY               YOAKUM       TX      33.227368   -102.953721

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 #    Facility                 County       State   Latitude    Longitude
380   NCLU BATT 1              COCHRAN      TX      33.619495   -102.626717
381   NCLU BATT 2              HOCKLEY      TX      33.619523   -102.580947
382   NCLU BATT 3              HOCKLEY      TX      33.610973   -102.544626
383   NCLU TRACT 39            HOCKLEY      TX      33.621588   -102.5757
384   NICHOLS 22               GLASSCOCK    TX      31.93848    -101.53871
385   NICHOLS 23               GLASSCOCK    TX      31.9384     -101.5387
386   PALOMEDA                 GLASSCOCK    TX      32.0082     -101.492698
387   PHILLIPS 58              GLASSCOCK    TX      31.9884     -101.3948
388   PHILMAC                  GLASSCOCK    TX      31.9644     -101.3901
389   PLAINS UNIT              YOAKUM       TX      33.199134   -102.844233
390   RED SNAPPER 14           GLASSCOCK    TX      31.979115   -101.43355
391   RED SNAPPER-NEAL 16H     GLASSCOCK    TX      31.966734   -101.463266
392   REDTAIL 48               GLASSCOCK    TX      31.782492   -101.453497
393   RILEY 37                 GLASSCOCK    TX      31.90031    -101.48973
394   RILEY 47                 GLASSCOCK    TX      31.885572   -101.508304
395   RILEY 48                 GLASSCOCK    TX      31.88795    -101.495653
396   ROBERTS UNIT BATTERY
                                            TX
      1                        YOAKUM               33.028716   -102.978446
397   ROBERTS UNIT BATTERY
                                            TX
      2                        YOAKUM               33.0088     -102.9306
398   ROBERTS UNIT BATTERY
                                            TX
      3                        YOAKUM               32.9983     -102.9333
399   ROBERTS UNIT BATTERY
                                            TX
      4                        YOAKUM               33.02531    -102.892361
400   ROBERTS UNIT BATTERY
                                            TX
      5                        YOAKUM               33.0255     -102.8842
401   ROBERTS UNIT BATTERY
                                            TX
      6                        YOAKUM               33.00703    -102.9299
402   RUNNER 17                GLASSCOCK    TX      31.958348   -101.482151
403   S MALLET                 COCHRAN      TX      33.4459     -102.60102
404   SAWFISH 37               GLASSCOCK    TX      32.0427     -101.4273
405   SCHWARTZ / HUITT         GLASSCOCK    TX      31.922013   -101.498489
406   SCHWARTZ 36              GLASSCOCK    TX      31.917835   -101.495245
407   SHOOK, R B /A/ D         YOAKUM       TX      33.192997   -102.927041
408   SPEARFISH 27             GLASSCOCK    TX      31.9414     -101.4378
409   SPENCER 7                GLASSCOCK    TX      31.8473     101.5632
410   SQUIRE 4                 GLASSCOCK    TX      32.002235   -101.47329
411   SQUIRE 9-1               GLASSCOCK    TX      31.9861     -101.4654
412   SW LEVELLAND UNIT        COCHRAN      TX      33.548392   -102.714646
413   UNIVERSITY 4 TAYLOR
                                            TX
      DRAW                     UPTON                31.145239   -101.778162
                                     A-12
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 #    Facility                 County       State   Latitude    Longitude
414   WALKER FARMS 14          GLASSCOCK    TX      31.8418     -101.4889
415   WEEMS, L R (BRONCO 5)    YOAKUM       TX      33.206809   -103.058043
416   WLU NO 1                 COCHRAN      TX      33.600367   -102.685666
417   WLU NO 2                 COCHRAN      TX      33.593753   -102.609179
418   WLU ROBERTS COBLE B
                                            TX      33.5996
      BTY                      HOCKLEY                          -102.52119
419   WOODLEY, F L             COCHRAN      TX      33.49509    -102.63357
420   XIT UNIT                 COCHRAN      TX      33.50445    -102.80825
421   ZPZ 1055                 UPTON        TX      33.757151   -102.420631
422   ZPZ FEE                  UPTON        TX      31.18994    -102.077763




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                               APPENDIX B
            Advanced Action Battery Pads in New Mexico and Texas



Facility                    County         State     Latitude      Longitude

BIRDIE FEDERAL              EDDY           NM        32.83212      -103.9977

BLACK & TAN 27 FED          LEA            NM        32.53768      -103.54848

COM

COFFEE FEDERAL              EDDY           NM        32.83753      -103.90978

CROW FED BTY                EDDY           NM        32.85418      -103.87027

CURRY, MAE F                LEA            NM        32.49863      -103.2001

GHOST RIDER 22-15 FED       LEA            NM        32.2066       -103.66053

CTB

LOCO FEDERAL                EDDY           NM        32.82467      -103.97622

LUSK 34 FED                 LEA            NM        32.62253      -103.76183

NE DRINKARD UNIT            LEA            NM        32.48713      -103.14418

CTB/SAT 3

OUTLAW STATE                EDDY           NM        32.8007       -104.1922

PALMILLO 14-15              EDDY           NM        32.66277      -104.15522

PALMILLO 26                 EDDY           NM        32.63359      -104.13953

RAVEN FEDERAL               EDDY           NM        32.84503      -103.91039

SALT FORK 3-4 FED COM       EDDY           NM        32.68735      -103.96086

TONY FEDERAL                EDDY           NM        32.8308       -103.9121


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Facility                County         State   Latitude   Longitude

ALDWELL 0611            REAGAN         TX      31.43145   -101.673392

ANDERSON 26             GLASSCOCK TX           31.929816 -101.516762

ASAU CTB                GAINES         TX      32.958166 -102.291931

ASPEN STATE             REEVES         TX      31.263731 -104.024917

BENNIE 4342             IRION          TX      31.178664 -101.174832

BLACK HAWK STATE        REEVES         TX      31.1372    -103.7925

BLACKFOOT ST            REEVES         TX      31.214808 -103.899851

UN/CHEROKEE/MOHICAN

BRAGG CTB               REEVES         TX      31.662322 -103.834543

BULL RUN                REEVES         TX      31.661128 -103.8799

BURNSIDE                REEVES         TX      31.668425 -103.882624

CC 36-37HZ              UPTON          TX      31.547     -102.01932

CC 42/43                UPTON          TX      31.531457 -101.997497

CECIL                   GLASSCOCK TX           32.071362 -101.626794

CHAPARRAL 89 CTB        LOVING         TX      31.749108 -103.653926

CHEYENNE                REEVES         TX      31.0534    -103.7488

CLEVELAND 5             GLASSCOCK TX           31.746889 -101.52106

CLINCH 4238             IRION          TX      31.147274 -101.254949

CONDOR                  LOVING         TX      31.7416    -103.6226

CONNELL 38/47/48        UPTON          TX      31.551956 -101.932153

COOK 21                 GLASSCOCK TX           31.8175    -101.5207

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Facility                County         State   Latitude   Longitude

CYPRESS STATE           REEVES         TX      31.290367 -103.985549

DIXIELAND GRANT CS      REEVES         TX      31.668428 -103.851169

DIXIELAND LEE CS        REEVES         TX      31.659712 -103.872385

DRIVER-SCHROCK 1423     MIDLAND        TX      31.77205   -101.79008

E D B 10                GLASSCOCK TX           31.848599 -101.5145

EAGLE / WOODPECKER      GLASSCOCK TX           31.805994 -101.456946

36

ED BOOKS 35             GLASSCOCK TX           31.8054    -101.4776

FALCON 2 CTB            LOVING         TX      31.752518 -103.635541

FALCON CENTRAL TANK     LOVING         TX      31.753252 -103.642701

BATTERY

FALCON CS               LOVING         TX      31.751644 -103.638912

FOX CTB                 REEVES         TX      31.114265 -103.76263

GOODSPEED X-CAL         GLASSCOCK TX           31.725703 -101.726736

GRANT CTB               REEVES         TX      31.668497 -103.845571

HARTGROVE 0401/0304     REAGAN         TX      31.413949 -101.677092

JACKSON                 REEVES         TX      31.661811 -103.847479

JUNE TIPPETT 1213       MIDLAND        TX      31.708299 -102.175933

KETCHUM MTN 27          IRION          TX      31.258068 -101.066449

LATZEL 3946             UPTON          TX      31.564249 -101.953724

LEE CTB                 REEVES         TX      31.659738 -103.872395

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Facility                 County         State   Latitude   Longitude

LUMBERJACK 32            GLASSCOCK TX           31.700038 -101.396568

LYNCH A CTB              MIDLAND        TX      31.718769 -102.165804

LYNCH A NORTH            MIDLAND        TX      31.730088 -102.165963

SATELLITE

LYNCH TIPPETT 4801 SAT   MIDLAND        TX      31.73056   -102.183586

MAGPIE CARDINAL CTB      LOVING         TX      31.7585    -103.6031

MILLER 37 / 3748 /       UPTON          TX      31.568969 -101.916425

KASHMIR

MOCKINGBIRD 9-2 CTB      LOVING         TX      31.753751 -103.619367

MONT                     REEVES         TX      31.214223 -103.901727

BLANC/BLACKFOOT

ST/WINTOON CTB

OSPREY STATE UN          LOVING         TX      31.754757 -103.62214

PALM UNIT                REEVES         TX      31.27817   -103.828833

PINE STATE               REEVES         TX      31.278998 -104.022745

ROBIN CS & CTB (S        REEVES         TX      31.6991    -103.6615

PECOS BEND CS)

SCHROCK 34 CTB           MIDLAND        TX      31.7204    -101.7881

SCHROCK, WM 2326         MIDLAND        TX      31.753153 -101.782586

SCOTT SUGG 5051E         IRION          TX      31.25582   -101.109053

5051W 4948

                                  B-4
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Facility                County         State   Latitude   Longitude

SCOTT-SUGG SE UN        IRION          TX      31.255612 -101.032109

SEAGULL-PELICAN CTB     LOVING         TX      31.727455 -103.631883

SHACKELTON 31           GLASSCOCK TX           32.341887 -102.613117

SRH CENTRAL (SEC. 16)   REAGAN         TX      31.470821 -101.46499

HORIZ

SRH EASTERN (SEC 13)    REAGAN         TX      31.470603 -101.447099

HORIZ

SRH NORTH 14/15         REAGAN         TX      31.482243 -101.485958

SRH WESTERN (SEC. 11)   REAGAN         TX      31.471535 -101.4976

SSH UNIT CTB            IRION          TX      31.207581 -101.085208

STONE                   UPTON          TX      31.18194   -101.897679

TOMAHAWK-POLARIS        UPTON          TX      31.366806 -101.811107

TORPEDO 1048            UPTON          TX      31.3586    -101.824306

UNIV 2303/2404          REAGAN         TX      31.3152    -101.6163

UNIV 2505 / 25W         REAGAN         TX      31.308614 -101.587431

WARHEAD 0405            UPTON          TX      31.315481 -101.818261

WEATHERBY 1231/1232     REAGAN         TX      31.33025   -101.623917

CTB

WEISSMIES               REEVES         TX      31.021998 -103.742601




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                           APPENDIX C

                     Sampling and Analysis Plan




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1.        Purpose and Objective                                   2
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1.   PURPOSE AND OBJECTIVE
     This protocol governs how Apache shall collect and analyze pressurized liquids as required under
     Paragraph 20 of the Consent Decree. This protocol includes requirements and guidance for
     obtaining pressurized liquid and stock oil samples from oil and gas wells suitable for use in
     thermodynamic equation of state (EOS) process simulation modeling (PSM) to estimate the
     volumetric flow and mass emission rates of speciated hydrocarbon vapors evolved from
     pressurized liquids entering atmospheric storage tanks from production separators (known
     commonly as “flash gas”). The EOS used in the models are predictive of steady-state,
     equilibrium conditions, which also represent preferred, normal operating conditions in functional
     separators. It is critically important that a pressurized liquid sample used in EOS PSM to be as
     near equilibrium as possible in order for the underlying equations to predict flashing emissions
     under normal conditions. While it is acknowledged that a separator may not operate at or near
     equilibrium conditions, such conditions cannot be modeled using equations of state and must be
     measured directly.

     Further, the EOS PSM requires speciated analysis of the light phase (methane to nonanes) and
     information about the heavy phase (decanes and heavier, referred to as C10+). Since it is
     impractical and cost-prohibitive to analyze the thousands of isomers of hydrocarbons in the
     heavy phase, the EOS PSM will use information on the physical properties including molecular
     weight and density to approximate the heavy phase composition from correlations curves built
     into the model environment.

     It is also important that the sample collected be homogeneous (i.e., only containing pressurized
     liquid) and single phase (i.e., containing only hydrocarbon and not include entrained vapor or
     aqueous phase). Failure to do so will present a sample that is neither representative of normal
     operating conditions nor a pressurized liquid at equilibrium conditions that can be represented by
     EOS.

     EOS PSM requires a record of sampling conditions and process parameters to adequately predict
     flash emissions based on the obtained samples. As with all models, EOS PSM requires a
     comparison to field-measured values to evaluate the model’s performance. While modeling
     techniques are not the subject of this protocol, it addresses appropriate field measurements and
     other samples required to support adequate PSM and model performance evaluation.

     This protocol will provide preferred and required practices to:

         x   Verify and document the sampled process is functioning normally and stable prior to
             sampling;
         x   Obtain homogeneous, single-phase pressurized hydrocarbon liquid;
         x   Obtain properly speciated light end (C1 to C9) composition and physically specified heavy
             end (C10+);
         x   Verify pressurized liquid samples are near equilibrium in accordance with defined
             acceptance criteria; and
         x   Obtain relevant data to confirm standard/design operating conditions (relevant
             temperatures/pressures, Reid vapor pressure, API gravity).




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2.   SAMPLE SITE SELECTION AND PRE-SAMPLING
     REQUIREMENTS
     2.1 Process Conditions
     For an EOS PSM to accurately estimate flash emissions, the process being sampled must be
     stable at normal operating conditions. Production separators are process vessels that separate
     high-pressure mixed-phase liquids into hydrocarbon gas, hydrocarbon liquid, and water through
     controlled depressurization and gravimetric separation of immiscible liquids. These process
     vessels are often heated to encourage gas evolution and demulsify mixed-phase liquids. This
     process requires sufficient residence time to allow for gas evolution and liquid separation.

     Prior to sampling, the operator must verify that the process has remained stable. If available, the
     operator shall monitor the separator temperature and pressure. If any of the following critical
     indicators are met, the process shall not be sampled because it may not be stable and therefore
     the sample may not be representative:

           x    The separator temperature fluctuated by more than 20°F in the last 24 hours;
           x    The separator pressure fluctuated by more than +/- 10% from setpoint in the last 24
                hours;
           x    Separator maintenance has occurred in the last 72 hours; or
           x    Maintenance, disruption, or interruption to upstream operations (e.g., workovers, shut-
                ins) or downstream takeaway has occurred within the last 72 hours.

     The sampler must allow the separators to stabilize after a dump cycle before sample collection.
     In such an event, the sampling must be delayed or the sampler must choose a different site (still
     meeting representativeness criteria) from which to collect the sample. Similarly, if a separator
     has proportional (or throttling) level control, then the sample must be collected during a period
     when the flow is stable.

     2.2       Pre-Sampling Requirements

     2.2.1   Pressurized Liquid and Produced Water
     Per CARB Protocol § 7.1 and §7.2, the sampler must record the separator identification number,
     separator pressure, and separator temperature. If the separator has instrumentation, the
     sampler shall record pressure and temperature from field instruments as well. Temperature data
     from the first downstream atmospheric tank or separator shall also be provided if it is available
     and safe to collect.

     2.2.2    Flowing Natural Gas
     The sampler must follow the GPA 2166 pre-sampling requirements for flowing natural gas
     sampling. At a minimum, the sampler must record the separator identification number, separator
     temperature, and separator pressure. If the separator has instrumentation, the sampler shall
     record pressure and temperature from field instruments as well.

     2.2.3     Atmospheric Liquid
     For automated samples, API MPS Chapter 8.2, ASTM D4177, or ISO 3171 pre-sampling guidance
     is applicable. For manual samples, the sampler must follow pre-sampling requirements from



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either ASTM D4057 or ISO 3170. At a minimum, the sampler must record the tank identification
and tank temperature on the sample identification tag and data collection form prior to collecting
the sample.

2.3 Sample Location
The pressurized liquid or produced water sample must be pulled from a dedicated sample port or
dump valve connection located after the separator discharge, but before first flow control valve to
ensure a pressurized sample is obtained. Care must be taken to ensure that the sample is a
homogeneous oil sample and that there is no gas entrained. To ensure homogeneity, samples
must not be collected from the sight glass or similar device at the gas/liquid interface. Sight
glass sampling can result in gas entrainment from the gas/liquid interface or sampling of a mixed
phase sample resulting in a sample that is not representative of separator operation. Stock oil
samples must be pulled from DQatmospheric tank through the thief hatch or other sample port.
Gas samples must be pulled from a dedicated sample port from the same separator as the
pressurized liquid sample. All dedicated sample ports must be purged in accordance with
reference methods prior to sampling. When multiple samples are taken from a separator, the
sample should be collected on the same day and to the extent practicable, as close as possible to
the same time.




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3.   SAMPLING METHODS AND PROCEDURES
     3.1 Sample Procedures
     Pressurized liquid (oil or water) and stock oil samples shall be collected in accordance with Gas
     Producers Association Method (GPAM) 2174 Obtaining Liquid Hydrocarbon Samples for Analysis
     by Gas Chromatography. This method employs a pressured extraction cylinder to maintain the
     sample at separator pressure. To maintain sample pressure, the method employs the
     displacement fluids, either water or an inert gas. While either fluid is satisfactory for the purposes
     of this protocol, water displacement method is advantageous and preferred as it insulates the
     sample better than the gas to minimize shrinkage and maintains pressure better. In addition,
     the sampling cylinder must be warmed above separator temperature during sampling to prevent
     sample shrinkage.




                              Figure 3-1 Constant Volume Cylinder Sampling System 1




     1




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Samplers should use sample tubing with a diameter greater than ¼” to ensure sufficient flow.
The sampling rate should not exceed 60 milliliters per minute (mL/min) 2. A sampling rate above
this range may result in mixed-phase sample. Samples pulled at a rate greater than 60 mL/min
shall be flagged. The sampler must observe the sample cylinder for water or gas entrainment. If
water or gas is observed, the sampling shall be discontinued, and the sample rejected. The
sampler shall record the sample pressure and temperature from a gauge as close as possible to
the sampling point. The following values must also be recorded: the initial source pressure and
temperature, the minimum pressure observed during the purging stage, and the minimum
pressure observed during the sampling stage. The measurement equipment shall comply with the
requirements of California Air Resource Board (CARB) Protocol § 5.1 to 5.2 as follows:

    a.   An intrinsically safe pressure gauge capable of measuring liquid pressures of up to 2,000
         pounds per square inch absolute within ±0.1 percent accuracy.
    b.   A temperature gauge capable of reading liquid temperature within ±2°F and within a
         range of 32°F to 250°F.

For stock oil tanks, the sampler must record the surface temperature of bulk liquid. Ideally, this
is done using a calibrated field temperature probe or infrared sensor inserted through the thief
hatch or other sampling port. Process instrumentation may be used but the sensor height should
be as close to the liquid surface level as possible. If process instrumentation is used, the liquid
height and sensor height shall be recorded. Flashing emissions occur at the gas/liquid interface of
the tank and the flashing emissions are very sensitive to temperature. As such, it is imperative
that the temperature recorded be representative of the surface temperature to obtain an
accurate representation of emissions.

After sample collection, a leak check must be performed to validate the integrity of the sample
cylinder or container.
    a.   For pressurized cylinders, wrap the external valve connections with Teflon tape and then
         cap them using threaded metal caps.

    b.   For atmospheric sample containers, tighten the cap snuggly and then tape around the
         edge of the cap for added sealing.


3.2 Sample Documentation
Samplers shall record pre-sampling conditions and sampling parameters to document separator
conditions and verify conformity to sampling protocols. This includes noting any upset or
abnormal events that occur during sampling. This information is critical to evaluate the
representativeness of a sample to normal, stable operating conditions and verify the sample is
suitable for EOS PSM.

In addition, any unusual circumstances that occur during sampling that might be useful context
for modeling or laboratory analysis (e.g., broken field instrumentation or presence of gas) shall
be recorded in the field notes. Photo documentation is helpful but should only be performed in
accordance with operator health and safety standards (if allowed at all). A field checklist and
sampling record is provided in Appendix A.




2




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4.   LABORATORY ANALYSIS
     4.1 Sample Conditioning
     The sample must be conditioned to separator conditions prior to analysis by slowly heating and
     returning it to homogeneous, single phase for accurate results. If wax crystals are observed
     within the sample upon receipt, that is an indication of multi-phase behavior and must be noted
     in the laboratory results. The laboratory technician shall observe if any gas or aqueous phase is
     observed in the sample cylinder and note that as well. The sample pressure should be at sample
     conditions upon receipt. Samples requiring re-pressurization have lost vapor integrity and shall
     not be analyzed.

     4.2 Sample Analysis
     Table 4-1 presents a summary of approved methods for selected analytes that may be used for
     sample analysis under this protocol.

     Table 4-1. Summary of approved analytical methods for potentially relevant
     parameters.
      Parameter             Subparameter           Approved Methods
      Flash Gas Composition H2S (low level)           x  EPA Method 15 and Method 16
                                                      x  ASTM D-1945M
                                                      x  ASTM D-5504
                                                      x  ASTM D-6228
                                                      x  ASTM D-4810
                                                      x  USOP 163
                            N2, CO2, H2S (high        x  ASTM D-1945
                            level), and C1 to         x  GPA 2286
                            C10+
                            Benzene, Toluene,         x  EPA 8021 B
                            Ethylbenzene and          x  ASTM D-31701
                            Xylene (BTEX)             x  GPA 2286
                                                      x  EPA 8260B
                                                      x  EPA TO-14
                                                      x  EPA TO-15
      Pressurized           O2, N2, CO2, H2S (high    x  GPA 2186
      Hydrocarbon Liquid    level), and C1 to         x  GPA 2103
      Composition           C10+
                            BTEX                      x  GPA 2186
                                                      x  GPA 2103.


      Density or API Gravity   None                           x   ASTM D-287
                                                              x   ASTM D-5002
      Specific Gravity of      None                           x   ASTM D-4052
      Pre-flash liquid phase                                  x   ASTM D-70
      crude oil or                                            x   ASTM D-5002
      condensate                                              x   ASTM D-287 (calculation method)
      Flash Gas Molecular      All                            x   ASTM D-3588
      Weight, Heating
      Value, and Density
      Percent Water Cut        All                            x   ASTM D-4007 (BS&W)
      RVP                      All                            x   ASTM D6377
      Oil Cut in Water         TPH                            x   EPA 1664b




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Pressurized liquid samples collected for EOS PSM must be speciated for all hydrocarbon isomers
from methane (C1) to nonanes (C9) requiring extended analysis. The following GPAM analyses
are recommended:

   x   GPAM 2103-20 Method for Analysis of Natural Gas Condensate Mixtures Containing
       Nitrogen and Carbon Dioxide by Gas Chromatography
   x   GPAM 2186-14 Method for the Extended Analysis of Hydrocarbon Liquid Mixtures
       Containing Nitrogen and Carbon Dioxide by Temperature Programmed Gas
       Chromatography

For pressurized oil samples, a concurrent flash liberation analysis (FLA), which includes
measuring the flash gas to oil ratio (FGOR), and extended gas analysis shall be conducted for
comparison to EOS PSM results as a quality control measure. For pressurized produced water
samples, a FLA and extended gas analysis must be conducted which includes measuring the flash
gas to water ration (FGWR) associated with hydrocarbons dissolved in the water. To conduct the
FLA, an accurately measured volume of reconditioned pressurized liquid from the sample is
transferred to a flash vessel conditioned to stock tank field conditions for atmospheric pressures
and stock tank temperatures. The volume of gas can then be measured with a gasometer and
collected for analysis. The FGOR or FGWR is calculated from the measured gas and liquid
volumes. The gas can be analyzed for composition using GPAM 2286 Extended Analysis of
Natural Gas and Similar Gas Mixtures by Program Gas Chromatography.

In addition, physical properties of the heavy ends (C10+) of the pressurized liquid must be
analyzed and specified, including density (API gravity) and molecular weight. This process first
requires distillation of the C10+ cut from the pressurized liquid using ASTM D86M Modified
Atmospheric Distillation where the boiling temperature is set to remove C1 to C9 and leave C10+
remaining. Density can be measured using an API hydrometer per ASTM D287 or a digital
densitometer per ASTM D5002. Molecular weight can be determined by using a cryoscope or
distillation method. Stock oil samples only require definition of the density (API gravity) for
model performance evaluation and sampling quality assurance. Produced water liquids are not
analyzed.




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5.   OPERATIONAL PERFORMANCE CHECKS AND
     REPRESENTATIVENESS CRITERIA
     5.1 Operational Performance Checks – Pressurized Liquid
     It is key to understand that while a sample may be valid by meeting quality assurance criteria for
     sampling and analysis methods, it may not be representative of normal, stable operations
     suitable for the purpose of EOS PSM. EOS PSM uses equations of state approximate the partition
     of vapor and liquid phases of a sample at any given pressure and temperature at steady-state
     equilibrium. Therefore, the PSM requires pressurized liquid samples be as close to steady-state
     equilibrium as possible, which is at the point of the phase envelope where liquid begins to evolve
     into vapor, known as the bubble point. Therefore, a sample integrity verification must be
     performed on the pressurized liquid sample by empirically deriving bubble point pressure in the
     laboratory at the sample collection temperature. The CARB procedures for this check shall be
     followed. 3 The phase envelope is derived based on the sample composition and aggregates the
     thermodynamic properties of each constituent as shown in Appendix B. If the sample pressure
     and temperature deviate too far from the phase envelope, this indicates that the sample is too far
     from equilibrium conditions to be suitable for EOS PSM. A sample phase envelope is shown in
     Figure 5-1.




                                                          Figure 5-1. Phase Envelope


     Deviation from the sample pressure indicates a sample not in equilibrium and indicative of
     improper sampling, lost sample integrity, or separator upset. Sample pressures too far above
     bubble point indicate entrained gas from sampling or separator carryover while sample pressures
     too far below indicate the vapor was lost or the sample has no vapor phase at sampling
     conditions (e.g., dead oil). Flash emissions are exponentially sensitive to pressure, so the
     acceptance criteria must become more stringent as pressure increases. Any sample where the

     3
         https://govt.westlaw.com/calregs/Document/I3ED9DDCC703047C3A585C7556D0A2504?viewType=FullText&originationContext=documenttoc&tr
         ansitionType=CategoryPageItem&contextData=(sc.Default)




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field sample pressure deviates from the empirical bubble point pressure by more than the
indicated values in Table 5-1 shall not be used for EOS PSM.

Table 5-1. Sample Acceptance Criteria, Sample Pressure Compared to Bubble Point
Pressure (at Sample Temperature)
 For Field Sample Pressures in Acceptable Difference
 the Following Range (psig)    (in percent)
 Greater than or equal to 500  +/- 5%
    250 to 499                        +/- 7%
    100 to 249                        +/- 10%
    50 to 99                          +/- 15%
    20 to 49                          +/- 20%
    Less than 20                      +/- 30%



5.2 Operational Performance Checks – Stock Oil
The stock oil API gravity obtained from sales or haul tickets may be used to indicate issues with
the laboratory analysis. Because the oil contained in storage vessels is weathered, the API
gravity of stock oil indicated on run tickets should always be lower than the API gravity
determined in the laboratory using a fresh oil sample. An API gravity produced in the laboratory
that is lower than the API gravity indicated on sales or haul tickets is indicative of vapor loss
during the sampling event itself, sample transit or laboratory analysis. Such a sample shall not be
utilized for process simulation purposes.

5.3 Sample Representativeness Criteria
Operators and agencies may wish to use a sample from one location to be representative of
operations and emissions at another as it may be impractical to obtain site-specific samples at
every location. In addition, regulatory agencies may wish to group samples into group to
determine emission factors. Due to variances in geologic conditions and site operations, a
representative sample (i.e., one that is not site-specific) must meet the following requirements:

x    Be obtained from the same geologic reservoir formation as the facility to be modeled;
x    Be within the same separator operating pressure range (+/- 20 psig for separators operating
     at or above 30 psig; for separators operating below 30 psig, representative sample must not
     be less than half of actual facility operating pressure);
x    Be within the same temperature operating range (+/- 20 oC); and
x    Be obtained from a sample set of at least 10% of the facilities in each representative group
     (e.g., formation, pressure range, temperature range) with at least two samples per group.

Where a facility may have more than one sample that is representative, modeling should prefer
to a sample that has an equivalent separator configuration. Barring that, the sample with a
sample pressure that is closest to the operating pressure in the represented separator should be
selected.




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6.   DOCUMENTATION
     6.1 Field Documentation
     Samplers must document the pre-sampling and sample conditions using the forms provided in
     Appendix A. Form A-1 shall be completed by the facility operations contact to verify operational
     conditions and document that the location is able to be sampled. This form must be completed
     prior to sampling. Form A-2 shall be completed by the sampler during the sampling event. Each
     form must be completed for each sample. Sampling companies may use alternate forms
     provided they contain at least the information provided in Appendix A. All field forms must be
     retained with the sample and provided in the laboratory report.

     6.2 Laboratory Report
     The sampling laboratory shall provide a report for each sample analyzed that includes the
     following information:

        1.  Facility name, identification number, and location
        2.  Identification of sampling company and sampling personnel
        3.  Contact information for sampling company and sampling personnel
        4.  Identification and description of vessel sampled, including identification number
        5.  Identification of sampled material (pressurized liquid, produced water, stock oil)
        6.  Start and stop date/time of sampling
        7.  Date of analysis
        8.  Description of sampling and analytical methods
        9.  Summary of sampling conditions
                a. Separator/vessel pressure (psig)
                b. Separator/vessel temperature (psig)
        10. Results of analysis, as applicable:
                a. Flash gas factor (FGOR or FGWR), in standard cubic feet per barrel (scf/bbl)
                b. Compositional analysis as specified in Table 4-1
                c. Specific gravity and molecular weight of heavy fraction (C10+)
                d. API gravity and Reid Vapor Pressure of sales oil or condensate
        11. Quality assurance procedures and results of operational performance checks
                a. Phase envelope with comparison of sample pressure to bubble point pressure at
                     sample temperature
                b. Data flags, if any
        12. Appendices
                a. Field data sheets and checklists
                b. Calibration certificates for field instrumentation

     6.3 Summary Report
     Upon completion of all sampling and analysis activities, Apache shall prepare a report that
     summarizes the results. The summary report shall identify all samples analyzed and provide a
     summary table of the following for each sample:

        1. Facility name, identification number, and location
        2. Identification of sampling company
        3. Identification and description of vessel sampled, including identification number




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   4.  Identification of sampled material (pressurized liquid, produced water, stock oil)
   5.  Date of sampling
   6.  Date of analysis
   7.  Description of sampling and analytical methods
   8.  Summary of production data of oil/condensate, produced water, and associated gas
           a. Highest daily production in past 12 months
           b. Daily average production in past 12 months
           c. Highest 12-month rolling total in past 60 months
           d. Permitted allowable production (if applicable)
   9. Summary of sampling conditions
           a. Separator/vessel pressure (psig)
           b. Separator/vessel temperature (psig)
   10. Summary results of analysis, as applicable:
           a. Flash gas factor (FGOR or FGWR), in standard cubic feet per barrel (scf/bbl)
           b. Compositional analysis as specified in Table 4-1
           c. Specific gravity and molecular weight of heavy fraction (C10+)
           d. API gravity and Reid Vapor Pressure of sales oil or condensate
   11. Results of Quality Assurance
           a. Identification if sample passed laboratory quality assurance
           b. Identification of any laboratory data flags
           c. Identification if sample passed operational performance checks
           d. Sample pressure
           e. Bubble point pressure at sample temperature




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APPENDIX A – DOCUMENTATION FORMS




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                    Form A-1: Pre-Sampling Checklist
Site Identification

Site Name / ID

Site Location                 Lat/Long in Decimal Deg.

                              County/State


Administrative Information

Facility Contact

Contact Email / Phone No.

Separator Temperature Parameters (Where Available)

Minimum separator temperature in last 24 hours (°F):
Maximum separator temperature in last 24 hours (°F):
Describe method of temperature measurement (e.g.,
SCADA, local gauge, etc.):
Has separator temperature fluctuated by more than +/-       Yes
20°F in the last 24 hours?                                  No
If yes, stop here. Sampling cannot be performed as a representative sample will not be obtained.

Separator Pressure Parameters (Where Available)
Minimum separator pressure in last 24 hours (psig):
Maximum separator pressure in last 24 hours (psig):
Describe method of pressure measurement (e.g.,
SCADA, local gauge, etc.):
Has separator pressure fluctuated by more than +/-               Yes
10% from setpoint in the last 24 hours?                          No
If yes, stop here. Sampling cannot be performed as a representative sample will not be obtained.

Separator Operating Parameters (Where Available)

Has separator maintenance, upstream operations (e.g.,       Yes
workovers) or downstream takeaway occurred within         No
the last 72 hours?                                      Describe:
If yes, stop here. Sampling cannot be performed as a representative sample will not be obtained.
Is there any indication that the separator is not           Yes
operating properly?                                         No
                                                        Describe:
If yes, stop here. Sampling cannot be performed as a representative sample will not be obtained.
Additional Notes:




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                       Form A-2: Sampling Record
                                Section I: General Site Information

Sample Date (mm/dd/yyyy):

Site Name / Site ID

Sampling Company Name

Sampler Name / Email

Site Location (Lat/Long, County/State)

Sample Point Location (describe):


Ambient Temperature (°F):


                            Section II: Separator Operating Parameters


Separator Operating Temperature (°F):


Location Where Separator Operating
Temperature Obtained (describe):

Method Used to Obtain Separator
Operating Temperature (describe):


Separator Operating Pressure (psig):


Location Where Separator Operating
Pressure Obtained (describe):

Method Used to Obtain Separator
Operating Pressure (describe):

                 Section III: Downstream Storage Tank Operating Parameters
                 Collect Only When Safe To Do So and Information is Available

Liquid Surface Temperature of
Downstream Storage Tank (°F):

Location Where Liquid Surface
Temperature Obtained (describe):

Method Used to Obtain Liquid Surface
Temperature (describe):

Quantity of Downstream Storage Tanks
(qty):




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                                   Section IV: Sample Information

Pressure Separator ID

Sample Temperature (°F):

Sample Pressure (psig):

Sample Collection Rate (mL/min):

Sample Type (cKHFN one)                        Crude Oil       Condensate        Produced Water

                                             Yes
Two Phase Sample Observed?                   No
                                          If yes, discard sample. Sample cannot be DQDO\]HG

                                             Yes
Leaks Observed in Sample
                                             No
Cylinder/Container?
                                          If yes, discard sample. Sample cannot beanalyzed.

Cylinder Type (cKHFN one)                       Double Valve                Piston

Cylinder ID

Cylinder Volume (mL)

Displacement Liquid

Sample Volume (ml)

Outage Displaced (ml)

                                          Yes
Sampling Rate < 60 mL/min?                    No
                                          If yes, discard sample. Sample cannot be analyzed.

                                              <es
                                              No
Abnormal Events Encountered?
                                          If yes, discard sample. Sample cannot be analyzed.
                                          If yes, describe:

                                     Section V: Additional Notes




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APPENDIX B – OPERATIONAL PERFORMANCE CHECK
After the sample has been collected, the laboratory shall confirm that the sample is at bubble point
through either physical methods or by using the phase analysis capabilities of an equation-of-state
process simulator. The second of these methods is outlined below using BR&E’s ProMax process
simulator as an example.

STEP 1 - Create an Environment Within the Simulation.




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STEP 2 – Add Components.




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STEP 3 – Add Heavy Component Properties.




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STEP 4 – Create a new stream anG specify stream conditions (temperature, pressure,
flow rate, composition).




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STEP 4 – Continued




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STEP 5 – Add Phase Envelope Analysis.




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STEP 6 – View Phase Envelope and Evaluate Sample Validity.




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                                                             Critical Point


                         Liquid




         Dead Oil or
         Lost Vapor
         Sample                        Two-phase


                       Entrained Gas from Poor
                                                       Gas
                       Separation or Unstable
                       Separator




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                               APPENDIX D

             Battery Pads with Storage Vessel Systems Subject to
                  40 C.F.R. § 60.5395(d)(1) or § 5395a(a)(2)


            Facility              County     State    Latitude      Longitude
NE DRINKARD UNIT CTB/SAT 3         LEA        NM     32.48713      -103.14418
OUTLAW STATE                      EDDY        NM     32.8007       -104.1922
SALT FORK 3-4 FED COM             EDDY        NM     32.68735      -103.96086
TONY FEDERAL                      EDDY        NM     32.8308       -103.9121
BRAGG CTB                        REEVES       TX     31.66232      -103.834543
BULL RUN                         REEVES       TX     31.661128     -103.8799
CHAPARRAL 89 CTB                 LOVING       TX     31.74911      -103.653926
FALCON 2 CTB                     LOVING       TX     31.752518     -103.635541
FALCON CENTRAL TANK              LOVING       TX     31.753252     -103.642701
BATTERY




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                                      APPENDIX E

Battery Pads with Storage Vessels Subject to a VRU or Control Device Requirement under
             New Mexico Permit Programs or Texas Permit Programs

  Facility Name                 County          State   Latitude    Longitude

  A STATE 40                    EDDY            NM      32.80564    -104.14209

  BLACK & TAN 27 FED            LEA             NM      32.53768    -103.54848
  COM
  COFFEE FEDERAL                EDDY            NM      32.83753    -103.90978
  CROW FED BTY                  EDDY            NM      32.85418    -103.87027
  EBDU CTB                      LEA             NM      32.48986    -103.12979
  GHOST RIDER 22-15 FED         LEA             NM      32.2066     -103.66053
  CTB
  HUMMINGBIRD FED COM           EDDY            NM      32.86713    -103.83112
  12
  LEE FED BTY                   EDDY            NM      32.82247    -103.89726
  LUSK 34 FED                   LEA             NM      32.62253    -103.76183
  NE DRINKARD UNIT              LEA             NM      32.48713    -103.14418
  CTB/SAT 3
  NFE FED                       EDDY            NM      32.84257    -103.88661
  NMGSAU CTB                    LEA             NM      32.634167   -103.291667
  OUTLAW STATE                  EDDY            NM      32.8007     -104.1922
  PALMILLO 0310                 EDDY            NM      32.68331    -104.16117
  PALMILLO 14                   EDDY            NM      32.65932    -104.15521
  PALMILLO 14-15                EDDY            NM      32.66277    -104.15522
  PALMILLO 21                   EDDY            NM      32.64968    -104.18857
  PALMILLO 26                   EDDY            NM      32.63359    -104.13953
  RAVEN FEDERAL                 EDDY            NM      32.84503    -103.91039
  SALT FORK 3-4 FED COM         EDDY            NM      32.68735    -103.96086
  TONY FEDERAL                  EDDY            NM      32.8308     -103.9121
  WARREN UNIT No. 1 BTY         LEA             NM      32.53022    -103.14688
  WASHINGTON 33 ST #56          EDDY            NM      32.78787    -104.1821
  CTB
  WBDU SAT 4 / WBDU CTB         LEA             NM      32.48483    -103.17281
  ALDWELL 0544                  REAGAN          TX      31.468551   -101.634893
  ALDWELL 0611                  REAGAN          TX      31.43145    -101.673392

  ASAU CTB                      GAINES          TX      32.958166   -102.291931
  BENNIE 4342                   IRION           TX      31.178664   -101.174832
  BLACK DOG 4231                UPTON           TX      31.555456   -101.894084
                                         E-1
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Facility Name            County         State   Latitude    Longitude

BLACKFOOT ST             REEVES         TX      31.214808   -103.899851
UN/CHEROKEE/MOHICAN
BRAGG CTB                REEVES         TX      31.662322   -103.834543
BULL RUN                 REEVES         TX      31.661128   -103.8799
BURNSIDE                 REEVES         TX      31.668425   -103.882624
CAGE CTB                 GLASSCOCK      TX      31.745048   -101.760654
CAMPBELL, SETH N         WINKLER        TX      31.880081   -103.064524
CAMPBELL, SETH S         WINKLER        TX      31.876      -103.061403
CARMICHAEL CTB           ANDREWS        TX      32.211897   -102.798103
CC 36-37HZ               UPTON          TX      31.547      -102.01932
CC 42/43                 UPTON          TX      31.531457   -101.997497
CECIL                    GLASSCOCK      TX      32.071362   -101.626794
CHAPARRAL 89 CTB         LOVING         TX      31.749108   -103.653926
CLEVELAND 5              GLASSCOCK      TX      31.746889   -101.52106
CLINCH 4238              IRION          TX      31.147274   -101.254949
CONNELL 38/47/48         UPTON          TX      31.551956   -101.932153
COOK 21                  GLASSCOCK      TX      31.8175     -101.5207
CYPRESS STATE            REEVES         TX      31.290367   -103.985549
DIXIELAND GRANT CS       REEVES         TX      31.668428   -103.851169
DIXIELAND LEE CS         REEVES         TX      31.659712   -103.872385
DRIVER-SCHROCK 1423      MIDLAND        TX      31.77205    -101.79008
EAGLE / WOODPECKER 36    GLASSCOCK      TX      31.805994   -101.456946
EAST TIPPETT             MIDLAND        TX      31.6921     -102.135897
FALCON 2 CTB             LOVING         TX      31.752518   -103.635541
FALCON CENTRAL TANK      LOVING         TX      31.753252   -103.642701
BATTERY
FALCON CS                LOVING         TX      31.751644   -103.638912
FALCON PARKS-COYOTE      MIDLAND        TX      31.772722   -102.163456
1506
GOODSPEED                GLASSCOCK      TX      31.725844   -101.727148
GOODSPEED X-CAL          GLASSCOCK      TX      31.725703   -101.726736
GRANT CTB                REEVES         TX      31.668497   -103.845571
HARLEY CTB               WINKLER        TX      31.751967   -102.925758
HARTGROVE 0401/0304      REAGAN         TX      31.413949   -101.677092
JACKSON                  REEVES         TX      31.661811   -103.847479
JUNE TIPPETT 1213        MIDLAND        TX      31.708299   -102.175933
KETCHUM MTN 27           IRION          TX      31.258068   -101.066449
LATZEL 34                UPTON          TX      31.571086   -101.959492
LATZEL 3946              UPTON          TX      31.564249   -101.953724
LEE CTB                  REEVES         TX      31.659738   -103.872395
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Facility Name             County         State   Latitude    Longitude

LUMBERJACK 32             GLASSCOCK      TX      31.700038   -101.396568
LYNCH A CTB               MIDLAND        TX      31.718769   -102.165804
MAGPIE CARDINAL CTB       LOVING         TX      31.7585     -103.6031
MCELROY RANCH             UPTON          TX      31.422002   -102.168005
MILLER 37 / 3748 /        UPTON          TX      31.568969   -101.916425
KASHMIR
MOCKINGBIRD 9-2 CTB       LOVING         TX      31.753751   -103.619367
MONT                      REEVES         TX      31.214223   -103.901727
BLANC/BLACKFOOT
ST/WINTOON CTB
NAVAJO                    REEVES         TX      31.23344    -103.72318
NIGHT FLIGHT 4738         UPTON          TX      31.517109   -102.023677
NIX 16                    GLASSCOCK      TX      31.836756   -101.523031
OSPREY STATE UN           LOVING         TX      31.754757   -103.62214
ROBIN CS & CTB (S PECOS   REEVES         TX      31.6991     -103.6615
BEND CS)
SCHROCK 34 CTB            MIDLAND        TX      31.7204     -101.7881
SCHROCK, WM 2326          MIDLAND        TX      31.753153   -101.782586
SCOTT SUGG 5051E 5051W    IRION          TX      31.25582    -101.109053
4948
SCOTT SUGG NE UN          IRION          TX      31.2556     -101.0321
SCOTT-SUGG SE UN          IRION          TX      31.255612   -101.032109
SEAGULL-PELICAN CTB       LOVING         TX      31.727455   -103.631883
SHACKELTON 31             GLASSCOCK      TX      32.341887   -102.613117
SRH 12                    REAGAN         TX      31.461385   -101.444716
SRH 13                    REAGAN         TX      31.470225   -101.45928
SRH CENTRAL (SEC. 16)     REAGAN         TX      31.470821   -101.46499
HORIZ
SRH EASTERN (SEC 13)      REAGAN         TX      31.470603   -101.447099
HORIZ
SRH NORTH 14/15           REAGAN         TX      31.482243   -101.485958
SRH WESTERN (SEC. 11)     REAGAN         TX      31.471535   -101.4976
SSH UNIT CTB              IRION          TX      31.207581   -101.085208
STONE                     UPTON          TX      31.18194    -101.897679
SUGG 0807                 IRION          TX      31.211625   -101.04459
TOMAHAWK-POLARIS          UPTON          TX      31.366806   -101.811107
TORPEDO 1048              UPTON          TX      31.3586     -101.824306
UNIV 2303/2404            REAGAN         TX      31.3152     -101.6163
UNIV 2505 / 25W           REAGAN         TX      31.308614   -101.587431
WARHEAD 0405              UPTON          TX      31.315481   -101.818261

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Facility Name            County         State   Latitude   Longitude

WEATHERBY 1231/1232      REAGAN         TX      31.33025   -101.623917
CTB




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                                            APPENDIX F

      Directed Inspection / Preventative Maintenance (“DI/PM”) Program Requirements



This Appendix outlines the directed inspection and preventative maintenance (“DI/PM”)
requirements to be implemented by Apache at all Facilities with a Subject Vapor Control System
in accordance with the schedule in Paragraph 36 of the Consent Decree.

I.      Standard Operating Procedures

Prior to the Effective Date, Apache submitted, and EPA approved after consultation with
NMED, Standard Operating Procedures (“SOPs”) for the directed inspection and preventative
maintenance requirements identified in Sections II and III below. Such SOPs include procedures
for verifying that a Subject Vapor Control System is operating consistent with parameters and
practices relied upon in the Engineering Evaluation and included in the Certification of
Completion Report.

Prior to any modification or revision of the SOPs, Apache shall submit such proposed revised
SOP to EPA for approval pursuant to Section VII of the Consent Decree (Approval of
Deliverables).

II.     Directed Inspections

        A.     Equipment to be Inspected.

        The weekly AVO Walk-Around Inspections and Periodic IR Camera Inspections shall
        include an inspection of the following equipment if present at the Facility:

               1.     well head (if on site);

               2.     separators;

               3.     heater treaters;

               4.     vapor recovery towers (“VRTs”);

               5.     liquid dump valves;

               6.     tanks (including all oil, condensate, produced water, and gun barrel tanks);

               7.     tank thief hatches;

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        8.      tank pressure relief valves (“PRVs”);

        9.      tank blowdown valves, if any and other tank-related valves;

        10.     tank piping (e.g., load line and blowdown line, if any);

        11.     control devices (e.g., flares and combustors);

        12.     liquid knock out pots (e.g,, control device knockout pot,
                scrubber/knockout pot for VRU or compressor);

        13.     vapor recovery units (“VRUs”);

        14.     vapor control system piping and equalizer lines;

        15.     pressure control valves;

        16.     VRU or flare bypass devices; and

        17.     storage vessel pressure, backpressure regulator valve position, bypass
                device, and combustion control pilot monitors.

 B.     Weekly AVO Inspections.

 Apache shall conduct a calendar weekly audio, visual, and olfactory (“AVO”) walk-
 around inspection at each Facility with a Subject Vapor Control System in accordance
 with the approved SOPs for weekly AVO walk-around inspections, which include the
 inspection types described in Section II.B.1 and the SOPs described on Section II.B.2 for
 all equipment listed in Section II.A.2 that are present at the Facility. Emissions detected
 from Subject Vapor Control Systems during the weekly AVO walk-around inspections
 shall be documented as Reliable Information in accordance with the recordkeeping
 requirements identified in Section IV below.
        1.              Descriptions of each inspection type:
                a.      Audio:

                An inspection that determines whether any hissing, bubbling, or other
                sounds can be heard that indicate the presence of emissions.




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             b.     Visual:

             An inspection that determines whether there is evidence of emissions
             visible to the naked eye, including:

                    i.        wave refraction in the air (if not caused by heat);
                    ii.       wave refraction shadows on equipment or the ground
                              around equipment (if not caused by heat);
                    iii.      active bubbling or any other visual cues indicating
                              emissions;
                    iv.       significant new staining since the last AVO inspection that
                              may indicate abnormal operation; and
                    v.        evidence of a significant spill since the last AVO inspection
                              that may indicate abnormal operation.
             c.     Olfactory:

                    An inspection that determines whether there is evidence of
                    hydrocarbon emissions that can be smelled.

       2.           Standard Operating Procedures for the weekly AVO inspections:

             Apache shall perform the weekly walk-around AVO inspections in
             accordance with the approved SOPs, which include but are not limited to
             the following additional inspections:

             a.     As to the Separators and Heater-Treaters: check for final stage of
                    separation maximum operating pressure and minimum
                    temperature, set point of any device restricting final stage
                    Separator or Heater-Treater dump flow rate, and ensure the valves
                    are in the correct position.

             b.     As to the Vapor Control System: check to ensure that PRDs are
                    properly sealed; thief hatches are closed, latched, and properly
                    sealed; other valves are in the correct position (e.g., bypass valve is
                    not open); and that tank piping (e.g., load line, bypass line, vapor
                    line) have no other observed or detected emissions.

             c.     As to the VRUs and all control devices: check to ensure that the
                    flow or pressure monitoring equipment and pressure control valve
                    (if installed) are operating such that the valve is closed whenever
                    the Vapor Inlet Monitor indicates the pressure or flow is
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                     inconsistent with manufacturer specifications.

              d.     As to the combustion control devices: ensure that burner is
                     operational and that there are no Visible Smoke Emissions;
                     confirm the presence of a pilot light and that the liquid knockout is
                     drained as necessary, inlet valves are functioning properly, and that
                     the auto-ignitor is in good working condition.

              e.     As to the pilot monitor and the storage vessel pressure monitor:
                     ensure that the data is being recorded at the required interval and
                     being transmitted to a SCADA system.
 C.    IR Camera Inspections.
       1.     Apache shall conduct initial verification and periodic infrared (“IR”)
              camera inspections at each Facility with a Subject Vapor Control System
              in accordance with the approved SOPs for IR Camera Inspections for all
              equipment listed in Section II.A above that are present at the Facility.
              Emissions detected from Subject Vapor Control Systems during any IR
              camera inspections shall be documented as Reliable Information in
              accordance with the recordkeeping requirements identified in Section IV
              below. Periodic IR camera inspections shall include:

              a.     Inspections of the equipment listed in Section II.A.2 above, where
                     present at a Facility with a Subject Vapor Control System; and

              b.     Inspection of signage at the Battery Pad associated with each
                     Subject Vapor Control System to ensure that it (i) is of durable
                     construction with lettering legible and large enough to be read
                     under normal conditions at a distance of 50 feet; and (ii) meets
                     applicable requirements for the content of information set forth in
                     19.15.16.8(F) NMAC or 16 TAC 3.3(2), as applicable.
       2.     Apache shall record the date and time of all IR Camera Inspections and
              record and maintain a video of any emissions detected from the Vapor
              Control System during an IR Camera Inspection.

       3.     Apache shall maintain and provide the following records pertaining to
              each IR Camera Inspection in a spreadsheet form in the Semi-Annual
              Report required pursuant to Paragraph 93 of the Consent Decree:

              a.     The date, time, Battery Pad, Subject Storage Vessel System,
                     number of Storage Vessels inspected, and number of combustion
                     devices inspected; and

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                      b.      The date, time and description of any Reliable Information that is
                              observed.
III.    Preventative Maintenance

Apache shall perform quarterly, semi-annual, and annual preventative maintenance at each
Facility with a Subject Vapor Control System in accordance with the approved SOPs for
preventative maintenance, which include but are not limited to the following:
        A.     Clean and check PRV and thief hatch seals and gaskets for integrity, check that
               the spring in the thief hatch/PRV aligns with the parameter identified in the
               Engineering Evaluation (through visual observation), repair or replace any
               Compromised Equipment, clean or replace Flame Arrestor and air-intake, inspect
               and clear blockages from any control device pilot orifice, check proper operation
               of dump valve on Separators, and perform any other appropriate maintenance and
               inspection activities. These activities shall occur no less frequently than semi-
               annually.

        B.     Where Separator dump valve orifices are present, check to ensure they are in good
               condition and replace them as necessary. This shall occur no less frequently than
               annually.

        C.     Clear liquids from any below-grade lines where liquids can accumulate no less
               frequently than quarterly. Should maintenance activities or other inspection
               activities, including any Root Cause Analysis, indicate that liquids are
               accumulating in vapor lines and causing VOC emissions, Apache shall perform
               this maintenance more frequently to minimize the accumulation of liquids in
               vapor lines.


IV.     Recordkeeping and Reporting

Apache shall establish and implement requirements for documentation of compliance with
DI/PM program requirements, including documentation of the date of the inspection or
maintenance activity, the observation of any Reliable Information, and the implementation of
any corrective action. While conducting the required inspection or maintenance activities,
Apache may utilize field data collection software to document inspection or maintenance work,
including any corrective action. Apache shall report all observations of Reliable Information and
corrective action implemented as required by Paragraph 93(j)of the Consent Decree.

V.      Spare Parts Program

Apache shall evaluate what parts are appropriate to maintain in inventory for Battery Pad
workers; procure and maintain a spare parts inventory adequate to support normal operating,
maintenance, and replacement requirements; and establish a list of suppliers to assist with the

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acquisition of parts on an emergency basis. Apache shall designate a department with the
responsibility for maintaining the required spare parts inventory.

VI.     Training

Apache shall train each person (except for independent contractors solely responsible for
servicing equipment) responsible for implementing any part of the DI/PM program. This training
shall include a review of this Appendix, a review of the relevant SOPs approved in accordance
with Section I above and Section VII of the Consent Decree, a review of the use of field software
and devices to document activities under the DI/PM program, and the requirements set forth in
the Consent Decree regarding Reliable Information. Apache shall ensure that refresher training
for each such person is performed once per calendar year. New personnel must be trained prior
to implementing any part of the DI/PM program and such training shall include a job shadowing
component.

Apache shall maintain records indicating the successful completion of training by each person
for which training is required. Apache shall maintain records of all Thermography Certifications
held by any person conducting IR camera inspections. Apache shall make the records required
under this Section available to EPA upon request.

VII.    Annual Review

An Apache representative (whose primary duties do not include performing duties in the DI/PM
program on a routine basis) will by June 1 of each year complete an annual review of DI/PM
program records from the previous calendar year in consultation with persons performing DI/PM
duties.

This annual review shall:
        A.    analyze all directed inspection, preventative maintenance, equipment monitoring,
              and corrective action data completed at each Facility with a Subject Vapor
              Control System;

        B.    evaluate whether the directed inspection and preventative maintenance
              requirements were implemented at the required frequencies;

        C.    evaluate whether records of directed inspection, preventative maintenance, and
              corrective action activities were maintained properly;

        D.    evaluate whether training and qualification records were maintained properly;

        E.    evaluate whether corrective action or Shut-In was timely performed in response to
              the observation of Reliable Information;

        F.    evaluate whether there are recurring or systemic issues associated with any
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              particular Facility with a Subject Vapor Control System; and

       G.     evaluate whether there are recurring or systemic issues across multiple Facilities
              with a Subject Vapor Control System.

On the basis of each annual review, Apache shall identify any changes or updates to the DI/PM
program or any associated SOPs that may be needed. Apache shall submit any material changes
or updates to the DI/PM program as described in this Appendix or to SOPs to EPA for approval
pursuant to Section VII of the Consent Decree, including any proposed changes to inspection or
maintenance frequencies. Apache shall implement any non-material changes or updates without
need for EPA’s approval, such as updated repair methods or improved training documents, and
shall include a summary of such changes or updates in the next Semi-Annual Report, submitted
pursuant to Paragraph 93 of the Consent Decree.




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                                          APPENDIX G

                                        Mitigation Project

       1.       By no later than December 31, 2024, Apache shall replace no fewer than 406
intermittent bleed Pneumatic Controllers at facilities for which it is the Operator in the States of
New Mexico and Texas with Non-emitting Controllers (“the Project”). Nothing in the Consent
Decree or in this Appendix shall prohibit Apache from including, as part of the Project, Apache’s
replacements of intermittent bleed Pneumatic Controllers with Non-emitting Controllers where
such replacements were conducted after August 31, 2023.

      2.      In accordance with Section VI (Periodic Reporting) of the Consent Decree,
Apache shall submit the following information in each Semi-Annual Report:

               a) the cumulative number of intermittent bleed Pneumatic Controllers that have
                  been replaced with Non-emitting Controllers;

               b) the number of intermittent bleed Pneumatic Controllers that have been
                  replaced with Non-emitting Controllers during the relevant Semi-Annual
                  reporting period; and

               c) a cumulative list of all facilities at which Apache has completed the
                  replacement of intermittent bleed Pneumatic Controllers with Non-emitting
                  Controllers, together with the number of devices that were replaced at each
                  facility.

       3.      Nothing in this Appendix shall relieve Apache of its obligation to comply with all
applicable federal, state and local laws and regulations in implementing the Project, including
any requirement to obtain permits under the Act or the AQCA.

       4.      For purposes of this Appendix:

               a) “Pneumatic Controller” means a device that monitors a process parameter
                  such as liquid level, pressure, or temperature and uses pressurized gas (which
                  may be released to the atmosphere during normal operation) and sends a
                  signal to a control valve in order to control the process parameter. Controllers
                  that do not utilize pressurized gas are not Pneumatic Controllers;

               b) “Non-emitting Controller” means a device that monitors a process parameter
                  such as liquid level, pressure, or temperature and sends a signal to a control
                  valve in order to control the process parameter and which does not emit
                  natural gas to the atmosphere. Examples of Non-emitting Controllers include
                  but are not limited to instrument air or inert gas pneumatic controllers, electric
                  controllers, mechanical controllers and routed pneumatic controllers; and

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       c) “Routed Pneumatic Controller” means a Pneumatic Controller of any type that
          releases natural gas to a process, sales line, or to combustion device instead of
          directly to the atmosphere.




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                                         APPENDIX H

                                     Verifier Certification

       [VERIFIER] makes the following certifications and representations in connection with its

proposed appointment as the Independent Third-Party Verifier to oversee compliance aspects of

the consent decree entered in United States and NMED v. Apache Corporation:

       “VERIFIER” means [VERIFIER], and the employees or contractors who would provide

the oversight described above.

       “Apache” means Apache Corporation.

       1.     Financial interests.

              a. [VERIFIER] has no financial interest in Apache or any of its subsidiaries or

                  affiliates. For purposes of this certification, financial interest does not include

                  any direct or indirect ownership by [VERIFIER] of publicly traded securities

                  in affiliates of Apache, where such securities comprise less than five percent

                  of the [VERIFIER]’s total assets.

              b. If, between the date of this certification and when [VERIFIER]’s term as the

                  Independent Third-Party Verifier expires, [VERIFIER]’s financial interests

                  with respect to Apache change, [VERIFIER] agrees to notify the U.S.

                  Department of Justice in writing as soon as reasonably possible after

                  becoming aware of the change. [VERIFIER] is aware that acquiring a

                  financial interest in Apache could disqualify it from continuing the oversight

                  work described above.

       2.     Employment, professional relationships, and affiliations.

              a. [VERIFIER] is not a party to any employment, consulting, agency, attorney-
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          client, auditing or other professional relationship or affiliation with Apache, or

          any of its subsidiaries or affiliates other than the agreement under which

          [VERIFIER] was retained by Apache as a Third-Party Verifier, except for any

          such relationship or affiliation that has been disclosed to and approved by

          EPA and NMED.

       b. [VERIFIER] has not been a party to such a professional relationship or

          affiliation with Apache within the past 3 years, or if it has been a party to such

          a professional relationship or affiliation with Apache, this relationship or

          affiliation has been disclosed to EPA and NMED, who have approved

          [VERIFIER] as a Third-Party Verifier.

       c. [VERIFIER] agrees not to engage in such a professional relationship or

          affiliation with Apache during its term as the Independent Third-Party Verifier

          or for a period of at least one year after the termination of its term as the

          Independent Third-Party Verifier, except where such relationship or affiliation

          has been disclosed to and approved by EPA and NMED.

       d. After the date of this certification, to the extent that the services of additional

          personnel will be utilized in the proper discharge of the Independent Third-

          Party Verifier’s duties, prior to engaging any such personnel, [VERIFIER]

          agrees to review the backgrounds of all such personnel to determine whether

          said personnel or any other entity with which said personnel is affiliated, is or

          has been a party to any employment, consulting, agency, attorney-client,

          auditing or other professional relationship or affiliation with the Apache or

          any of its subsidiaries or affiliates. To the extent any such relationship or
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          affiliation exists, [VERIFIER] will notify the EPA and the U.S. Department of

          Justice to seek a determination whether it is appropriate to engage said

          personnel to assist [VERIFIER] with regard to Apache.

                                    Date:

                                    ____________________________________
                                    Name:
                                    On behalf of [VERIFIER]




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